         Case: 24-1401          Document: 9             Page: 1   Filed: 03/29/2024


                                             2024-1401

          United States Court of Appeals
              for the Federal Circuit

                    ACADIA PHARMACEUTICALS INC.,
                                                                    Plaintiff-Appellee,
                                               – v. –
    AUROBINDO PHARMA LTD., AUROBINDO PHARMA USA, INC.,
             TEVA PHARMACEUTICALS USA, INC.,
                                                                    Defendants,
 MSN LABORATORIES PRIVATE LTD., MSN PHARMACEUTICALS, INC.,
                                                                    Defendants-Appellants.


           On Appeal from the United States District Court for the
             District of Delaware in No. 1:20-cv-00985-GBW,
                       Gregory Brian Williams, Judge

           BRIEF FOR DEFENDANTS-APPELLANTS

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MARCH 29, 2024

                 (800) 4-APPEAL • (328624)
     Case: 24-1401     Document: 9    Page: 2    Filed: 03/29/2024




                        ASSERTED CLAIM

Asserted claim 26 of U.S. Patent No. 7,601,740 depends from claim 22:

22. A compound having the structure of Formula (I):




26. A compound of claim 22, wherein the salt is a tartrate salt.
              Case:
               Case:24-1401
                     24-1401        Document:
                                     Document:3-1
                                               9 Page:
                                                  Page:31 Filed:
                                                           Filed:03/29/2024
                                                                  02/12/2024                   (1 of 4)



FORM 9. Certificate of Interest                                                Form 9 (p. 1)
                                                                                March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 24-1401
   Short Case Caption Acadia Pharmaceuticals Inc. v. Aurobindo Pharma Ltd.
   Filing Party/Entity MSN Laboratories Private Ltd., MSN Pharmaceuticals, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        02/12/2024
  Date: _________________                    Signature:   /s/ Chad Landmon

                                             Name:        Chad Landmon
              Case:
               Case:24-1401
                     24-1401          Document:
                                       Document:3-1
                                                 9 Page:
                                                    Page:42 Filed:
                                                             Filed:03/29/2024
                                                                    02/12/2024                                      (2 of 4)



FORM 9. Certificate of Interest                                                                    Form 9 (p. 2)
                                                                                                    March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫ ܆‬None/Not Applicable
                                                                      MSN Pharmaceuticals, Inc. is a wholly owned
MSN Laboratories Private Ltd.                                         subsidiary of MSN Laboratories Private Ltd.



MSN Pharmaceuticals, Inc.




                                  ‫܆‬      Additional pages attached
              Case:
               Case:24-1401
                     24-1401      Document:
                                   Document:3-1
                                             9 Page:
                                                Page:53 Filed:
                                                         Filed:03/29/2024
                                                                02/12/2024                     (3 of 4)



FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable              ‫܆‬
                                           ✔       Additional pages attached




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No  ✔
                                                         ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬       Additional pages attached
           Case:
            Case:24-1401
                  24-1401     Document:
                               Document:3-2
                                         9 Page:
                                            Page:61 Filed:
                                                     Filed:03/29/2024
                                                            02/12/2024                    (4 of 4)




4. Legal Representatives. List all law firms, partners, and associates that
(a)appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already entered an
appearance in this court. Fed. Cir. R. 47.4(a)(4).


Appearances in originating court

   -   Seitz, Van Ogtrop & Green, P.A.
          o James S. Green, Jr.
   -   Upadhye Tang LLP
          o Brent A. Batzer
          o Shashank D. Upadhye
          o Yixin H. Tang
                Case: 24-1401             Document: 9           Page: 7         Filed: 03/29/2024




                                        TABLE OF CONTENTS

STATEMENT OF RELATED CASES .....................................................................1
JURISDICTIONAL STATEMENT ..........................................................................1
STATEMENT OF THE ISSUES...............................................................................2
STATEMENT OF THE CASE ..................................................................................3
                  Factual Background...............................................................................3
                  Procedural Background .........................................................................6
SUMMARY OF THE ARGUMENT ........................................................................6
ARGUMENT ...........................................................................................................11
         STANDARD OF REVIEW ...........................................................................11
                  Summary Judgment .............................................................................11
                  Statutory Interpretation .......................................................................11
                  Obviousness-Type Double Patenting ..................................................12
                  The Safe-Harbor Provision..................................................................14
         THE DISTRICT COURT LEGALLY ERRED IN HOLDING THAT ONLY
         EARLIER-FILED PATENTS CAN BE OTDP REFERENCES. .................16
         THE DISTRICT COURT LEGALLY ERRED IN INTERPRETING THE
         SAFE-HABOR PROVISION SO AS TO BLOCK THE ’271 PATENT
         FROM BEING AN OTDP REFERENCE. ...................................................20
         A.       The District Court Erred in Finding That the ’271 Patent Issued on a
                  Divisional Application That Was “Filed as a Result of . . . a
                  [Restriction] Requirement” in the Original Application. ....................20
                  1.       The District Court legally erred in holding that amending an
                           existing application qualifies as filing a new application for
                           purposes of the safe harbor. ......................................................20
                  2.       Even if amending could be conflated with filing, the ’271 patent
                           is outside the safe harbor because the amendment was not “a
                           result of” of the restriction in the original application. .............25
         B.       The District Court Legally Erred in Interpreting the Safe Harbor
                  Provision as Giving “Paramount Protection” to the Original
                  Application. .........................................................................................31
CONCLUSION ........................................................................................................39

                                                            i
                 Case: 24-1401             Document: 9            Page: 8        Filed: 03/29/2024




                                       TABLE OF AUTHORITIES

                                                                                                                Page(s)

Cases

AbbVie Inc. v. Mathilda & Terence Kennedy Institute of
  Rheumatology Trust,
  764 F. 3d 1366 (Fed. Cir. 2014) .......................................................12, 14, 16, 17

Allergan USA, Inc. v. MSN Lab'ys Priv. Ltd.,
   No. 19-1727, 2023 WL 6295496 (D. Del. Sept. 27, 2023) ................................ 18

Amgen Inc. v. F. Hoffman-La Roche Ltd,
  580 F.3d 1340 (Fed. Cir. 2009) ..............................................................34, 37, 38

Automated Merchandising Sys’s, Inc. v. Lee,
   782 F.3d 1376 (Fed. Cir. 2015) .......................................................................... 10

Baker Botts L.L.P. v. ASARCO LLC,
  576 U.S. 121 (2015) ........................................................................................9, 22

Boehringer Ingelheim Int'l GmbH v. Barr Lab’ys, Inc.,
  562 F. Supp. 2d 619 (D. Del. 2008), rev’d, 592 F.3d 1340 (Fed.
  Cir. 2010) ............................................................................................................ 26

Boehringer Ingelheim Int’l GmbH v. Barr Labs., Inc.,
  592 F.3d 1340 (Fed. Cir. 2010) ...................................................................passim

Burrage v. United States,
  571 U.S. 204 (2014) ............................................................................................ 26

In re: Cellect, LLC,
    81 F.4th 1216 (Fed. Cir. 2023) ...........................................................7, 13, 17, 18

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) ............................................................................................ 11

Eli Lilly & Co. v. Barr Lab'ys, Inc.,
   251 F.3d 955 (Fed. Cir. 2001) ............................................................................ 14



                                                            ii
                Case: 24-1401           Document: 9           Page: 9      Filed: 03/29/2024




Geneva Pharm., Inc. v. GlaxoSmithKline PLC,
  349 F.3d 1373 (Fed. Cir. 2003) ....................................................................15, 22

Gilead Scis., Inc. v. Natco Pharma Ltd.,
   753 F.3d 1208 (Fed. Cir. 2014) ...................................................................passim

Golden Bridge Tech., Inc. v. Nokia, Inc.,
  527 F.3d 1318 (Fed. Cir. 2008) .......................................................................... 11

In re Hubbell,
    709 F.3d 1140 (Fed. Cir. 2013) .......................................................................... 13

Ex Parte Janssen Biotech, Inc. & New York Univ. Pat. Owner &
   Appellant,
   No. APPEAL 2016-006590, 2016 WL 6921121 ............................................9, 22

In re Janssen Biotech, Inc.,
    880 F.3d 1315 (Fed. Cir. 2018) ...................................................................passim

In re Longi,
    759 F.2d 887 (Fed. Cir. 1985) ............................................................................ 13

MLC Intell. Prop., LLC v. Micron Tech., Inc.,
  No. 14-03657, 2017 WL 1493025 (N.D. Cal. Apr. 26, 2017) ........................... 19

Nat’l Ass’n of Mfrs. v. Dep’t of Def.,
  583 U.S. 109 (2018) ........................................................................................9, 22

Novartis Pharms. Corp. v. Breckenridge Pharm. Inc.,
  909 F.3d 1355 (Fed. Cir. 2018) .......................................................................... 16

Otsuka Pharm. Co. v. Sandoz, Inc.,
   678 F.3d 1280 (Fed. Cir. 2012) .......................................................................... 12

Perricone v. Medicis Pharm. Corp.,
   432 F.3d 1368 (Fed. Cir. 2005) .......................................................................... 12

Pfizer, Inc. v. Teva Pharm. USA, Inc.,
   518 F.3d 1353 (Fed. Cir. 2008) ....................................................................25, 38

St. Jude Med., Inc. v. Access Closure, Inc.,
    729 F.3d 1369 (Fed. Cir. 2013) ........................................................14, 34, 35, 36



                                                        iii
                Case: 24-1401             Document: 9           Page: 10         Filed: 03/29/2024




Sun Pharm. Indus., Ltd. v. Eli Lilly & Co.,
   611 F.3d 1381 (Fed. Cir. 2010) .......................................................................... 12

Syngenta Crop Prot., LLC v. Willowood, LLC,
   944 F.3d 1344 (Fed. Cir. 2019) .......................................................................... 11

Tubular Rollers, LLC v. Maximus Oilfield Prod., LLC,
  No. 2021-2319, 2023 WL 4230371 (Fed. Cir. June 28, 2023)........................... 28

Union Carbide v. Dow Chem. Co.,
  619 F. Supp. 1036 (D. Del. 1985)................................................................passim

United States v. Seay,
  No. 20-67, 2023 WL 171148 (S.D. Ohio Jan. 12, 2023).................................... 26

Statutes

28 U.S.C. § 1295(a)(l) ................................................................................................ 1

28 U.S.C. § 1338(a) ................................................................................................... 1

35 U.S.C. § 121 .................................................................................................passim

35 U.S.C. § 154(a)(2) ............................................................................................... 12

35 U.S.C. § 154(b) ...............................................................................................4, 13

Other Authorities

Fed. R. App. P. 28(a)(4) ............................................................................................. 1

Fed. R. App. P. 28(a)(5) ............................................................................................. 1

Fed. R. Civ. P. 54(b) .................................................................................................. 1




                                                           iv
            Case: 24-1401      Document: 9       Page: 11   Filed: 03/29/2024




                      STATEMENT OF RELATED CASES

      No other appeal in or from this civil action was previously before this or any

other appellate court. The undersigned counsel does not know of any case pending

in this Court, or in any other court, that will directly affect or be directly affected

by this Court’s decision in the present appeal.

                        JURISDICTIONAL STATEMENT

      Under Federal Rule of Appellate Procedure 28(a)(4) and Federal Circuit

Rule 28(a)(5), the undersigned counsel state:

      A.     The action giving rise to this appeal was a patent infringement case,

             and the district court had subject matter jurisdiction under 28 U.S.C.

             § 1338(a).

      B.     This Court has exclusive jurisdiction over this appeal under 28 U.S.C.

             § 1295(a)(l).

      C.     On December 13, 2023, the District Court denied MSN’s motion for

             summary judgment of invalidity and granted Acadia’s cross-motion

             for summary judgment of no invalidity. Appx016. On January 11,

             2024, the court entered final judgment under Fed. R. Civ. P. 54(b).

             Appx017-018. MSN filed its timely Notice of Appeal to this Court on

             January 18, 2024. Appx055.

      D.     MSN appeals from the summary judgments and the final judgment.



                                             1
            Case: 24-1401      Document: 9       Page: 12   Filed: 03/29/2024




                          STATEMENT OF THE ISSUES

      Whether the District Court legally erred in entering summary judgment that

U.S. Patent No. 9,566,271 (“the ’271 patent”) cannot be an obviousness-type

double patenting (“OTDP”) reference for U.S. Patent No. 7,601,740 (“the

’740 patent”) because it held that:

      1.     Only an earlier-filed patent can be an OTDP reference, despite this

Court’s binding precedent that any earlier-expiring patent can be an OTDP

reference and recent affirmance that a later-filed and earlier-expiring patent was an

invalidating OTDP reference;

      2.     The ’271 patent meets the safe-harbor requirement in 35 U.S.C. § 121

that the application from which it issued must have been “filed as a result of such a

[restriction] requirement,” despite (a) the application having been filed as a

continuation before the restriction and only later amended to recast it as a

divisional, and (b) the later amendment not being “a result of” the restriction in the

original application but rather, as Applicants acknowledged during prosecution, a

result of a restriction in a different application; and

      3.     The safe harbor provides “paramount protection” to the original

application such that the safe-harbor requirement that a patent must issue from a

divisional application that is “filed before the issuance of the patent on the other

application” is inapplicable when the challenged patent issued from the original



                                             2
           Case: 24-1401      Document: 9       Page: 13   Filed: 03/29/2024




application, despite the absence of any basis for such “paramount protection” in the

statutory language or surrounding case law.

                          STATEMENT OF THE CASE

             Factual Background

      This is a patent infringement action brought by Plaintiff-Appellee Acadia

Pharmaceuticals, Inc. (“Acadia”), alleging that the ’740 patent was infringed by

MSN Laboratories Pvt. Ltd. and MSN Pharmaceuticals, Inc.’s (collectively,

“MSN”) Abbreviated New Drug Application (“ANDA”) No. 214925 for a generic

version of the Parkinson’s Disease drug Nuplazid® (pimavanserin). The parties

have narrowed the dispute to a single issue, namely whether claim 26 of the

’740 patent is invalid for OTDP over claim 5 of the ’271 patent.

      Acadia owns both the challenged ’740 patent and the OTDP reference

’271 patent. Appx065. Claim 26 of the ’740 patent is directed to the tartrate salt

of pimavanserin, and claim 5 of the ’271 patent is directed to using pimavanserin

tartrate to treat hallucination or delusion. Appx064-065. Because a claim directed

to a method of using a chemical compound will render obvious a claim to that

compound under the doctrine of OTDP, see, e.g., Boehringer Ingelheim Int’l

GmbH v. Barr Labs., Inc., 592 F.3d 1340, 1345 (Fed. Cir. 2010), there is no

dispute that claim 26 of the ’740 patent is invalid if the ’271 patent is a proper

OTDP reference.



                                            3
           Case: 24-1401      Document: 9       Page: 14   Filed: 03/29/2024




      The District Court adopted the below timeline of the prosecution history for

the ’740 and ’271 patents:




Appx003. As shown on the timeline, the ’740 and ’271 patents both claim the

benefit of U.S. Patent Application No. 10/759,561 (“the ’561 application” or the

“original application”), filed on January 15, 2004, and are therefore entitled to the

same 20-year statutory term. Appx066-067. However, whereas the ’740 patent

received a 980-day patent term adjustment (“PTA”), the ’271 patent does not have

any term adjustments and expired on January 15, 2024. Id.1

      During prosecution of the ’561 application, on July 5, 2007, the Examiner

issued a restriction requirement and placed the 86 pending claims into Groups I-

VII. Appx067-070. Applicants elected to pursue the Group I claims, drawn to the


1
 The ’740 patent also received a patent term extension or “PTE” under 35 U.S.C.
§ 154(b).


                                            4
           Case: 24-1401      Document: 9       Page: 15   Filed: 03/29/2024




pimavanserin compound. Appx070. The other Groups are drawn to different

methods of using the pimavanserin compound, including relevantly Group IV,

which is drawn to a method of treating neuropsychiatric disease. Appx067-070.

On October 13, 2009, the ’740 patent issued from the ’561 application. Appx071.

      On May 3, 2006, prior to the restriction requirement for the ’561 application,

Applicants filed U.S. Patent Application No. 11/416,527 (“the ’527 application”)

as a “continuation” of the original application. Id. On July 1, 2009, Applicants

cancelled all 16 claims in the ’527 application and added a new set of claims 17-

40. Id. Applicants alleged that the new claims 17-40 were “based on subject

matter in restriction groups not elected in U.S. Patent Application Nos. 10/759,561

and 11/416,855 . . . .” Appx072. More specifically, Applicants stated that the new

claims were “substantially the same subject matter as claims 28-31 of the

’855 application, [and] also within group IV (claims 40-47) of the . . .

’561 application.” Appx385. Applicants also stated an intention to change the

application from a continuation to a divisional of the original application.

Appx072.

      On January 26, 2010, the Examiner allowed the new claims 17-40 in the

’527 application. Appx072-073. On April 13, 2010, Applicants amended the

specification to change it from a “continuation” to a “divisional” of the original

application. Appx073. This amendment occurred six months after the ’740 patent



                                            5
           Case: 24-1401      Document: 9       Page: 16   Filed: 03/29/2024




issued from the ’561 application. Appx071, Appx073. Also on April 13, 2010,

Applicants filed a continuation of the ’527 application that in turn gave rise to a

string of continuations that ultimately lead to the issuance of the ’271 patent.

Appx073.

             Procedural Background

      On April 28, 2023, the parties stipulated to resolve their remaining disputes

on summary judgment. Appx056-062. MSN stipulated to infringement of Claim

26 of the ’740 patent, Acadia withdrew its assertions of infringement of all other

claims, and the parties agreed to limit their dispute to whether the ’271 patent can

be used as an OTDP reference to the ’740 patent. Id. The crux of the dispute is

whether the ’271 patent is blocked from use as an OTDP reference against the

’740 patent by the safe-harbor provision in 35 U.S.C. § 121.

      On May 15, 2023, MSN moved for summary judgment of invalidity.

Appx052. On June 14, 2023, Acadia filed its answering brief and cross-moved for

summary judgment of no invalidity. Id. On December 13, 2023, the District Court

denied MSN’s motion and granted Acadia’s cross motion. Appx016. On January

11, 2024, the District Court entered final judgment. Appx017-018.

                       SUMMARY OF THE ARGUMENT

      The District Court’s summary judgment ruling is based on legally erroneous

holdings that (1) improperly reach beyond this Court’s binding precedent that any



                                            6
           Case: 24-1401      Document: 9       Page: 17   Filed: 03/29/2024




earlier-expiring patent may serve as an OTDP reference, and (2) fail to apply the

plain language of the safe harbor provision in 35 U.S.C. § 121. The Court should

therefore reverse the ruling below and direct entry of summary judgment in favor

of MSN.

      A.     The District Court’s New “Earlier-
             Filed” Threshold Rule Is Legal Error.

      The District Court legally erred in creating a threshold rule that a patent

cannot be an OTDP reference unless it was filed earlier than the challenged patent.

This “earlier-filed” rule is contrary to this Court’s binding precedent that “any

earlier expiring patent” may be a double-patenting reference. Gilead Scis., Inc. v.

Natco Pharma Ltd., 753 F.3d 1208, 1216 (Fed. Cir. 2014) (emphasis added). The

District Court purported to base its new rule on certain statements in In re: Cellect,

LLC, 81 F.4th 1216 (Fed. Cir. 2023), but failed to recognize that those statements

are dicta that are contradicted by the opinion’s articulation of the legal standard for

double-patenting as well as by its affirmance that a later-filed but earlier-expiring

patent was an invalidating reference.

      Furthermore, an earlier-filed threshold rule is contrary to the “bedrock

principle” underlying the OTDP doctrine that, “when a patent expires, the public is

free to use not only the same invention claimed in the expired patent but also

obvious or patentably indistinct modifications of that invention.” Gilead, 753 F.3d

at 1214. Pursuant to this principle, the public is entitled to practice the invention in


                                            7
            Case: 24-1401      Document: 9       Page: 18    Filed: 03/29/2024




the ’271 patent as well as any obvious variations upon its expiration, irrespective

of whether that invention is also claimed in the earlier-filed ’740 patent.

       B.     The District Court Legally Erred in
              Interpreting the Safe-Harbor Provision.

       The safe-harbor provision only prohibits the use of a patent as an OTDP

reference if it issued on an application that was (1) “filed as a result of . . . a

[restriction] requirement” in the application of the challenged patent, and (2) “filed

before the issuance of the patent on the [challenged] application.” 35 U.S.C. §

121. The District Court misinterpreted and misapplied these conditions in holding

that the ’271 patent is prohibited from use as an OTDP reference.

              1.     The ’271 patent did not issue on a
                     divisional application “filed as a result of . . .
                     a [restriction] requirement” in the original application.

       The ’271 patent traces back to the ’527 application, which was filed more

than a year before the restriction in the original application. To find that the patent

nevertheless issued on an application that was “filed as a result of” that restriction,

the District Court held that a later amendment to the application qualifies as the

filing of the application for purposes of the safe harbor. That was legal error.

       The District Court relied on the nearly four-decades old opinion in Union

Carbide v. Dow Chem. Co., 619 F. Supp. 1036 (D. Del. 1985), which in turn relied

on a perceived lack of “practical distinction” between filing and amending an

application. But the Supreme Court has held that practicality is not a cognizable


                                             8
            Case: 24-1401      Document: 9       Page: 19   Filed: 03/29/2024




reason to ignore the plain words of a statute. See, e.g., Baker Botts L.L.P. v.

ASARCO LLC, 576 U.S. 121, 134 (2015) (explaining that courts “lack the authority

to rewrite” statutory language even in face of “a harsh outcome”); Nat’l Ass’n of

Mfrs. v. Dep’t of Def., 583 U.S. 109, 124-26 (2018). Furthermore, and

significantly, the Union Carbide court did not have the benefit of this Court’s later

guidance requiring “a strict application of the plain language of § 121.” In re

Janssen Biotech, Inc., 880 F.3d 1315, 1321 (Fed. Cir. 2018) (quoting Amgen Inc. v.

F. Hoffman-La Roche Ltd, 580 F.3d 1340, 1353 (Fed. Cir. 2009)). With the benefit

of that guidance, the Patent Trial and Appeal Board (“PTAB”) has correctly

rejected the conflating of “filing” and “amending” as inconsistent with the

statutory language. Ex Parte Janssen Biotech, Inc. & New York Univ. Pat. Owner

& Appellant, No. APPEAL 2016-006590, 2016 WL 6921121, at *6 (P.T.A.B. Nov.

14, 2016). This Court should likewise reject the District Court’s erroneous

statutory interpretation.

      Moreover, Applicants admitted that the amendment was a result of a

restriction in the ’855 application (i.e., not the original application), affirmatively

arguing that the claims added in the amendment were “substantially the same

subject matter” as claims from the ’855 application. In fact, the claims added in

the amendment are virtually identical to the claims from the ’855 application.

Thus, even if “amending” could be equated with “filing” for purposes of the safe



                                             9
            Case: 24-1401      Document: 9       Page: 20   Filed: 03/29/2024




harbor, the ’271 patent still did not issue on an application that was ”filed as a

result of . . . a [restriction] requirement” in the original application (i.e., the ’561

application).2

              2.     The ’271 patent did not issue on a
                     divisional application that was “filed before
                     the issuance of the patent” on the original application.

       The amendment that recast the ’527 application as a divisional of the

original application did not occur until after the ’740 patent had issued. Thus, even

if the ’271 patent had met the “filed as a result of” requirement discussed above, it

still did not issue from a divisional application that was “filed before the issuance

of the patent on the other application.” 35 U.S.C. § 121.

       Setting aside the plain statutory language, the District Court interpreted the

safe-harbor provision as providing “paramount protection” to the original

application such that the “filed before” requirement does not apply when the

challenged patent issued from the original application. The statutory language

contains no hint of any such “paramount protection,” however, and no prior court

has interpreted the statute this way. On the contrary, the statutory language plainly

provides that patents issuing from the original and divisional applications are




2
 Although this argument was not raised below, this Court may consider a new
legal argument on appeal. See, e.g., Automated Merchandising Sys’s, Inc. v. Lee,
782 F.3d 1376, 1380 (Fed. Cir. 2015).


                                            10
           Case: 24-1401      Document: 9      Page: 21   Filed: 03/29/2024




equally protected from each other. A co-author of the 1952 Patent Act thus

described the safe harbor as “provid[ing] that neither the original or divisional

application (or patent), resulting from a requirement for restriction, shall affect the

validity of the other merely because of their being divided into several applications

or patents as a result of the requirement; however, the divisional application must

be filed before the issuance of the patent on the other application.” P. J. Federico,

Commentary on the New Patent Act, 35 U.S.C.A. 1-110 (1970).

                                    ARGUMENT

      STANDARD OF REVIEW

             Summary Judgment

      Summary judgment shall be granted when “there is no genuine issue as to

any material fact and [] the moving party is entitled to a judgment as a matter of

law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “This court reviews a

ruling of summary judgment de novo.” Golden Bridge Tech., Inc. v. Nokia, Inc.,

527 F.3d 1318, 1321 (Fed. Cir. 2008).

             Statutory Interpretation

      The Federal Circuit reviews a district court’s interpretation of statutory

language de novo. See, e.g., Syngenta Crop Prot., LLC v. Willowood, LLC, 944

F.3d 1344, 1355 (Fed. Cir. 2019).




                                          11
           Case: 24-1401     Document: 9      Page: 22   Filed: 03/29/2024




             Obviousness-Type Double Patenting

      Double patenting is a question of law that is reviewed without deference.

Sun Pharm. Indus., Ltd. v. Eli Lilly & Co., 611 F.3d 1381, 1384 (Fed. Cir. 2010).

      “The double patenting doctrine precludes one person from obtaining more

than one valid patent for either (a) the ‘same invention,’ or (b) an ‘obvious’

modification of the same invention.” Otsuka Pharm. Co., Ltd. v. Sandoz, Inc., 678

F.3d 1280, 1297 (Fed. Cir. 2012) (internal quotation omitted). “Thus, this doctrine

polices the proper application of the patent term for each invention.” Perricone v.

Medicis Pharm. Corp., 432 F.3d 1368, 1372 (Fed. Cir. 2005).

      The “judicially created” OTDP doctrine has served since the 1800s to

prohibit different expiries for two commonly owned patents (or two patents sharing

an inventor) that claim obvious variants of the same invention. Gilead, 753 F.3d at

1212-1214 (discussing OTDP history). Post-URAA3, “the doctrine of

obviousness-type double patenting continues to apply where two patents that claim

the same invention have different expiration dates.” AbbVie Inc. v. Mathilda &

Terence Kennedy Institute of Rheumatology Trust, 764 F. 3d 1366, 1374 (Fed. Cir.

2014). “Permitting any earlier expiring patent to serve as a double patenting


3
  The passage of the Uruguay Round Agreements Act (“URAA”) on December 8,
1994 harmonized the patent term in the United States with that of most other
nations by changing the term from 17 years from the date of issuance to 20 years
from the earliest effective filing date in the United States. Pub. L. No. 103-465
§ 532, 108 Stat. 4809 (1994) (codified as amended at 35 U.S.C. § 154(a)(2)).

                                         12
           Case: 24-1401      Document: 9      Page: 23   Filed: 03/29/2024




reference for a patent subject to the URAA guarantees a stable benchmark that

preserves the public’s right to use the invention (and its obvious variants) that are

claimed in a patent when that patent expires.” Gilead, 753 F.3d at 1216.

      The “fundamental” policy underlying the doctrine is that “‘[t]he public

should . . . be able to act on the assumption that upon the expiration of the patent it

will be free to use not only the invention claimed in the patent but also

modifications or variants which would have been obvious to those of ordinary skill

in the art at the time the invention was made . . . .’” In re Longi, 759 F.2d 887,

892-93 (Fed. Cir. 1985) (quoting In re Zickendraht, 319 F.2d 225, 232 (C.C.P.A.

1963) (emphasis in original)). In addition, the OTDP doctrine also serves the

important purpose of preventing “multiple infringement suits by different assignees

asserting essentially the same patented invention.” In re Hubbell, 709 F.3d 1140,

1145 (Fed. Cir. 2013).

      The post-URAA 20-year patent term can be lengthened for patent office

delays. 35 U.S.C. § 154(b)(1)(A). This is commonly referred to as “patent term

adjustment” or “PTA.” This Court has determined that an OTDP-challenge to a

patent that has received PTA “must be based on the expiration date of the patent

after PTA has been added.” In re: Cellect, LLC, 81 F.4th at 1229 (emphasis

added).




                                          13
           Case: 24-1401      Document: 9       Page: 24   Filed: 03/29/2024




      “A later patent claim is not patentably distinct from an earlier patent claim if

the later claim is obvious over, or anticipated by, the earlier claim.” Eli Lilly &

Co. v. Barr Lab'ys, Inc., 251 F.3d 955, 968 (Fed. Cir. 2001); AbbVie, 764 F.3d at

1374. For a double-patenting inquiry, a compound claim is deemed at least

obvious in view of a method-of-use claim for that compound. See Boehringer, 592

F.3d at 1345.

             The Safe-Harbor Provision

      As discussed above, the OTDP doctrine has been law since the 19th century.

Supra at 12. At times, the doctrine could interact improvidently with the patent

office’s administrative requirement that applicants pursue only one invention per

patent. See, e.g., St. Jude Med., Inc. v. Access Closure, Inc., 729 F.3d 1369, 1376

(Fed. Cir. 2013) (providing historical background). When a patent examiner

determines that an application claims more than one patentably distinct invention,

the examiner imposes a restriction requirement whereby the applicant must select

one of the identified inventions to continue to pursue in the application. Id. The

applicant may then file one or more divisional applications in which to pursue the

other inventions. See id. at 1376-77. This could lead to unfairness if the patents

that issued from the various applications were later used against each other in a

double-patenting challenge. Id. at 1376.




                                           14
           Case: 24-1401     Document: 9       Page: 25   Filed: 03/29/2024




       In the 1952 Patent Act, Congress introduced the safe-harbor provision in

35 U.S.C. § 121 to solve this potential problem:

             If two or more independent and distinct inventions are
             claimed in one application, the Director may require the
             application to be restricted to one of the inventions. If the
             other invention is made the subject of a divisional
             application which complies with the requirements of
             section 120 it shall be entitled to the benefit of the filing
             date of the original application. A patent issuing on an
             application with respect to which a requirement for
             restriction under this section has been made, or on an
             application filed as a result of such a requirement, shall
             not be used as a reference either in the Patent and
             Trademark Office or in the courts against a divisional
             application or against the original application or any
             patent issued on either of them, if the divisional
             application is filed before the issuance of the patent on the
             other application. The validity of a patent shall not be
             questioned for failure of the Director to require the
             application to be restricted to one invention.

35 U.S.C. § 121 (added emphasis highlighting safe-harbor provision). However,

“[g]iven the potential windfall [a] patent term extension could provide to a

patentee, this court applies a strict test for application of § 121.” Geneva Pharm.,

Inc. v. GlaxoSmithKline PLC, 349 F.3d 1373, 1382 (Fed. Cir. 2003). This means

that courts must provide “a strict application of the plain language of § 121.” In re

Janssen Biotech, 880 F.3d at 1321 (quoting Amgen, 580 F.3d at 1353).




                                          15
           Case: 24-1401      Document: 9      Page: 26   Filed: 03/29/2024




      THE DISTRICT COURT LEGALLY ERRED IN HOLDING THAT
      ONLY EARLIER-FILED PATENTS CAN BE OTDP REFERENCES.

      This Court established in Gilead that expiration dates are the determining

factor for whether a patent can be an OTDP reference. As the Court explained,

“[p]ermitting any earlier expiring patent to serve as a double patenting reference . .

. guarantees a stable benchmark that preserves the public’s right to use the

invention (and its obvious variants) that are claimed in a patent when that patent

expires.” Gilead, 753 F.3d at 1216 (emphasis added). The Court has since

affirmed that holding. See AbbVie, 764 F.3d at 1374 (“We now make explicit what

was implicit in Gilead: the doctrine of obviousness-type double patenting

continues to apply where two patents that claim the same invention have different

expiration dates.”); Novartis Pharms. Corp. v. Breckenridge Pharm. Inc., 909 F.3d

1355, 1358 (Fed. Cir. 2018) (“As the district court correctly summarized, we held

in Gilead that the expiration date is the benchmark of obviousness-type double

patenting.”).

      The District Court set aside this Court’s binding precedent and created an

erroneous threshold rule that “a patent must be earlier-filed to be available as an

OTDP reference . . . .” Appx015. It therefore concluded that “the ’271 patent does




                                          16
            Case: 24-1401     Document: 9       Page: 27   Filed: 03/29/2024




not qualify as a proper reference against the ’740 patent.” Id.4 The District Court

found the wellspring for its “earlier-filed” rule in a few references to “obvious

variations of earlier-filed” claims in In re Cellect. Id. at 14 (quoting In re: Cellect,

LLC, 81 F.4th at 1230).5 Those references are dicta, however, and stand in

contrast to the parts of the In re Cellect opinion that sets out the legal standard for

OTDP and correctly emphasizes expiration dates as the relevant consideration. See

In re: Cellect, LLC, 81 F.4th at 1226 (“[A]n ODP determination depends on an

assessment of obviousness, i.e., whether the claims of a later-expiring patent

would have been obvious over the claims of an earlier-expiring patent owned by

the same party.”) (emphasis added); see also id. (“A crucial purpose of ODP is to

prevent an inventor from securing a second, later-expiring patent for non-distinct

claims.”); id. at 1227-28 (“In AbbVie, we held that ODP continues to apply where

two patents that claim the same invention have different expiration dates, including

where the different expiration date is due to a grant of PTA.”).




4
  The District Court did not discuss the fact that, although the applications that
resulted in the ’740 and ’271 patents were filed at different dates, they claim
priority to the same application and thus have the same “effective” filing date.
Supra at n. 12.
5
 The opinion makes reference to “earlier-filed” claims two additional times. See
In re: Cellect, 81 F.4th at 1226, 1231.


                                           17
             Case: 24-1401     Document: 9      Page: 28   Filed: 03/29/2024




        Furthermore, In re Cellect cannot be read to establish a new “earlier-filed”

threshold for asserted OTDP references because it affirmed that the later-filed

’036 patent was an invalidating OTDP reference to the earlier-filed ’369 patent.

See id. at 1220.6 Indeed, another Delaware district court has rejected the notion

that the opinion somehow establishes an earlier-filed threshold requirement for

OTDP references, explaining that “In re Cellect [held] that ODP depends solely on

patent expiration . . . . [and] recognizes no exception to the rule it announced,

whether for first-filed, first-issued claims or otherwise.” Allergan USA, Inc. v.

MSN Lab'ys Priv. Ltd., No. 19-1727, 2023 WL 6295496, at *22 (D. Del. Sept. 27,

2023)

        The District Court also found support in its failure “to identify a case where,

when challenged, a later-filed, later-issued, earlier-expiring patent was used as an

[invalidating] OTDP reference. . . .” Appx013. But that is precisely what

happened in Allergan, where the court held that two later-filed and later-issued

patents rendered a later-expiring patent invalid for OTDB. Allergan, 2023 WL

6295496, at *22. A second district court has also explicitly rejected the “earlier-



6
  The District Court pointed to the “tangled web of earlier-and later-filed patents”
to explain this discrepancy with its reading of the opinion. Appx014. But the
opinion presents the relationship between the challenged and reference patents
with admirable clarity through a chart and a table, and specifically notes that “[t]he
invalidation of all claims under ODP can be traced back to the [later-filed] ’036
patent.” In re: Cellect, 81 F.4th at 1220.

                                           18
           Case: 24-1401      Document: 9      Page: 29   Filed: 03/29/2024




filed” threshold, explaining that “Gilead held that what is relevant is the patents

expiration dates.” MLC Intell. Prop., LLC v. Micron Tech., Inc., No. 14-03657,

2017 WL 1493025, at *6 (N.D. Cal. Apr. 26, 2017).

      Finally, the District Court argued that “the logic and purpose of OTDP is

flipped on its head” if a later-filed patent is used as an OTDP reference because

that “would operate to cut off a patent term that would have been valid but for a

later-filed patent.” Appx013. But that ignores the “bedrock principle” of patent

law underlying the OTDP doctrine, namely that “when a patent expires, the public

is free to use not only the same invention claimed in the expired patent but also

obvious or patentably indistinct modifications of that invention.” Gilead, 753 F.3d

at 1214 (citing opinions). “And that principle is violated when a patent expires and

the public is nevertheless barred from practicing obvious modifications of the

invention claimed in that patent because the inventor holds another later-expiring

patent with claims for obvious modifications of the invention.” Id. The same is

true here. The public is entitled to practice the invention claimed in the ’271 patent

as well as any obvious variations upon the expiration of that patent.

      This Court should reject the District Court’s novel and incorrect threshold

rule that a patent must be earlier-filed to be available as an OTDP reference.




                                          19
            Case: 24-1401     Document: 9      Page: 30   Filed: 03/29/2024




      THE DISTRICT COURT LEGALLY ERRED IN
      INTERPRETING THE SAFE-HABOR PROVISION SO AS TO
      BLOCK THE ’271 PATENT FROM BEING AN OTDP REFERENCE.

      Congress included conditions in the safe-harbor provision that must be

fulfilled for a patent issuing from a divisional to be blocked from use as an ODTP

reference. These conditions include that the divisional application was both

(1) “filed” as a result of a restriction requirement in the application from which the

challenged patent issued, and (2) “filed before” the challenged patent issued.

Based on erroneous interpretations of the statutory language, the District Court

failed to appropriately apply these conditions to the ’271 patent.

      A.     The District Court Erred in Finding That the ’271 Patent
             Issued on a Divisional Application That Was “Filed as a Result
             of . . . a [Restriction] Requirement” in the Original Application.

             1.     The District Court legally erred in holding
                    that amending an existing application qualifies as
                    filing a new application for purposes of the safe harbor.

      The safe harbor provision exempts a patent from use as an OTDP reference

if it issued on an application that was “filed” as a result of a restriction requirement

in the original application. 35 U.S.C. § 121. Indeed, the safe harbor provision

twice emphasizes that the application must be “filed”:

             A patent issuing on an application with respect to which a
             requirement for restriction under this section has been
             made, or on an application filed as a result of such a
             requirement, shall not be used as a reference either in the
             Patent and Trademark Office or in the courts against a
             divisional application or against the original application or
             any patent issued on either of them, if the divisional

                                          20
            Case: 24-1401      Document: 9      Page: 31    Filed: 03/29/2024




             application is filed before the issuance of the patent on the
             other application.

Id. (emphasis added).

      Here, the ’527 application that led to the ’271 patent was filed in May 2006,

more than a year before the restriction requirement was placed on the original

’561 application. Appx067-071; supra at 4-5. It is self-evident that the

’527 application cannot have been filed “as a result of” a restriction requirement

that had not yet occurred. The ’271 patent therefore did not issue “on an

application filed as a result of” the restriction requirement in the ’561 application

and thus falls outside the safe harbor protection.

      Despite the clear statutory language that a patent must issue “on an

application filed as a result of” a restriction requirement, 35 U.S.C. § 121

(emphasis added), the District Court held that “precedent dictates that an

amendment constitutes filing for purposes of 35 U.S.C. § 121. . . .” Appx010

(emphasis added). And because the Applicants amended the ’527 patent

specification at a point in time after the restriction in the original application, the

District Court concluded that the ’271 patent meets the “filing” requirement.

Appx010-012.

      The “precedent” the District Court relied on is Union Carbide, a nearly 40-

year old district court opinion. Appx010 (citing Union Carbide, 619 F. Supp. at

1059-60). In Union Carbide, the court acknowledged that the “literal language of

                                           21
            Case: 24-1401     Document: 9      Page: 32   Filed: 03/29/2024




section 121” requires that the application be “filed,” but dismissed that language as

a mere “formalistic rule” because it felt that “[n]o practical distinction exists”

between a filing and an amendment. Union Carbide, 619 F. Supp. at 1059-60.

That was legal error because practicality is not a basis on which a court may ignore

the plain words of a statute. See, e.g., Baker Botts, 576 U.S. at 134 (explaining that

courts “lack the authority to rewrite” statutory language even in face of “a harsh

outcome”); Nat’l Ass’n of Mfrs., 583 U.S. at 124-26 (refusing to classify a rule

based on its “legal and practical effect” where doing so would “disregard[] the

statutory text”).

      Moreover, Union Carbide was decided before this Court made it clear that,

“[g]iven the potential windfall [a] patent term extension could provide to a

patentee, this court applies a strict test for application of § 121.” Geneva Pharm.,

349 F.3d at 1382. In other words, before this Court directed “a strict application of

the plain language of § 121.” In re Janssen Biotech, 880 F.3d at 1321 (quoting

Amgen, 580 F.3d at 1353). With this guidance in mind, the PTAB rejected the

contention that an amendment constitutes a “filing” under the safe harbor statute.

Ex Parte Janssen, 2016 WL 6921121, at *6. PTAB explained that this contention

is “inconsistent with the statutory language of Section 121,” and that it “could not




                                          22
           Case: 24-1401      Document: 9      Page: 33   Filed: 03/29/2024




identify a clear reason for construing the statute not to require the ‘Divisional as

filed’ Rule.” Id.7 No such reason exists.

      Finally, the holding in Union Carbide depends significantly on claims in the

application being “amended in toto to reflect the division of a copending

application.” Union Carbide, 619 F. Supp. at 1060 (emphasis added). See also id.

(“No practical distinction exists between an application filed for the first time as a

result of a restriction requirement, and an application which is amended in full to

comport with that requirement.”) (emphasis added). Here, by contrast, the

amendment did not reflect the restriction in the original application “in toto”

because, as Applicants admitted and affirmatively argued to the patent examiner,

the amendment was based on subject matter from a restriction in an application

other than the original application. See supra at 9. Thus, even if it had been

correct to conflate “filed” with “amended” when the amendment completely

reflects or comports with the restriction in the original application as held in Union

Carbide, it would be incorrect to do so here.

      The District Court incorrectly believed that this Court’s opinion in

Boehringer provides support for the Union Carbide holding. Appx010-012 (citing

Boehringer, 592 F.3d at 1353). First, the court described Boehringer as “holding


7
  The Federal Circuit did not reach this issue on appeal from the PTAB. In re
Janssen Biotech, Inc., 880 F.3d at 1325.


                                          23
            Case: 24-1401      Document: 9       Page: 34   Filed: 03/29/2024




that two serially-filed divisional applications met the ‘filed as a result of’

requirement despite one of the divisional applications having been initially filed as

a continuation.” Appx010-011 (emphasis added). In fact, neither of the two

divisionals in Boehringer had been filed as a continuation. See Boehringer, 592

F.3d at 1344 (describing the filing history).8

      Second, the District Court pointed to a statement in Boehringer that “§ 121

is ‘not concerned with . . . how any [particular divisional] applications are filed.

To prevent loss of the safe harbor in dividing out claims to non-elected inventions,

what is required is consonance with the restriction requirement.’” Appx010

(quoting Boehringer, 592 F.3d at 1353). The District Court appears to have read

this to support Union Carbide’s appeal to practicability. But the issue in

Boehringer was not whether an amendment can constitute a filing under

Section 121; rather, it was whether an applicant must file a separate divisional for

each invention not selected in the restricted application, or if it is permissible to file

“two successive divisionals to different combinations of the inventions identified

in the restriction requirement.” Boehringer, 592 F.3d at 1353. This is clear when

the partial quote the District Court provided is recited in full:

             Section 121 is not concerned with any overlap in non-
             elected inventions prosecuted within any particular

8
  Without citation, the District Court also mistakenly describes MSN as referencing
a “continuation in Boehringer. . . .” Appx012. MSN never did so for the simple
reason that Boehringer did not involve a continuation.

                                           24
            Case: 24-1401       Document: 9      Page: 35    Filed: 03/29/2024




              divisional application or in how any such applications are
              filed. To prevent loss of the safe harbor in dividing out
              claims to non-elected inventions, what is required is
              consonance with the restriction requirement.

Id. at 1353–54 (emphasis added). Thus, Boehringer offers no support for ignoring

the plain language in Section 121 that requires an application to be “filed” as a

result of the restriction requirement for the safe harbor to apply.

       In sum, this Court should apply the plain statutory language requiring that a

patent must issue from an application that is “filed” as a result of the restriction

requirement in order for the Section 121 safe harbor to block it from use as a

OTDP reference. The Court should thus hold that the ’271 patent falls outside the

safe harbor protection, reverse the summary judgment rulings below, and direct

entry of summary judgment of invalidity.

              2.     Even if amending could be conflated
                     with filing, the ’271 patent is outside the
                     safe harbor because the amendment was not
                     “a result of” of the restriction in the original application.

       As discussed, the safe harbor applies to a divisional application only if it is

filed “as a result of . . . a [restriction] requirement” in the original application (i.e.,

the ’561 application). 35 U.S.C. § 121. Thus, “the third sentence of [§ 121]

provides a safe harbor . . . from attack based on . . . applications or patents

similarly derived from the same restriction requirement.” Pfizer, Inc. v. Teva

Pharm. USA, Inc., 518 F.3d 1353, 1360 (Fed. Cir. 2008) (emphasis added).



                                            25
             Case: 24-1401      Document: 9       Page: 36    Filed: 03/29/2024




        Furthermore, “[w]here there is no textual or contextual indication to the

contrary, courts regularly read phrases like ‘results from’ to require but-for

causality.” Burrage v. United States, 571 U.S. 204, 212 (2014). See also United

States v. Seay, No. 20-67, 2023 WL 171148, at *4 (S.D. Ohio Jan. 12, 2023) (“The

phrase ‘as a result of’ falls within the class of phrases like . . . ‘results from’ . . .

that Burrage identified as carrying a but-for causation connotation in ordinary

parlance.”) (citing Burrage, 571 U.S. at 213–14). To show that the safe harbor

applies to the ’271 patent, therefore, Acadia must demonstrate that but for the

restriction in the original amendment, the amendment-cum-filing of the

’527 application (the purported “divisional application”) would not have occurred.

See Boehringer Ingelheim Int'l GmbH v. Barr Lab’ys, Inc., 562 F. Supp. 2d 619,

632 (D. Del. 2008), rev’d, 592 F.3d 1340 (Fed. Cir. 2010) (“The burden is on the

patent holder to prove that Section 121 applies.”) (citing Geneva Pharms., 349

F.3d at 1381).

        Acadia cannot meet this burden because Applicants represented to the

Examiner that the claims added to the ’527 application were “based on subject

matter in restriction groups not elected in [the original application] and

[Application No.] 11/416,855 . . . .” Appx072 (emphasis added); Appx385

(same).9 Applicants further demonstrated that the new claims were “substantially


9
    The ‘855 application was a continuation of the ’561 application. Appx385.

                                             26
           Case: 24-1401      Document: 9        Page: 37   Filed: 03/29/2024




the same subject matter as claims 28-31 of the ’855 application . . . . [because those

claims] also recite methods of treating schizophrenia with [pimavanserin], or a

pharmaceutically acceptable salt thereof, in combination with risperidone or

haloperidol.” Appx385. Thus, Applicants admitted that the amendment was based

on a restriction in the ’855 application.

      To be sure, Applicants alleged that the subject matter of the new claims in

the ’527 application “is also within group IV (claims 40-47)” of the original

application. Id. However, the new claims recite subject matter that is wholly

absent from the Group IV claims. For example, the Group IV claims do not

contain the limitations in the new claims directed to the ratio of pimavanserin to

the patient’s bodyweight, the administering of “a therapeutically effective amount”

of pimavanserin, or the administering of “a pharmaceutically acceptable salt” of

the compound, including a tartrate salt and a hydrochloride salt. Compare

Appx380-383 (claims 17-40) with Appx191-192 (claims 40-47). Moreover, new

claim 19 in the ’527 application recites a “method for reducing an amount of

haloperidol or risperidone . . . .” Appx380. No such method is recited in Group IV

of the original application. Appx191-192. Just as Applicants argued, therefore,

this subject matter must have originated from the non-elected claims in the ’855

application.




                                            27
           Case: 24-1401     Document: 9      Page: 38   Filed: 03/29/2024




      Indeed, as shown in the table below, the new claims that were added to the

’527 application in the amendment are virtually identical to claims 28-30 in the

’855 application:

 ’527 Application-New Claims10             ’855 Application-Non-Elected Claims11
 17. (New) A method of treating            28. (New) A method of treating
 schizophrenia in a patient,               schizophrenia in a patient, comprising
 comprising administering to a patient     administering to a patient having
 having schizophrenia a                    schizophrenia (a) about 0.01 mg/kg of
 therapeutically effective amount of       body weight to about 2 mg/kg body
 (a) [pimavanserin] or a                   weight of the tartrate salt of
 pharmaceutically acceptable salt          [pimavanserin] and (b) risperidone.
 thereof, and (b) risperidone.

 20. (New) The method of claim 17,
 wherein the tartrate salt of
 [pimavanserin] is administered.

 23. (New) The method of claim 17,
 wherein about 0.01 mg/kg of body
 weight to about 2 mg/kg body weight
 of [pimavanserin] or a
 pharmaceutically acceptable salt
 thereof is administered.
 18. (New) A method of treating            29. (New) A method of treating
 schizophrenia in a patient,               schizophrenia in a patient, comprising
 comprising administering to the           administering to the patient having
 patient having schizophrenia a            schizophrenia (a) about 0.01 mg/kg of


10
  Appx380-381.
11
  The ’855 application with the non-elected claims 28-31 is available at
https://patentcenter.uspto.gov/applications/11416855/ifw/docs?application (see
“Claims” at Mail Room Date 02/12/2009) (“the ’855 Application Claims”). This
Court may take judicial notice of patent applications. See Tubular Rollers, LLC v.
Maximus Oilfield Prod., LLC, No. 2021-2319, 2023 WL 4230371, at *5 (Fed. Cir.
June 28, 2023).

                                         28
          Case: 24-1401    Document: 9       Page: 39   Filed: 03/29/2024




’527 Application-New Claims10            ’855 Application-Non-Elected Claims11
therapeutically effective amount of      body weight to about 2 mg/kg body
(a) [pimavanserin] or a                  weight of the tartrate salt of
pharmaceutically acceptable salt         [pimavanserin] and (b) haloperidol.
thereof, and (b) haloperidol.

21. (New) The method of claim 18,
wherein the tartrate salt of
[pimavanserin] is administered.

24. (New) The method of claim 18,
wherein about 0.01 mg/kg of body
weight to about 2 mg/kg body weight
of [pimavanserin] or a
pharmaceutically acceptable salt
thereof is administered.
19. (New) A method for reducing an       30. (New) A method for reducing an
amount of haloperidol or risperidone     amount of haloperidol or resperidone
effective to treat psychosis in a        (sic) effective to treat psychosis in a
schizophrenic patient, the method        schizophrenic patient, the method
comprising administering a               comprising administering about 0.01
therapeutically effective amount of      mg/kg of body weight to about 2 mg/kg
[pimavanserin], or a pharmaceutically    body weight of [pimavanserin] tartrate
acceptable salt thereof, to the          salt to the schizophrenic patient with
schizophrenic patient with psychosis     psychosis being treated with haloperidol
being treated with haloperidol or        or risperidone.
risperidone.

22. (New) The method of claim 19,
wherein the tartrate salt of
[pimavanserin] is administered.

25. (New) The method of claim 19,
wherein about 0.01 mg/kg of body
weight to about 2 mg/kg body weight
of [pimavanserin] or a
pharmaceutically acceptable salt
thereof is administered.


                                        29
           Case: 24-1401     Document: 9      Page: 40   Filed: 03/29/2024




      Similarly, the 10 mg to 50 mg pimavanserin dosage limitations in claims 26-

37 added to the ’527 application come from claims 25-27 in the ’855 application.

Compare Appx381 with the ’855 Application Claims. Only the hydrochloride salt

of pimavanserin recited in the new claims 38-40 in the ’527 application, see

Appx383, is absent from claims in the ’855 application. However, the

hydrochloride salt is also absent from the Group IV claims (claims 40-47) of the

’527 application, see Appx191-192, and thus cannot provide the required but-for

cause for the amendment.

      In view of Applicants’ admission that the new claims were “based on” and is

“substantially the same subject matter as claims 28-31 of the ’855 application,” and

the differences in subject matter between the new claims and those in Group IV of

the original application, Acadia cannot demonstrate that the restriction requirement

in the original application was a but-for cause of the amendment to the

’527 application. In other words, Acadia cannot demonstrate that the amendment

would not have occurred if the only restriction had been in the ’855 application.

Acadia consequently cannot meet its burden of proving that the safe harbor blocks

the use of the ’271 patent as an OTDP reference.

      For these reasons as well, the Court should reverse the summary judgments

below and direct entry of summary judgment of invalidity.




                                         30
             Case: 24-1401        Document: 9    Page: 41   Filed: 03/29/2024




      B.      The District Court Legally Erred in
              Interpreting the Safe Harbor Provision as Giving
              “Paramount Protection” to the Original Application.

      In addition to requiring that a divisional application must have been filed as

a result of the restriction requirement to be prohibited from use as a double-

patenting reference, the safe-harbor provision also requires that “the divisional

application is filed before the issuance of the patent on the other application.” 35

U.S.C. § 121. Here, the amendment that recast the ’527 continuation as a

divisional did not occur until after the ’740 patent had issued from the ’561

application. Appx066, Appx073. Thus, even if amending an existing application

could somehow qualify as “filing” an application in Section 121, which it cannot,

supra at 20-25, the ’271 patent is still not barred from use as a double-patenting

reference.

      The District Court rejected this straight-forward application of the statutory

language because it accepted Acadia’s contention that the safe-harbor provision

provides “paramount protection” to the original application. Appx006 (quoting

D.I. 261 at 5). Based on this “paramount protection,” the court concluded that “the

‘filed before the issuance of the patent’ requirement in the [] safe harbor is

inapplicable when the challenged patent issued from the original application.”

Appx10. There is, however, no support for the notion of “paramount protection”

in the statute or the case law.



                                            31
            Case: 24-1401     Document: 9      Page: 42    Filed: 03/29/2024




      Starting with the statute, neither its language nor its structure suggests a

greater degree of protection for the original application than for any divisional

thereof:

 35 U.S.C. § 121 - Safe Harbor Provision                  Function
 A patent issuing on an application with respect to       Defining the patents that
 which a requirement for restriction under this           shall not be used as OTDP
 section has been made, or on [a divisional]12            references.
 application filed as a result of such a requirement,
 shall not be used as a reference . . .
 against a divisional application or against the          Defining the patents and
 original application or any patent issued on either      applications that may not be
 of them,                                                 challenged by the earlier-
                                                          defined references.
 if the divisional application is filed before the        Temporal Requirement
 issuance of the patent on the other application.

On the contrary, the language evidences a symmetrical relationship whereby

original and divisional applications (and patents issuing from either) are equally

protected from each other.

      P.J. Federico, a co-author13 of the 1952 Patent Act that introduced

Section 121, captures this symmetry in his description of the safe harbor provision:



12
   As discussed below, it is well-settled that “an application filed as a result of such
a requirement” refers solely to a divisional application. Infra at 34-35.
13
  Hon. Giles S. Rich, In Memoriam: P.J. (Pat) Federico and His Works, 64 JPOS
3 (Jan. 1982), reprinted in 85 J. Patent & Trademark Off. Soc’y 83, 85 (2003)
(noting that Federico “single-handedly drafted the first version of the Patent Act of
1952”).

                                          32
             Case: 24-1401      Document: 9       Page: 43   Filed: 03/29/2024




               The third sentence of section 120 [sic] is the one which
               provides that neither the original or divisional application
               (or patent), resulting from a requirement for restriction,
               shall affect the validity of the other merely because of their
               being divided into several applications or patents as a
               result of the requirement; however, the divisional
               application must be filed before the issuance of the patent
               on the other application.

Federico, supra at 11 (emphasis added). As with the statutory language itself,

there is no suggestion in Federico’s description that the Temporal Requirement is

somehow inapplicable when the challenged patent issued from the original

application. The Reviser’s Note similarly describes the safe harbor as providing

that “neither of the resulting patents can be held invalid over the other merely

because of their being divided in several patents.” 35 U.S.C. § 121 (Reviser’s

Note).

         The symmetry is also emphasized in a contemporary treatise:

               [T]he third sentence of § 121 provides that when the PTO
               issues a restriction requirement, the parent application and
               the divisional application filed as a result of the restriction
               requirement cannot be used as references against each
               other if the divisional application is filed before the
               issuance of a patent from the parent application.

3 Annotated Patent Digest § 16:15 (emphasis added).

         The District Court pointed to the superficial mismatch between “divisional

application” in the Temporal Requirement and “an application filed as a result of

such a requirement” in the definition of the patents that shall not be used as OTDP



                                             33
            Case: 24-1401      Document: 9       Page: 44    Filed: 03/29/2024




references. Appx009. In the court’s view, reading “divisional application” as

referring to “an application filed as a result of such a requirement” would “import[]

additional limitations not present in the statutory language.” Id. But this objection

ignores the well-settled understanding that the “[safe harbor] provision

contemplates that it is divisional applications that are filed pursuant to a restriction.

. . .” St. Jude, 729 F.3d at 1382 (Lourie, concurring). See also Boehringer, 592

F.3d at 1351 (explaining that “a patent issuing on an application filed as a result of

a restriction requirement” refers to one or more “divisional applications”); Amgen

Inc. v. F. Hoffman-La Roche Ltd, 580 F.3d 1340, 1353 (Fed. Cir. 2009) (explaining

that “[t]he statute on its face applies only to divisional applications. . . .”).

       The understanding that the safe-harbor provision is directed to divisional

applications follows straight-forwardly from the statutory language:

              Divisional applications

              If two or more independent and distinct inventions are
              claimed in one application, the Director may require the
              application to be restricted to one of the inventions. If the
              other invention is made the subject of a divisional
              application which complies with the requirements of
              section 120 it shall be entitled to the benefit of the filing
              date of the original application. A patent issuing on an
              application with respect to which a requirement for
              restriction under this section has been made, or on an
              application filed as a result of such a requirement, shall not
              be used as a reference . . . against a divisional application
              or against the original application or any patent issued on
              either of them, if the divisional application is filed before
              the issuance of the patent on the other application.

                                            34
            Case: 24-1401      Document: 9       Page: 45    Filed: 03/29/2024




35 U.S.C. § 121. As Judge Lourie pointed out, “[t]he very title of § 121 is

‘Divisional applications’ [and] [i]t refers to divisional applications three times,

twice in relation to the immunity from double patenting issue.” St. Jude, 729 F.3d

at 1382.

      Furthermore, when the third sentence in the statute discusses the

“application filed as a result of such a [restriction] requirement,” it is plainly

referring back to the “divisional application” in which the “other invention is made

the subject” discussed in the prior sentence. 35 U.S.C. § 121. This is explicitly

identified in Federico’s commentary on the provision:

             After a requirement to restrict an application is made, the
             applicant may file a second application for the invention
             which was not elected to be retained in the first
             application. This second application, which is referred to
             in the statute as a divisional application . . . , is entitled to
             the benefit of the filing date of the first application if it
             complies with the requirements of section 120. . . .

             The third sentence of section 120 [sic] is the one which
             provides that neither the original or divisional application
             (or patent), resulting from a requirement for restriction,
             shall affect the validity of the other merely because of their
             being divided into several applications or patents as a
             result of the requirement; however, the divisional
             application must be filed before the issuance of the patent
             on the other application.

Federico, supra at 11 (emphasis added).




                                            35
            Case: 24-1401      Document: 9      Page: 46   Filed: 03/29/2024




      The symmetry in protection between the original application and any

divisionals filed as a result of a restriction aligns with the purpose of the statute,

which was to solve the unfairness that could arise when a restriction requirement

results in multiple patents that are later used against each other in a double-

patenting challenge. See, e.g., St. Jude, 729 F.3d at 1376–77. The goal was to

ensure that none of the resulting patents were rendered invalid by any of the others

due to the administrative restriction requirement imposed by the patent office. Id.;

see also Boehringer, 592 F.3d at 1350 (“The safe harbor is provided to protect an

applicant from losing rights when an application is divided.”). That goal neither

requires nor implies any “paramount” protection for the patent that issues from the

original application.

      Nor is there anything in the restriction and election process during

prosecution that suggests additional protection for the original application. When

the patent examiner identifies multiple “inventions” in an application and issues a

restriction requirement, the patent applicant has complete freedom as to which

“invention” to pursue in the original application and which to pursue in divisionals.

No “invention” is identified as “paramount” by the examiner, and the original

application is not given prosecutorial priority over any divisionals.

      Furthermore, the safe harbor can apply in OTDP cases where the patent

issuing from the original application is not involved as either a reference or a



                                           36
            Case: 24-1401     Document: 9      Page: 47    Filed: 03/29/2024




challenged patent. As this Court has explained, “the safe harbor is not limited to

only one divisional application.” Boehringer, 592 F.3d at 1350. “Thus, where the

third sentence of § 121 refers to a patent issuing on an application filed as a result

of a restriction requirement, it is referring to patents issuing from any number of

multiple divisional applications and precludes any one from being used as a

reference against any other.” Id. at 1351. That the safe harbor applies when the

original application is not even at issue is further evidence that it was not intended

to give special protection to that original application.

      Turning to the case law, prior to the District Court’s opinion here, no court

had interpreted Section 121 as giving paramount protection to the original

application. Indeed, even the District Court acknowledged that the case snippets it

relied on are “dictum,” “hardly dispositive,” and “inconclusive.” Appx007. In

fact, none of the opinions cited by the District Court articulate a notion of

paramount protection or even engage in any discussion of the issue.

      The District Court first pointed to a parenthetical from Amgen describing

Section 121 as “sheltering from attack ‘a divisional application or . . . the original

application or any patent issued on either of them, if the divisional application is

filed before the issuance of the patent on the other application.’” Id. (quoting

Amgen, 580 F.3d at 1353). But Amgen considered only the requirements for a

challenged patent to fall under the safe harbor, not the requirements for a patent to



                                          37
           Case: 24-1401      Document: 9      Page: 48   Filed: 03/29/2024




be prohibited from use as a double-patenting reference. See Amgen, 580 F.3d at

1347-49. The parenthetical’s partial quote from Section 121 therefore omitted the

definition of prohibited references and, as with the Amgen opinion as a whole, is

silent with respect to the issue here. Pfizer and In re Janssen – the other opinions

discussed by the District Court – were also concerned only with the safe-harbor

requirements for the challenged patent and not with the requirements for the

reference patent. See Pfizer, 518 F.3d at 1357-58, 1362; In re Janssen Biotech,

Inc., 880 F.3d at 1323. As with Amgen, therefore, these opinions have no bearing

on the issue at hand.

      The language of the safe harbor provision, as informed by this Court’s

interpretations and authoritative commentary, establishes that the Temporal

Requirement – i.e., that “the divisional application is filed before the issuance of

the patent on the other application” – must be met by a putative reference patent in

order for the safe harbor to block its use as an OTDP reference. By contrast, there

is no basis for the District Court’s erroneous interpretation of the provision as

providing “paramount protection” to the original application such that the

Temporal Requirement does not apply when the challenged patent issued from the

original application. The Court should therefore reverse the summary judgment

rulings below and direct entry of summary judgment of invalidity to MSN.




                                          38
           Case: 24-1401     Document: 9     Page: 49   Filed: 03/29/2024




                                 CONCLUSION

      For the reasons set out above, this Court should reverse the District Court’s

summary judgment rulings, and direct entry of summary judgment that claim 26 of

the ’740 patent is invalid for OTDP over claim 5 of the ’271 patent.




                                        39
         Case: 24-1401   Document: 9    Page: 50   Filed: 03/29/2024




Dated: March 29, 2024         Respectfully submitted,

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                                   40
Case: 24-1401   Document: 9   Page: 51   Filed: 03/29/2024




          ADDENDUM
          Case: 24-1401    Document: 9       Page: 52   Filed: 03/29/2024




                     ADDENDUM TABLE OF CONTENTS

Dkt. or      Docket Text                                 Date Filed     Appx
Ex. No.                                                                 Page

                                                                        No(s).

275          MEMORANDUM ORDER: IT IS                     12/13/2023     Appx001-
             HEREBY ORDERED that: 1. MSN's                              Appx016
             Motion for Summary Judgment of
             Invalidity of U.S. Patent No. 7,601,740
             For Double Patenting (D.I. 260) is
             DENIED. 2. Acadia's Cross Motion for
             Summary Judgment and No Invalidity
             of Claim 26 of U.S. Patent No.
             7,601,740 (D.I. 262) is GRANTED.
             Signed by Judge Gregory B. Williams
             on 12/13/23. (ntl) Modified on
             12/19/2023 (ntl). (Main Document 275
             replaced on 12/19/2023) (ntl). Modified
             on 12/19/2023 (ntl). (Entered:
             12/13/2023)

282          FINAL ORDER: Final Judgment is           01/11/2024        Appx017-
             entered in favor of Plaintiff Acadia and                   Appx018
             against Defendants MSN -- Party MSN
             Pharmaceuticals, Inc. and MSN
             Laboratories Private Limited
             terminated. Attorney James S. Green, Jr
             terminated. Signed by Judge Gregory B.
             Williams on 1/11/24. (ntl) (Entered:
             01/11/2024)

258-2        Exhibit 2, U.S. Patent No. 7,601,740        10/13/2009     Appx079-
                                                                        Appx108




                                         i
           Case: 24-1401         Document: 9         Page: 53       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 1 of 16 PageID #: 5563




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

     ACADIA PHARAMCEUTICALS INC.,

                                Plaintiff,
                                                        C.A. No. 20~985-GBW
                          V.

     AUROBINDO PHARMA LIMITED et al. ,                  CONSOLIDATED

                               Defendants.



                                   MEMORANDUM ORDER

         Defendants MSN Laboratories PVT. Ltd. and MSN Pharmaceuticals, Inc. (collectively,

"MSN") filed an Abbreviated New Drug Application ("ANDA") for a generic version of the

Parkinson's drug Nuplazid®.        The FDA tentatively approved MSN's ANDA.                 Acadia

Pharmaceuticals, Inc. ("Acadia") asserted five patents against MSN but has voluntarily dismissed

or stipulated to non-infringement of four of them. D.I. 144, 176. Acadia also has resolved its

disputes with all other defendants, either by stipulating to dismissal or reaching an agreement to

be bound by the outcome of the present case. D.I. 87; D.I. 236; D.I. 253 ; D.I. 254. The parties

have reached an agreement to limit the dispute to just the invalidity of claim 26 of U.S. Patent No.

7,601,740 ("the ' 740 patent") and have stipulated to a set of undisputed facts to support a summary

judgment on this issue. D.I. 256, D.I. 257, D.I. 258. The Court heard oral argument on the parties'

cross-motions for summary judgment on September 26, 2023 . Transcript. ("Tr."). For the reasons

given below, the Court denies MSN' s motion for summary judgment and grants Acadia' s cross-

motion for summary judgment. 1


 1
 MSN argues that Acadia has not properly requested leave to file a cross-motion. D.I. 263 at 1.
Because the parties stipulated to resolution of the case on summary judgment, D.I. 256, the Court
holds that Acadia's cross-motion is proper.
                                                 1



                                             Appx001
          Case: 24-1401          Document: 9          Page: 54       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 2 of 16 PageID #: 5564




I.      BACKGROUND

        The facts are not in dispute for this motion. D.I. 158 ("Joint Statement of Undisputed

Facts"). 2 MSN challenges the '740 patent based on U.S. Patent No. 9,566,271 ("the '271 patent").

The challenged '740 patent traces back to U.S. Patent Application No. 10/759,561 ("the '561

 application"), which was filed on January 15, 2004. JSUF 116. The reference '271 patent traces

back to U.S. Patent Application No. 11/416,527 ("the ' 527 application") filed on May 3, 2006. Id.

 at 121. The '527 application was initially filed as a continuation of the '561 application. Id. at 1

 33. (?n July 5, 2007, the Exairu?er issued a restriction requirement on the '561 app~ication. Id. at

1 26. Acadia elected a subset of claims to pursue in the '561 application. Id. at 1 27. Acadia
 cancelled its pending claims in the '527 application and replaced them with reserved claims from

the '561 application. Id. at 1 36-37. On July 1, 2009, Acadia stated an intention to change the

 '527 application to a divisional of the ' 561 application. Id. at 1 37. The '561 application issued

 as the '740 patent on October 13, 2009. Id. at 116. The PTO calculated that it delayed issuance

 of the initially examined '740 patent and granted 980 days of patent term adjustment (PTA). Id.

 at 117-19. The '740 patent also received a 1,3 15-day patent term extension (PTE) for FDA delay.

 Id. at 120. On January 26, 2010, the Examiner allowed the cancellation of the existing claims of

 the '527 application. Id. at 1 38. On April 13, 2010, Acadia amended the '527 specification,

 changing it from a "continuation" to a "divisional" of the '561 application. Id. at 139. The '271

 patent issued on February 14, 2017 and expires on January 15, 2004. Id. at 121-22.




 2
  The paragraphs of the Joint Statement of Undisputed Facts, D.I. 258, are cited as "JSUF 1 _ "
 and the Bates-numbered JSUF exhibits are cited with their exhibit and Bates numbers, as "JSUF
 Ex. at 0     "
                                                  2



                                            Appx002
                      Case: 24-1401                                  Document: 9                        Page: 55                       Filed: 03/29/2024

   Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 3 of 16 PageID #: 5565




                 The following timeline, Exhibit A from Acadia' s Answering Brief (D .I. 261 ), is

     clarifying:


                                                                                        Exhibit A
                                                                         Timeline of Relevant Prosecution Events



                                                8-6-2007
                                                Applicant n,,sponse to
                                                restrk:llon rl)(IUirement
                                                electiog Group I claims
740Par.m
(Challenged Patent)
                                                   I
                                                          I
                                                                        I
                                                                                                                                       I   980 days of PTA   I      1315 days of PTE


                                            7-5-2007                 10-13-2009
                 1-15-2004                 Re-striclioo              740 patent                                                   1-15-2024              9-21-2025                     4-29.2030
                 '561 parent                reqtkement               issues from                                                  740 patent             PTA expilllS                  740patent
                 appllcatlon flied          from Exami-              '561 eppl',catlon                                            expiration without                                   expires
                                                                                                                                  statulcr)I extension




 '271 Patent
                         \                              7-1-2009
                                                        Applicant N>Sponse to spllcies
                                                        election (r;,r,,,,; to 2007 «IS1rlcti0n
                                                        and intent lo convert to divisional)
                                                                                                        11-6-2015
                                                                                                        "246
                                                                                                        llflPlicatlon
                                                                                                        filed


                                               , 1--r-1- - - - + - ---t-
 (Alleged OTDP R•-ncel
                                         - -........                  1 ---~
                                                          6-1-2009            4-13-2010                         2-14-2017             1-15-2024
                                     5-3-2006             Species             Replaced "continuation"
                                     '527 application                                                           '271 pa.t ent        '271 palBnt
                                                          elec6on             with "disiaionaf" in              iS8Ues from          upifes
                                     filed                requir,,ment        specification                     '248 epplicaUon
                                                          from Examiner




                 Claim 5 of the ' 271 patent is directed to a method for treating hallucinations by

     administering the tartrate salt of pimavanserin. JSUF 1 11. Claim 26 of the '7 40 patent is directed

     to tartrate salt of pimavanserin. Id at 18. Both parties agree that, if the '271 patent is a proper

     obvious-type double patenting (OTDP) reference to the ' 740 patent, and OTDP can cut off a PTA

     on a first-filed, first-issued patent, then claim 5 of the '271 patent anticipates claim 26 of the ' 740

     patent. D.I. 259 at 9.

     II.         LEGAL STAND ARD

                 "The court shall grant summary judgment if the movant shows that there is no genuine

     dispute as to any material fact and the movant is entitled to judgment as a matter of law." Fed. R.

      Civ. P. 56(a).




                                                                                                  3



                                                                                          Appx003
          Case: 24-1401          Document: 9          Page: 56       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 4 of 16 PageID #: 5566




        After the implementation of the Uruguay Round Agreements Act ("URAA"), a U.S. patent

issued on an application filed on or after June 8, 1995 has a patent term that "end[ s] 20 years from

the date on which the application for the patent was filed in the United States or, if the application

contains a specific reference to an earlier filed application or applications .. . , from the date on

which the earliest such application was filed. " 35 U.S.C. § 154(a)(2), as amended by Pub. L. 103-

465, Title V, § 532(a)(l), Dec. 8, 1994, 108 Stat. 4809, 4983; Gilead Scis., Inc. v. Natco Pharma

Ltd., 753 F.3d 1208, 1215 (Fed. Cir. 2014). The 20-year patent term can be lengthened for " l day

for each day after the ~nd of the period specifie1 in clause [(i)-(iv) for pat_ent office delays]." 35

U.S.C. § 154(b)(l)(A) (commonly referred to as "patent term adjustment" or "PTA"). In addition,

and separately from a PTA, the term of a patent within certain categories relating to an FDA-

approved pharmaceutical product can be extended under 35 U.S.C. § 156 to compensate for FDA

delays. This is commonly referred to as "patent term extension" or "PTE."

        A patent confers exclusive rights only "for limited Times." U.S Const., art. I, § 8; Kimble

v. Marvel Ent. , LLC, 576 U.S. 446, 451 (2015) ("Patents endow their holders with certain

superpowers, but only for a limited time."). Once a patent expires, the public is entitled to free use

of the invention described in the patent-this is the grand bargain of the entire patent scheme.

Singer Mfg. Co. , v. June Mfg. Co. , 163 U.S. 169, 185 (1896); Kimble, 576 U.S. at 451; Gilead,

753 F.3d at 1212. The "judicially created" OTDP doctrine prohibits different expiries for two

commonly owned patents (or two patents sharing an inventor) that claim obvious variants of the

 same invention. Gilead, 753 F.3d at 1212-14 (discussing OTDP history). OTDP "is designed to

prevent an inventor from securing a second, later expiring patent for the same invention." Abb Vie

Inc. v. Mathilda & Terence Kennedy Institute of Rheumatology Trust, 764 F.3d 1366, 1373 (Fed.

 Cir. 2014). OTDP was created "to prevent unjustified timewise extension of the right to exclude



                                                  4



                                            Appx004
          Case: 24-1401           Document: 9         Page: 57       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 5 of 16 PageID #: 5567




granted by a patent no matter how the extension is brought about." Eli Lilly & Co. v. Barr Labs.

Inc., 251 F.3d 955, 967-68 (Fed. Cir. 2001) (internal quotations omitted). Post-URAA, "the

doctrine of obviousness-type double patenting continues to apply where two patents that claim the

 same invention have different expiration dates." Abb Vie , 764 F.3d at 1374. "The ban on double

patenting ensures that the public gets the benefit of the invention after the original period of

monopoly expires." Id at 1373.

        For a parent application and its divisional application claiming overlapping patented

 subject matters, a _"safe harbor" was establi_shed to protect them fron:i OTDP. 35 U.S.C. § 12_1;

Pub. L. No. 82-593, 66 Stat. at 800-01 (1952).

        If two or more independent and distinct inventions are claimed in one application,
        the Director may require the application to be restricted to one of the inventions. If
        the other invention is made the subject of a divisional application which complies
        with the requirements of section 120 it shall be entitled to the benefit of the filing
        date of the original application. A patent issuing on an application with respect to
        which a requirement for restriction under this section has been made, or on an
        application filed as a result of such a requirement, shall not be used as a reference
        either in the Patent and Trademark Office or in the courts against a divisional
        application or against the original application or any patent issued on either of them,
        if the divisional application is filed before the issuance of the patent on the other
        application. Toe validity of a patent shall not be questioned for failure of the
        Director to require the application to be restricted to one invention.

Id "The safe harbor provision arose from difficulties created by restriction requirements

 imposed by the [PTO] during examination, followed by double patenting challenges in the

courts .... This conflicting result was recognized as inherently unfair, and the safe harbor

was created to preclude it." St. Jude Med , Inc. v. Access Closure, Inc., 729 F.3d 1369,

 1376-77 (Fed. Cir. 2013). Courts "follow[] ' a strict application of the plain language of

 § 121."' In reJanssenBiotech, Inc. , 880 F.3d 1315, 1321 (Fed. Cir. 2018) (quoting Amgen

 Inc. v. F. Hoffman-La Roche Ltd, 580 F.3d 1340, 1353 (Fed. Cir. 2009)).




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                                            Appx005
           Case: 24-1401           Document: 9          Page: 58       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 6 of 16 PageID #: 5568




III.     DISCUSSION

       A. 35 U.S.C. § 121 Distinguishes Challenges to Original and Divisional Applications.

         The parties dispute the proper reading of 35 U.S. C. § 121. The parties disagree on whether

the language in § 121, which requires the divisional patent be filed "before the issuance of the

patent on the other application" and "as a result" of a restriction requirement, applies when the

challenged patent is the original patent, not the divisional patent. Careful holding helps set clear

the parties' respective positions.     Acadia argues that the statute should be read as granting

"paramount" protection to original applications. D.I. 261 at 5. Acadia reads the statute as follows:

         If two or more independent and distinct inventions are claimed in one application,
         the Director may require the application to be restricted to one of the inventions. If
         the other invention is made the subject of a divisional application which complies
         with the requirements of section 120 it shall be entitled to the benefit of the filing
         date of the original application. A patent issuing on an application with respect
         to which a requirement for restriction under this section has been made, or on
         an application filed as a result of such a requirement, shall not be used as a
         reference either in the Patent and Trademark Office or in the courts against a
         divisional application or against the original application or any patent issued on
         either of them, if the divisional application is filed before the issuance of the patent
         on the other application. The validity of a patent shall not be questioned for failure
         of the Director to require the application to be restricted to one invention.

 35 U.S.C. § 121. In Acadia' s view, the bolded portions discuss two types ofreference patents-a

patent issuing on an application with respect to which a requirement for restriction has been made,

 or patents issuing on applications filed as a result of such a requirement. The underlined portions,

meanwhile, describe challenged patents/applications-divisional applications, and original

 applications. As such, in Acadia's reading the "filed before the issuance of the patent" requirement

 applies exclusively to a challenged divisional patent, not a challenged original application.

         On the other hand, MSN reads the statute as follows:

         If two or more independent and distinct inventions are claimed in one application,
         the Director may require the application to be restricted to one of the inventions. If
         the other invention is made the subject of a divisional application which
         complies with the requirements of section 120 it shall be entitled to the benefit of

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                                              Appx006
           Case: 24-1401          Document: 9          Page: 59        Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 7 of 16 PageID #: 5569




        the filing date of the original application. A patent issuing on an application with
        respect to which a requirement for restriction under this section has been made, or
        on an application filed as a result of such a requirement, shall not be used as a
        reference either in the Patent and Trademark Office or in the courts against a
        divisional application or against the original application or any patent issued on
        either of them, if the divisional application is filed before the issuance of the
        patent on the other application. The validity of a patent shall not be questioned
        for failure of the Director to require the application to be restricted to one invention.

 35 U.S.C. § 121. In essence, MSN argues that the second sentence defines a divisional application.

MSN argues that, within the meaning of the statute, a divisional application is an application filed

"as a result" of a restriction requirement because it contains the "other invention." Thus, in MSN's

view, "the divisional application" can refer to the reference patent, which is "filed as a· result of a

restriction requirement." Therefore, a divisional application can be used as a reference patent only

if it is filed as a result of a restriction requirement "before the issuance of the patent on the other

application."

        The clearest Federal Circuit statement on this issue is that it described, in a parenthetical,

 35 U.S.C. § 121 as "sheltering from attack ' a divisional application or ... the original application

or any patent issued on either of them, if the divisional application is filed before the issuance of

the patent on the other application. "' Amgen, 580 F.3d at 1353 (omission in original). This dictum

 supports Acadia' s interpretation that the "divisional application" that must be filed pre-issuance is

a challenged patent, not a reference patent. However, this is hardly dispositive.              Similarly

 inconclusive is the Federal Circuit' s statement in Pfizer, Inc. v. Teva Pharms. USA, Inc. that "safe

harbor, by its literal terms, protects only ' divisional application[s]' (or the original application)

and patents issued on such applications ... [T]he drafters of section 121 chose to refer specifically

and only to divisional (and original) applications." 518 F.3d 1353, 1360, 1362 (Fed. Cir. 2008).

Again, this could indicate that the "divisional application" that needs to be filed pre-issuance of

the other patent is a challenged patent, not a reference patent.


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                                             Appx007
            Case: 24-1401         Document: 9          Page: 60       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 8 of 16 PageID #: 5570




        MSN argues that "the Federal Circuit has held that a later-filed child patent can, and did,

invalidate an earlier-filed parent patent under OTDP." D.I. 263 at 2. MSN cites In re Janssen

Biotech, Inc., where it claims the "' 195 patent from a [continuation-in-part] child application [was]

used as a reference to invalidate the parent '471 patent under OTDP." 880 F.3d at 1318-19. However,

 in Janssen, the challenged '471 patent was not the original patent (the '413 was the application which

received a restriction requirement), and the reference patent was a continuation-in-part of multiple

patents. The opinion described the relationship between the relevant patents in a helpful diagram:




                                      C1P




      C1P



                                   More 'lmJn JO
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Janssen, 880 F.3d at 1318. Unlike the application at issue in the present action, neither the '093

 application nor the ' 799 application in Janssen could have benefitted from any "original"

protection, since the '413 application was the original application and the one that received the

restriction requirement. Id. Janssen also arguably contains language which makes clear that the

"before the issuance of the patent" requirement applies to the challenged patent, not the reference

patent: "For a challenged patent to receive safe-harbor protections, the application must be

properly designated as a divisional application, at the very latest, by the time the challenged



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                                             Appx008
          Case: 24-1401           Document: 9         Page: 61        Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 9 of 16 PageID #: 5571




patent issues on that application." 880 F.3d at 1323 (emphasis added). A ruling in MSN's

favor today would thus go beyond what the Federal Circuit held in Janssen.

       On balance, the Court is persuaded that Acadia' s position is the correct interpretation of

§ 121. Under this interpretation of the statute, the statute describes reference patents under the

portion stating a "patent issuing on an application with respect to which a requirement for

restriction under this section has been made, or on an application filed as a result of such a

requirement, shall not be used as a reference." 35 U.S.C. § 121. The statute then describes

~hallenged patents by the portion stating, "against t~e original application or ~y patent issued on

either of them, if the divisional application is filed before the issuance of the patent on the other

application." Id On the other hand, MSN's interpretation, where "divisional application" refers

to an "application filed as a result of such a requirement," imports additional limitations not present

in the statutory language. Id. The Court' s reading is supported by the limited Federal Circuit

precedent. Janssen, MSN' s primary case, indicates that the "filed before" requirement applies to

challenged patents, not reference patents. 880 F.3d at 1323. While the "safe harbor provision [is]

not a model of clarity," the Court' s interpretation is consistent with the statutory language and the

Federal Circuit's precedent. St. Jude , 729 F.3d at 1377.

       MSN argues that it is arbitrary which group of claims Acadia chose to prosecute in the

original application. D.I. 263 at 2. MSN further argues that it is "mere happenstance" which

branch of the patent family would result in a patent grant first. Id. at 3. In reply, the Court first

notes that there is no requirement that Congress construct a perfectly rational schema. Moreover,

Congress in crafting the safe harbor provision could rationally have been focused on preserving

original rights, such that a restriction requirement would not harm the inventor in any instance.

Also, that it is happenstance which branch issues first weighs against a finding of gamesmanship,



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                                            Appx009
           Case: 24-1401          Document: 9          Page: 62       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 10 of 16 PageID #: 5572




 insofar as Acadia could not have predicted a particularly advantageous outcome by choosing to

 amend an existing application rather than filing a new divisional application.

        Therefore, the Court holds that the "filed before the issuance of the patent" requirement in

 the 35 U.S.C. § 121 safe harbor is inapplicable when the challenged patent issued from the original

 application.

     B. The '740 Patent is Protected by the Safe Harbor Provision.

        Having adopted Acadia' s reading of35 U. S.C. § 121 , the Court now must analyze whether

 the reference patent was "filed as a result of' a requirement for restriction. Because precedent
                      .                          .                          .
 dictates that an amendment constitutes filing for purposes of 35 U.S.C § 121 , the Court holds that

 35 U.S.C § 121 provides a safe harbor to the ' 740 patent.

        This Court previously held that an application is "filed as a result of' the restriction

 requirement when an initially non-divisional application is amended to comport with a restriction

 requirementinanotherpatent. Union Carbide Corp . v. Dow Chem. Co., 619F. Supp. 1036, 1059-

 60 (D. Del. 1985). Specifically, the Court, in Union Carbide, held that an "amended application

 is one 'filed as a result of such a requirement' as set forth in § 121 " when "the claims of an

 application are amended in toto to reflect the division of a copending application." Id. at 1060.

 The court explained that "[n]o practical distinction exists between an application filed for the first

 time as a result of a restriction requirement, and an application which is amended in full to comport

 with that requirement." Id. This interpretation also complies with Federal Circuit precedent which

 states that§ 121 is "not concerned with . . . how any [particular divisional] applications are filed.

 To prevent loss of safe harbor in dividing out claims to non-elected inventions, what is required is

 consonance with the restriction requirement." Boehringer Ingelheim Intern. GmbH v. Barr Labs.,

 Inc., 592 F.3d 1340, 1353-54 (Fed. Cir. 2010) (holding that two serially-filed divisional




                                             Appx010
           Case: 24-1401            Document: 9          Page: 63        Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 11 of 16 PageID #: 5573




 applications met the "filed as a result of' requirement despite one of the divisional applications

 having been initially filed as a continuation).

         MSN's attempt to distinguish Union Carbide is unavailing. MSN argues that Union

 Carbide relied on a mistaken reading of the law, in that "the text of§ 121 actually does not require

 the challenged patent to be filed ' as a result of a restrict requirement,' and therefore, "[t]he district

 court' s discussion in Union Carbide . . . is based on an expansive reading of the 'as a result of

 requirement on the challenged patent." D.I. 263 at 8. However, the Federal Circuit has explicitly

 held that "the ' as _a result of requirement n:iust be satisfied by both t~e [reference] patent and ~e

 [challenged] patent." Boehringer, 592 F.3d at 1352. Union Carbide clearly indicates that an

 amendment constitutes filing for the purposes of § 121.

         For the first time at oral argument, MSN argued that Union Carbide would only apply to

 pre-URAA patents. Tr. 8:15-9:22. However, the rationale of Union Carbide is not based on a

 rationale that would only apply to pre-URAA patents, but on a plain reading of the unaltered text

 and purpose of§ 121. See 619 F. Supp. at 1059-60; compare 35 U.S.C. § 121 (1984) with 35

 U.S.C. § 121 (identical text, except that the modem version replaces "Commissioner" with

 "Director" and removes an option to forego an applicant's signature). The text of the safe harbor

 provision makes no distinction between pre-URAA and post-URAA patents. Once again, there is

 no "practical distinction" between an application filed for the first time as a result of a restriction

 requirement, and one amended in full to comport with that requirement. Union Carbide, 619 F.

 Supp. at 1060. MSN has not provided any reason to distinguish between pre-URAA and post-

 URAA patents for purposes of the safe harbor analysis.

         MSN similarly fails to distinguish Boehringer. MSN argues that its reading of§ 121 leaves

 "the choice of how to prosecute non-elected inventions" "up to the applicant" as Boehringer states,



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                                               Appx011
           Case: 24-1401           Document: 9          Page: 64       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 12 of 16 PageID #: 5574




 but the applicant will still just face the consequences. D.I 263 at 8 (quoting Boehringer, 592 F.3d

 at 1353 n.3). MSN also notes that the continuation in Boehringer was filed after the restriction

 requirement and amended to a divisional application later. 592 F.3d at 1343-44. In contrast, the

 continuation in the instant claim was filed before the restriction requirement, then amended to a

 divisional application. Drawing these distinctions ignores the plain language of Boehringer that

 what is relevant is not "how any such applications are filed," but the application being "due to the

 administrative requirements imposed by the [PTO], in the sense that, absent the restriction

 requirement, _the applicant could have ~etained in the [original a:(>plication] the claims pro~ecuted

 in the [descendant] application." 592 F.3d at 1353-54. There is no dispute that this requirement

 is satisfied in this action. D.I. 263 at 7 ("Acadia could have filed a divisional application for those

 claims that it eventually chose to add to the ' 527 Application in 2009."). Prior precedent thus

 makes clear that the filing requirement can be satisfied by amendment.

        The cases that MSN provides to the contrary do not change this conclusion. MSN cites In

 re Janssen for the proposition that amendment is permissible, but an amendment outside the safe

 harbor window does not trigger the safe harbor protection. 880 F.3d at 1322-24. It similarly cites

 G.D. Searle LLC v. Lupin Pharms. , Inc., for the proposition that retroactive designation as a

 divisional does not trigger Section 121. 790 F.3d 1349, 1354-55 (Fed. Cir. 2015). Both Janssen

 and G.D. Searle address attempts by patentees to re-designate challenged patents after they issued,

 a straightforward case of gamesmanship absent in the present action. Janssen , 880 F.3d at 1223 ;

 G.D. Searle, 790 F.3d at 1354-55. Union Carbide and Boehringer address the more analogous

 cases of amendment during prosecution and indicate that it is a permissible "filing." 619 F. Supp.

 1059-60; 592 F.3d at 1353-54. Thus, the Court finds that the reference '271 patent was filed "as

 a result of' the original ' 740 patent, within the meaning of the statutory safe harbor.



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                                             Appx012
           Case: 24-1401           Document: 9          Page: 65       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 13 of 16 PageID #: 5575




     C. In the Alternative, the '271 Patent Does Not Qualify as a Proper Reference Against
        the '740 Patent.

        "[C]laims in the challenged patents are entitled to their full term, including the duly granted

 PTA, unless they are found to be later-filed obvious variations of earlier-filed, commonly-owned

 claims." In re Cellect, No. 2022-1293 , 2023 WL 5519716, at *10 (Fed. Cir. Aug. 28, 2023). The

 Court has been unable to identify a case where, when challenged, a later-filed, later-issued, earlier-

 expiring patent was used as an OTDP reference to invalidate an earlier-filed, earlier-issued, later-

 expiring patent. Here, the claims in the challenged patent were earlier-filed and thus are entitled

 to their full term, including the PTA.

        That only earlier-filed patents are proper references is equitable, since the purpose of

 OTDP doctrine is to "prevent a patent owner from extending his exclusive rights to an invention

 through claims in a later-filed patent that are not patentably distinct from claims in the earlier-filed

 patent." Proctor & Gamble Co. v. Teva Pharms. USA, Inc., 566 F.3d 989, 99 (Fed. Cir. 2009); see

 also Cellect, 2023 WL 5519761, at *7 (OTDP "limits the term of a patent or, at least, ties later-

 filed commonly owned, obvious variations to the expiration date of an earlier-filed reference

 patent."). If a later-filed patent is used as a reference, the logic and purpose of OTDP is flipped

 on its head: rather than preventing a patent owner from unjustifiably extending the term of a patent,

 OTDP would operate to cut off a patent term that would have been valid but for a later-filed patent.

        Whether a patent qualifies as an OTDP reference is a threshold issue. See Novartis AG v.

 Ezra Ventures LLC, 909 F.3d at 1375 n.4 (Fed. Cir. 2018) ("Because we find that the '565 patent

 is not a double patenting reference for the '229 patent, we need not address Ezra's arguments as

 to whether the '229 patent is patentably indistinct from the ' 565 patent"). Only after the reference

 determination has been made does the Court conduct an OTDP analysis. See Novartis Pharms.

 Corp. v. Breckenridge Pharma. Inc. , 909 F.3d 1355, 2359 (Fed. Cir. 2018).                   That this


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                                              Appx013
          Case: 24-1401           Document: 9         Page: 66       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 14 of 16 PageID #: 5576




 determination must be made in each instance explains why the Federal Circuit in Cellect, despite

 its clear statement that OTDP only applies to "later-filed obvious variations of earlier-filed,

 commonly owned claims," invalidated an earlier-filed patent. 2023 WL 5519716, at *10. Cellect

 opted not to challenge the availability of the reference patents being used in an OTDP challenge,

 and "instead focused its argument on whether or not O[T]DP could cut short a grant of PTA."3 Id.

 at *3 . Accordingly, the court did not independently consider whether the reference patents were

 available. Cf In re Fallaw:, 546 F .3d 1313, 1315 n.1 ("Neither party raised or argued the question

 of ~hether a patent may be us~d as a reference for an o~viousness-type double pa~enting rejection

 . ... This opinion should not be read to decide or endorse the PTO' s view on this issue."). The

 Federal Circuit instead merely reiterated the standard that challenged patents must be "later-filed

 obvious variations of earlier filed, commonly owned claims" and held it had "no basis for the

 consideration of that issue here." Cellect, 2023 WL 5519716, at *10. 4

        The cases that MSN cites do not change the conclusion that putative OTDP references must

 be earlier-filed to be available as a reference. MSN points to Gilead Scis., Inc. v. Natco Pharma

 Ltd. for the proposition that "it is the comparison of [the] patent expiration dates that should

 control, not merely the issuance dates." 753 F.3d 1208, 1210 (Fed. Cir. 2014). Gilead addressed

 the "narrow question" of "[cJan a patent that issues after but expires before another patent qualify



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   Cellect involved a tangled web of earlier- and later-filed patents, and the patentee seems to have
 focused its arguments on those positions applicable to all challenged patents. 2023 WL 5519716,
 at*l-2.
 4
   The Court recognizes that another court in this district has interpreted Cellect to cut off OTDP
 even for first-filed, first-issued patents. Allergan USA, Inc. v. MSN Laboratories Private Ltd. , et
 al. , C.A. No. 19-1727-RGA, D.I. 483 (D. Del. Sept. 27, 2023). The arguments dispositive in this
 case do not appear to have been briefed in Allergan, and the Allergan Court did not analyze the
 language in Cellect discussing "later-filed obvious variations of earlier-filed, commonly-owned
 claims." 2023 WL 5519716, at * 10. Accordingly, the Court does not find itself persuaded by
 Allergan.
                                                 14



                                            Appx014
           Case: 24-1401          Document: 9          Page: 67       Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 15 of 16 PageID #: 5577




 as a double patenting reference" and limited its decision to the "circumstances of this case." Id at

 1211-12. It therefore did not address filing dates, the relevant inquiry under Cellect and before

 this Court. Indeed, the reference patent in Gilead was earlier-filed. Id The Federal Circuit in

 Gilead relied heavily on the idea that issue dates are "too arbitrary, uncertain, and prone to

 gamesmanship;" thus, the Court instead compared the expiration dates of the patents. Id. at 1216.

 Like expiration dates, but unlike issue dates, filing dates are not prone to gamesmanship.

 Accordingly, the chief concerns of Gilead do not apply to this case, nor does Gilead overcome the

 _clear language of Cellect.

         Similarly unpersuasive is Abb Vie Inc. v. Mathilda & Terence Kennedy Inst. of

 Rheumatology Tr. 764 F.3d 1366 (Fed. Cir. 2014). AbbVie addressed a challenge to a later-filed,

 later-expiring patent, and thus again did not reach the issue of whether a later-filed patent may be

 used as an invalidating reference. Id at 1369. Abb Vie applied the Gilead rationale, making clear

 that the availability of OTDP remained viable to prevent gamesmanship in certain narrow

 instances. Id. at 13 73. The Federal Circuit in Ezra distinguished Abb Vie because there no

 "concern that [a patent owner] , once its [] patent issued, sought to subsequently 'secur[e] a second,

 later expiring patent for the same invention. "' 909 F.3d at 1375 (quoting AbbVie, 764 F.3d at

 1373). The same circumstances are present in this action, in that the Court finds no concern that

 Acadia was subsequently securing a second, later-expiring patent. The '740 patent retains the

 same expiration date it has always had.

         Because a patent must be earlier-filed to be available as an OTDP reference, the Court finds

 that the '271 patent does not qualify as a proper reference against the ' 740 patent. This is an

 independent basis for the Court's decision and does not rely on or alter the Court's interpretation

 of the safe-harbor statute.



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                                             Appx015
            Case: 24-1401         Document: 9         Page: 68     Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 275 Filed 12/13/23 Page 16 of 16 PageID #: 5578




 IV.      CONCLUSION

          For all of the foregoing reasons, the Court grants summary judgment to Acadia.

                                                ***

          WHEREFORE, at Wilmington this 13th day of December, 2023, IT IS HEREBY

 ORDERED that:

       1. MSN's Motion for Summary Judgment of Invalidity of U.S. Patent No. 7,601,740 For

          Double Patenting (D.I. 260) is DENIED.
                      .                       .
       2. Acadia's Cross Motion for Summary Judgment and No Invalidity of Claim 26 of U.S.

          Patent No. 7,601,740 (D.I. 262) is GRANTED.




                                                         GREGORY 8. WILLIAMS
                                                         UNITED STATES DISTRICT JUDGE




                                                 16



                                            Appx016
         Case: 24-1401             Document: 9        Page: 69        Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 282 Filed 01/11/24 Page 1 of 2 PageID #: 5589




                              IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

      ACADIA PHARMACEUTICALS INC .,                   )
                                                      )
                    Plaintiff,                        )
                                                      )
                         V.                           )   C.A. No . I :20-cv-00985-GBW
                                                      )
                                                      )   (Consolidated)
      AUROBINDO PHARMA LIMITED, et al.,               )
                                                      )
                    Defendants.                       )
                                                      )


     ACADIA PHARMACEUTICALS INC.,                     )
                                                      )
                    Plaintiff,                        )
                                                      )
                              V.                      )    C.A. No. 1:20-cv-01029-GBW
                                                      )
     MSN LABORATORIES PRIVATE LTD.                    )
     and MSN PHARMACEUTICALS, INC .,                  )
                                                      )
                     Defendants.                      )


                                   -f'R88P8S'.8Dj FINAL ORDER

         This matter having come before the Court on the merits of all remaining issues in the above-

  captioned case as it relates to Plaintiff Acadia Pharmaceuticals Inc. ' s ("Acadia") and Defendants

  MSN Laboratories Private Limited and MSN Pharmaceuticals, Inc. ' s (collectively, "MSN"),

  pursuant to Rule 58 of the Federal Rules of Civil Procedure, and for the reasons stated in the

  Court's Memorandum Order dated December 13, 2023 denying MSN' s Motion for Summary

  Judgment of Invalidity of Claim 26 ofU .S. Patent No. 7,601 ,740 for Double Patenting and granting

  Acadia' s Cross Motion for Summary Judgment and No Invalidity of Claim 26 of U.S. Patent No.




                                            Appx017
          Case: 24-1401            Document: 9            Page: 70     Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 282 Filed 01/11/24 Page 2 of 2 PageID #: 5590




  7,601,740 (D.I. 275), and all prior rulings, orders, judgments, and findings, it is hereby ordered,

  adjudged, and decreed as follows :

         1.      Final judgment is entered in favor of Acadia and against MSN on Acadia' s claim

  that MSN's submission of ANDA No. 214925 was an act of infringement of claim 26 of U.S.

  Patent No. 7,601 ,740 ("the '740 patent") under 35 U.S.C. § 27l(e)(2).

         2.      Final judgment is entered in favor of Acadia and against MSN on MSN' s

  counterclaims for non-infringement and invalidity of claim 26 of the ' 740 patent.

         3.      In the event that a party appeals this Final Judgment, any motion for attorneys' fees

  and/or costs under Fed. R. Civ. P. 54 and/or Local Rules 54.1 or 54.3, or any motion that this case

  is exceptional under 35 U.S.C. § 285, shall be considered timely if filed and served within fourteen

  (14) days after final disposition of any such appeal.




  Date:s1'\" ~      \    , 2024
         Wilm·       n, Delaware                          The Honorable Gregory B. Williams
                                                          United States District Court Judge




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                                             Appx018
          Case: 24-1401    Document: 9    Page: 71   Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 1 of 30 PageID #: 4833




                          Exhibit 2




                                    JSUF0005
                                   Appx079
                         Case: 24-1401                    Document: 9                    Page: 72                 Filed: 03/29/2024



                                                                         I 11111 1 111111 1 1 1111 1111 11111 111 1 111111111 11111 IIII 1111111111 1 111111
Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 2 of 30 PageID #: 4834

                                                                                                       US007601740B2


  c12)   United States Patent                                                      (10) Patent No.:                     US 7,601,740 B2
         Weiner et al.                                                             (45) Date of Patent:                            Oct. 13, 2009

  (54)    SELECTIVE SEROTONIN 2A/2C RECEPTOR                                       6,479,480 Bl          11/2002    Moyes et al.
          INVERSE AGONISTS AS THERAPEUTICS                                         6,486,153 Bl          11/2002    Castro et al.
          FOR NEURODEGENERATIVE DISEASES                                           6,756,393 B2           6/2004    Andersson et al.
                                                                                   6,815,458 B2          11/2004    Andersson et al.
  (75)    Inventors: David M. Weiner, San Diego, CA (US);                          6,911,452 B2           6/2005    Schlienger
                                                                                   7,022,698 B2           4/2006    Harnied et al.
                     Robert E. Davis, San Diego, CA (US);                          7,041,667 Bl           5/2006    Armour et al.
                     Mark R. Brann, Rye, NH (US);                                  7,115,634 B2          10/2006    Thurieau et al.
                     Carl-Magnus A. Andersson, Hjarup                          2002/0004513 Al            1/2002    Andersson et al.
                     (SE); Allan K. Uldam, Ballerup (DK)                       2002/0156068 Al           10/2002    Behan et al.
                                                                               2002/0165225 Al           11/2002    Kankan et al.
  (73)    Assignee: Acadia Pharmaceuticals, Inc., San                          2004/0006081 Al            1/2004    Burrows et al.
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Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 6 of 30 PageID #: 4838


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Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 7 of 30 PageID #: 4839


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                                                                     Appx085
         Case: 24-1401     Document: 9      Page: 78    Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 8 of 30 PageID #: 4840


  U.S. Patent         Oct. 13, 2009     Sheet 1 of 4           US 7.601,740 B2




      Dopamine D2 Receptor                       Serotonin 2A Receptor




             Figure 1A                                 Figure 1B




                                      JSUF0012



                                      Appx086
         Case: 24-1401           Document: 9       Page: 79   Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 9 of 30 PageID #: 4841


  U.S. Patent            Oct. 13, 2009       Sheet 2 of 4           US 7,601,740 B2



        120
                                               -- + 0.3 mg/kg MK-801 ip.
        100                                    -- alone



    i    80
        60
        40
        2O

               veh (),       l        10          OO
                            (mg/kg, s.c., 10 min)


                                 Figure 2A
                                                       -- + 0.3 mg/kg MK-801 ip.
         100                                           -O- alone




                 veh 0.1                     10        100
                                  (mg/kg, p.o., 30 min)


                                 Figure 2B
                                           JSUF0013



                                         Appx087
         Case: 24-1401      Document: 9       Page: 80   Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 10 of 30 PageID #: 4842


   U.S. Patent         Oct. 13, 2009      Sheet 3 of 4         US 7,601,740 B2




           5O
           40
           30
           20
           1O


                   0.3 mg/kg              0.6 mg/kg         1.2 mg/kg



                                       Figure 3




                                        JSUF0014



                                       Appx088
               Case: 24-1401           Document: 9   Page: 81     Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 11 of 30 PageID #: 4843


   U.S. Patent               Oct. 13, 2009       Sheet 4 of 4            US 7,601,740 B2




            3000
        S                                                  A Sal/Amp/tween
    S.                                                     A Sal/Sal/tween
    is 2000                                               -0-ACP/Amp/tween
                                                          -H sal/Amp/Haloperidol
                               e                          -- 10mg/kg ACP/Amp/Haloperidol
            1000
        2
    ?
              O
               & S       &         S       S S SS
                        Haloperidol (mg/kg)




                                             Figure 4




                                               JSUF0015



                                              Appx089
               Case: 24-1401                  Document: 9                Page: 82             Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 12 of 30 PageID #: 4844


                                                        US 7,601,740 B2
                                 1.                                                                   2
       SELECTIVE SEROTONIN 2A/2C RECEPTOR                                 Of the various neurological symptoms that characterize the
        INVERSEAGONSTS AS THERAPEUTICS                                 NDs, abnormalities of motor function, including bradykine
         FOR NEURODEGENERATIVE DISEASES                                sias, dyskinesias and chorea, and the emergence of neurop
                                                                       sychiatric symptoms, including psychosis, and affective
                    RELATED APPLICATIONS                               symptoms such as anxiety and depression, are common and
                                                                       severely impact upon the patient's functional status and qual
      This application claims priority to U.S. Provisional Appli ity of life. Unfortunately, most existing therapeutic agents,
   cation No. 60/441,406, filed Jan. 16, 2003, and U.S. Provi          including antipsychotics and antidepressants, often demon
   sional Application No. 60/479.346, filed Jun. 17, 2003, both strate efficacy, yet are very poorly tolerated in these patients.
   by Weiner et al. and entitled “SELECTIVE SEROTONIN 10 In addition, the available therapeutic agents for Parkinson's
   2AF2C RECEPTOR INVERSE AGONISTS AS THERA                            Disease, including L-dopa and dopamine agonists, while gen
   PEUTICS FOR NEURODEGENERATIVE DISEASES.”                            erally effective, cause the emergence of severe treatment
   both of which are hereby incorporated by reference in their limiting side effects that are currently intractable to pharma
   entireties.                                                         cotherapy.
                                                                    15    Multiple factors, both disease and drug related, are prima
                   FIELD OF THE INVENTION                              rily responsible for the limited tolerability of these agents.
                                                                       First, patients with neurodegenerative disease are particularly
      The present invention relates to the therapeutic use of N-(1- sensitive to most therapeutic agents that are designed to cross
   methylpiperidin-4-yl)-N-(4-flourophenylmethyl)-N'-(4-(2-            the blood-brain barrier and interact with neuronal targets that
   methylpropyloxy)phenylmethyl)carbamide and related sero confer efficacy against adverse motoric or neuropsychiatric
   tonin 2A/2C receptor inverse agonists to treat a variety of symptoms. For instance, atypical antipsychotics are generally
   human neurodegenerative diseases including Parkinson's well tolerated by healthy volunteers, or in patients with pri
   Disease, Huntington's Disease, Lewy Body Dementia, and mary psychiatric disorders like Schizophrenia; brain states
   Alzheimer's Disease. Specifically, these agents improve that are not characterized by neuronal degeneration. In con
   motor function in Parkinson's Disease, and Huntington's 25 trast, when these agents are administered to patients with
   Disease. Specifically, N-(1-methylpiperidin-4-yl)-N-(4- Parkinson's or Huntington's Disease, they display severe,
   flourophenylmethyl)-N'-(4-(2-methylpropyloxy)phenylm                treatment-limiting adverse effects on motor function, cause
   ethyl)carbamide and related compounds can be used to con severe sedation, and can worsen cognitive functioning. The
   trol the behavioral and neuropsychiatric manifestations direct effects of the neuronal loss characteristic of NDs, and
   present in all of these disease states. Pharmaceutical compo 30 the adaptive changes that occur secondarily to this are both
   sitions comprised of a combination of N-(1-methylpiperidin posited to create a neurochemical and/or neurophysiological
   4-yl)-N-(4-flourophenylmethyl)-N'-(4-(2-methylpropyloxy)            state in ND patients that confer this extra sensitivity.
   phenylmethyl)carbamide and existing therapeutic agents are             Second, the known mechanisms of action of these drugs,
   also disclosed.                                                     including antagonism of dopamine receptors, is not tolerated
                                                                    35 in some patient populations secondary to specific alterations
              BACKGROUND OF THE INVENTION                              in distinct neuronal systems. For instance, Parkinson's
                                                                       patients have a relatively selective degeneration of the
      Neurodegenerative disorders (NDs) are a group of related ascending dopaminergic neuronal systems, and as a conse
   human maladies that share a common pathophysiological quence of this they are deficient in central dopamine neu
   feature, the progressive degeneration of selective neuronal 40 rotransmission. It is therefore not surprising that drugs that
   populations over the course of time. These neurodegenerative further attenuate dopaminergic neurotransmission, by block
   diseases include but are not limited to Alzheimer's Disease         ing dopamine receptors, are not well tolerated.
   and related dementias, Parkinson's Disease, Huntington's               Lastly, nearly all presently known therapeutic agents lack
   Disease, Lewy Body Disease and related movement disor specificity in their mechanisms of action. Antipsychotic and
   ders, and Friedrich's Ataxia and related Spinocerebellar 45 antidepressant drugs possess a multitude of pharmacologi
   Ataxias. Each of these disorders has unique clinical aspects cally relevant interactions with critical neuronal proteins
   including age of onset, time course of progression, neurologi including a host of cell Surface receptors, ion channels, and
   cal signs and symptoms, neuropsychiatric symptoms, and re-uptake transporters. This lack of drug target specificity is
   sensitivity to known therapeutic agents. In addition, the known to confer a variety of adverse effects in non-ND
   pathophysiological basis of each of these disorders is caused 50 patient populations, which are qualitatively and quantita
   by genetic mechanisms unique to each disease.                       tively worse in ND patients.
      Despite significant progress in elucidating the genetic             These observations highlight the need to develop novel
   causes underlying these disparate disorders, relatively little is therapeutic agents that are specifically designed to not only
   known about the biochemical mechanisms that cause the               demonstrate efficacy against these particular disabling Symp
   selective neuronal degeneration common to all of them. In 55 toms but to also possess tolerability in these specific patient
   addition, for the most common of these disorders, including populations. This can be achieved by improving the selectiv
   Parkinson's Disease and Alzheimer's Disease, the genetic ity of the drug target interactions of new therapeutic agents.
   factors that cause the rare familial forms of these diseases        Specifically, the development of agents with novel mecha
   have been discovered, but the pathophysiological basis of the nisms of action that avoid the known pitfalls associated with
   vast majority of sporadic cases is still unknown. Because of 60 existing agents is desired. In addition, improved selectivity
   this, no specific therapeutic agents currently exist that can can avoid the known adverse effects associated with interac
   directly modify disease progression. Instead, clinicians uti tions with non-efficacy conferring drug targets.
   lize a variety of existing agents to provide symptomatic relief
   of the motor, cognitive, and neuropsychiatric manifestations                BRIEF DESCRIPTION OF THE DRAWINGS
   that characterize these disorders. None of these existing 65
   agents were designed and developed to specifically treat               FIG. 1 shows plots of D and 5-HT2A receptor agonist
   patients with NDs.                                                  activity of Parkinson's Disease therapeutics as determined by
                                                              JSUF0016



                                                            Appx090
              Case: 24-1401                   Document: 9                Page: 83            Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 13 of 30 PageID #: 4845


                                                       US 7,601,740 B2
                                    3                                                                 4
   the physiologically predictive, cell-based, in vivo R-SAT              Also disclosed herein is a method for treating a neurode
   assay. FIG. 1A plots drug activity at human D, receptors. FIG. gernative disease comprising: identifying a patient Suffering
   1B plots drug activity at human Serotonin 2A receptors.             from a neurodegenerative disease and administering to the
      FIG. 2A is a plot of the efficacy of the compound of formula patient an effective amount of an inverse agonist selective for
   (I) in reducing MK-801 induced locomotor behaviors in rats a serotonin receptor, whereby the dopaminergic therapy asso
   against a control after s.c. administration over a ten (10) ciated dyskinesia is reduced. In some embodiments, the neu
   minute time period. FIG. 2B is a plot of the efficacy of the rodegenerative disease is Parkinson's disease, Huntington's
   compound of formula (I) in reducing MK-801 induced loco disease, Alzheimer's disease, Spinocerebellar Atrophy,
   motor behaviors in rats against a control after oral adminis Tourette's Syndrome, Friedrich’s Ataxia, Machado-Joseph's
   tration over a thirty (30) minute time period.                   10 disease, Lewy Body Dementia, Dystonia, Progressive Supra

      FIG.3 shows a bar graph that indicates three dosage levels nuclear Palsy, or Frontotemporal Dementia. In one embodi
   of the compound of formula (I) and the effect of each dosage ment, the serotonin receptor is a 5HT2A receptor. In another
   on reducing dyskinesia in a primate model.                          embodiment, the serotonin receptor is a 5HT2C receptor. In
                                                                       some embodiments, the inverse agonist binds to a 5HT2A
      FIG. 4 shows the affect of the compound of formula (I) on 15 receptor
   amphetamine induced hyperactivity in mice when used in inverse agonist        or a 5HT2C receptor. In some embodiments, the
   combination with varying doses of Haloperidol.                                       is the compound of formula (I). One embodi
                                                                       ment further comprises administering a dopaminergic agent
                SUMMARY OF THE INVENTION                               in combination with the compound of formula (I). In some
                                                                       embodiments, the reagent increases dopaminergic activity
                                                                       and is selected from the group consisting of levodopa,
      Disclosed herein is a composition comprising a compound SINAMETTM, SINAMETCRTM, bromocriptine (PAR
   of Formula (I):                                                     LODELTM), pergolide (PERMAXTM), ephenedrine sulfate
                                                                       (EPHEDRINETM), pemoline CYLERTTM), mazindol (SAN
                                                                       OREXTM), d.1-O-methylphenethylamine (ADDERALLTM),
                                                                (I) 25 methylphenydate            (RITALINTM),          pramipexole
                         CH3                                           (MIRAPEXTM), modafinil (PROVIGILTM), and ropinirole
                                                                       (REQUIPTM).
                                                                          Also disclosed herein is, a method for treating dyskinesia




    to or
                                                                       associated with dopaminergic therapy comprising: identify
                                                                    30 ing a patient Suffering from dopaminergic therapy associated
                                                                       dyskinesia and administering to the patient an effective
                                                                       amount of an inverse agonist selective for a serotonin recep
                                                                       tor; whereby the dopaminergic therapy associated dyskinesia
                                                                       is reduced. In one embodiment the serotonin receptor is a
                                                                    35 5HT2A receptor. In another embodiment the serotonin recep
                                                                       tor is a 5HT2C receptor. In some embodiments, the inverse
                                                                       agonist binds to a 5HT2A receptor and a 5HT2C receptor. In
   and a pharmaceutically acceptable carrier. In some embodi one embodiment, the inverse agonist is the compound of
   ments, the composition further comprises an additional thera formula (I). Some embodiments further comprise administer
   peutic agent. In some embodiments the additional therapeutic 40 ing an anti-dyskinesia agent in combination with the com
   agent is selected from levodopa (SINEMETTM, SINEMET pound of formula (I). In some embodiments, the anti-dyski
   CRTM, bromocriptine (PARLODELTM), pergolide (PER nesia agent is selected from the group consisting of baclofen
   MAXTM), ephenedrine sulfate (EPHEDRINETM), pemoline (LioresalTM), botulinum toxin (BotoxTM), clonazepam
   CYLERTTM), mazindol (SANOREXTM), d.1-O-methylphen (KlonopinTM), and diazepam (ValiumTM). In some embodi
   ethylamine (ADDERALLTM), methylphenydate (RI 45 ments, the patient Suffers from a neurodegenerative disease
   TALINTM), pramipexole (MIRAPEXTM), modafinil selected from the group consisting of Parkinson's disease,
   (PROVIGILTM), and ropinirole (REQUIPTM). In other Huntington's disease, Alzheimer's disease, Spinocerebellar
   embodiments, the additional therapeutic agent is an anti Atrophy, Tourette's Syndrome, Friedrich's Ataxia, Machado
   dyskinesia agent selected from baclofen (LioresalTM), botu Joseph’s disease, Lewy Body Dementia, Dystonia, Progres
   linum toxin (BotoxTM), clonazepam (KlonopinTM), and diaz 50 sive Supranuclear Palsy, and Frontotemporal Dementia.
   epam (ValiumTM). In other embodiments, the additional                  Further disclosed herein is a method for treating dystonia,
   therapeutic agent is an anti-dystonia, anti-myoclonus, oranti myoclonus, or tremor associated with dopaminergic therapy
   tremor agent selected from baclofen (LIORESALTM), botu comprising: identifying a patient Suffering from dopaminer
   linum toxin (BOTOXTM), clonazepam (KLONOPINTM), and gic therapy associated dystonia, myoclonus, or tremor, and
   diazepam (VALIUMTM). In other embodiments, the addi 55 administering to the patient an effective amount of an inverse
   tional therapeutic agent is an anti-psychotic agent with agonist selective for a serotonin receptor, whereby the
   dopaminergic receptor antagonism. In other embodiments, dopaminergic therapy associated dystonia, myoclonus, or
   the additional therapeutic agent is an anti-psychotic agent tremor is reduced. In one embodiment the serotonin receptor
   selected from chlorpromazine (THORAZINETM), halopero is a 5HT2A receptor. In another embodiment, the serotonin
   dol (HALDOLTM), molindone (MOBANTM), thioridazine 60 receptor is a 5HT2C receptor. In some embodiments, the
   (MELLARILTM), a phenothiazine, a butyrophenome, inverse agonist binds to a 5HT2A receptor and a 5HT2C
   diphenulbutylpiperinde           (pimozide),      thioxanthines     receptor. In some embodiments, the inverse agonist is the
   (fluphenthixol), substituted benzamides (sulpiride), sertin compound of formula (I). Some embodiments further com
   dole, amisulpride, risperidone, clozapine, olanzapine, prise an anti-dystonia, anti-myoclonus, or anti-tremor agent
   Ziprasidone, aripiprazole, and their active metabolites 65 in combination with the compound of formula (I). In some
   (N-desmethylclozapine, N-desmethylolanzapine, 9-OH embodiments, the anti-dystonia, anti-myoclonus, or anti
   risperdone)).                                                       tremoragent is selected from the group consisting of baclofen
                                                              JSUF0017



                                                            Appx091
               Case: 24-1401                  Document: 9                Page: 84             Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 14 of 30 PageID #: 4846


                                                        US 7,601,740 B2
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   (LIORESALTM), botulinum toxin (BOTOXTM), clonazepam                    Additionally disclosed herein is a method of inhibiting an
   (KLONOPINTM), and diazepam (VALIUMTM).                              activity of a monoamine receptor comprising contacting the
      Also disclosed herein is a method for treating psychosis monoamine receptor or a system containing the monoamine
   associated with dopaminergic therapy comprising: identify receptor with an amount of the compound of formula (I) that
   ing a patient Suffering from dopaminergic therapy associated 5 is effective in inhibiting the activity of the monoamine recep
   psychosis; and administering to the patient an effective tor. In some embodiments, the monoamine receptor is a sero
   amount of an inverse agonist selective for a serotonin recep tonin receptor. In one embodiment the serotonin receptor is
   tor; whereby symptoms of dopaminergic therapy associated the 5-HT2A subclass. In some embodiments the serotonin
   psychosis is reduced. In one embodiment the serotonin recep
   tor is a 5HT2A receptor. In another embodiment the serotonin 10 receptor      is in the central nervous system. In some embodi
   receptor is a 5HT2C receptor. In some embodiments the ments                 the serotonin receptor is in the peripheral nervous
   inverse agonist binds to a 5HT2A receptor and a 5HT2C system. In some embodiments the serotonin receptor is in
   receptor. In some embodiments the inverse agonist is the blood cells or platelets. In some embodiments the serotonin
   compound of formula (I). Some embodiments further com activity      receptor is mutated or modified. In some embodiments the
   prise an anti-psychotic agent in combination with the com 15                 is signaling activity. In some embodiments the activ
   pound of formula (I). In some embodiments, the anti-psy ity is constitutive. In some embodiments the activity is asso
   chotic agent is selected from the group consisting of ciated with serotonin receptor activation.
   chlorpromazine (THORAZINETM), haloperodol (HAL                         Also disclosed herein is a method of inhibiting an activa
   DOLTM), molindone (MOBANTM), thioridazine (MEL tion of a monoamine receptor comprising contacting the
   LARILTM), a phenothiazine, a butyrophenome, diphenulbu monoamine receptor or a system containing the monoamine
   tylpiperinde (pimozide), thioxanthines (fluphenthixol), receptor with an amount of the compound of formula (I) that
   Substituted benzamides (Sulpiride), sertindole, amisulpride, is effective in inhibiting the activation of the monoamine
   risperidone, clozapine, olanzapine, Ziprasidone, aripiprazole, receptor.       In some embodiments, the activation is by an ago
   and their active metabolites (N-desmethylclozapine, N-des nistic agent. In some embodiments the agonistic agent is
   methylolanzapine, 9-OH-risperdone)). In some embodi exogenous.
   ments, the patient Suffers from a neurodegenerative disease 25 endogenous.InIn some   some
                                                                                                embodiments the agonistic agent is
                                                                                                embodiments   the activation is consti
   selected from the group consisting of Parkinson's disease, tutive. In some embodiments the monoamine                  receptor is a
   Huntington's disease, Alzheimer's disease, Spinocerebellar
   Atrophy, Tourette's Syndrome, Friedrich's Ataxia, Machado serotonin receptor. In some embodiments the serotonin
   Joseph’s disease, Lewy Body Dementia, Dystonia, Progres receptor is the 5-HT2A subclass. In some embodiments the
   sive Supranuclear Palsy, and Frontotemporal Dementia.               serotonin receptor is in the central nervous system. In some
      Also disclosed herein is a method for treating a neuropsy 30 embodiments the serotonin receptor is in the peripheral ner
   hiatric disease comprising: identifying a patient suffering Vous system. In some embodiments the serotonin receptor is
   from a neuropsyhiatric disease; and administering to the in blood cells or platelets. In some embodiments the serotonin
   patient an effective amount of an inverse agonist selective for receptor is mutated or modified.
   a serotonin receptor. In some embodiments, the neuropsychi             Also disclosed herein is a method of treating a disease
   atric disease is selected from the group consisting of schizo 35 condition associated with a monoamine receptor comprising
   phrenia, Schizoaffective disorders, mania, behavioral distur administering to a subject in need of Such treatment a thera
   bances associated with dementia and psychotic depression. In peutically effective amount of the compound of formula (I).
   some embodiments the serotonin receptor is a 5HT2A recep            In some embodiments the disease condition is selected from
   tor. In some embodiments the serotonin receptor is a 5HT2C the group consisting of Schizophrenia, psychosis, migraine,
   receptor. In some embodiments the inverse agonist binds to a 40 hypertension, thrombosis, vasospasm, ischemia, depression,
   5HT2A receptor or a 5HT2C receptor. In one embodiment,              anxiety, sleep disorders and appetite disorders. In some
   the inverse agonist is the compound of formula (I). Some embodiments                the disease condition is associated with dys
   embodiments further comprise administering an antipsy
   chotic agent in combination with the inverse agonist, the function            of a monoamine receptor. In some embodiments, the
   anti-psychotic agent selected from the group consisting of 45 disease condition is associated with activation of a monoam
   chlorpromazine (THORAZINETM), haloperodol (HAL ine receptor. In some embodiments, the disease condition is
   DOLTM), molindone (MOBANTM), thioridazine (MEL associated with increased activity of monoamine receptor. In
   LARILTM), a phenothiazine, a butyrophenome, diphenulbu              Some embodiments, the monoamine receptor is a serotonin
   tylpiperinde (pimozide), thioxanthines (fluphenthixol),             receptor. In some embodiments the serotonin receptor is the
   Substituted benzamides (Sulpiride), sertindole, amisulpride,        5-HT2A subclass. In some embodiments the serotonin recep
   risperidone, clozapine, olanzapine, Ziprasidone, aripiprazole, 50 toris in the central nervous system. In some embodiments the
   and their active metabolites (N-desmethylclozapine, N-des           serotonin receptor is in the peripheral nervous system. In
   methylolanzapine, 9-OH-risperdone)).                                some embodiments the serotonin receptor is in blood cells or
      Also disclosed herein is a compound having the structure platelets. In some embodiments, the serotonin receptor is
   of Formula (I):                                                     mutated or modified.
                                                                (I) 55    Also disclosed herein is a method of treating schizophrenia
                         CH                                            comprising administering to a Subject in need of Such treat
                                                                       ment a therapeutically effective amount the compound of
                                                                       formula (I).
                                                                    60    Also disclosed herein is a method of treating migraine
   F                                                sus                comprising administering to a Subject in need of Such treat
                                                                       ment a therapeutically effective amount of the compound of
                                                                       formula (I).
                                                                          Also disclosed herein is a method of treating psychosis
                                                                    65 comprising administering to a Subject in need of Such treat
                                                                       ment a therapeutically effective amount of the compound of
                                                                       formula (I).
                                                              JSUF0018



                                                            Appx092
               Case: 24-1401                    Document: 9                    Page: 85            Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 15 of 30 PageID #: 4847


                                                           US 7,601,740 B2
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      Also disclosed herein is a method for identifying a genetic tionally manifest its activity in the absence of an agonist by
   polymorphism predisposing a subject to being responsive the inhibiting the spontaneous conversion of an unliganded
   compound of formula (I), comprising: administering to a receptor to an active conformation.
   Subject a therapeutically effective amount of said compound;            The “5-HT2A receptor is defined as a receptor, having an
   measuring the response of said Subject to said compound, activity corresponding to the activity of the human serotonin
   thereby identifying a responsive subject having an amelio receptor Subtype, which was characterized through molecular
   rated disease condition associated with a monoamine recep cloning and pharmacology as detailed in Saltzman et al.,
   tor; and identifying a genetic polymorphism in the responsive Biochem. Biophys. Res. Comm. 181: 1469-78; and Julius et
   Subject, wherein the genetic polymorphism predisposes a al., Proc. Natl. Acad. Sci. USA 87:928-932, the disclosures of
   Subject to being responsive to said compound. In some 10 which are incorporated herein by reference in their entireties.
   embodiments the ameliorated disease condition is associated             The term “subject” refers to an animal, preferably a mam
   with the 5-HT class or 5-HT2A subclass of monoaminergic mal, most preferably a human, who is the object of treatment,
   receptors.                                                           observation or experiment.
      Additionally disclosed herein is a method for identifying a          “Selective' is defined as a property of a compound
   subject suitable for treatment with the compound of formula 15 whereby          an amount of the compound sufficient to effect a
   (I), comprising detecting the presence of a polymorphism in desired response from a particular receptor type, Subtype,
   a subject wherein the polymorphism predisposes the Subject classnooreffect     Subclass with significantly less or Substantially little
   to being responsive to the compound, and wherein the pres or                          upon the activity other receptor types. For
   ence of the polymorphism indicates that the subject is suitable example,        a selective compound may have at least a 10-fold
                                                                        greater effect on activity of the desired receptor than on other
   for treatment with the compound of formula (I).                      receptor types. In some cases, a selective compound may have
        DETAILED DESCRIPTION OF THE PREFERRED                           at least a 20-fold greater effect on activity of the desired
                           EMBODIMENTS
                                                                        receptor than on other receptor types, or at least a 50-fold
                                                                        greater effect, or at least a 100-fold greater effect, or at least a
                                                                        1000-fold greater effect, or at least a 10,000-fold greater
                                                                     25
   Definitions                                                          effect, or at least a 100,000-fold greater effect, or more thana
      For the purpose of the current disclosure, the following inverse  100,000-fold greater effect. “Selectivity” or “selective,” as an
   definitions shall in their entireties be used to define technical             agonist is understood as a property of the compound
   terms, and shall also, in their entireties, be used to define the    of the invention whereby an amount of compound that effec
                                                                        tively inversely agonizes the 5-HT2A receptor, and thereby
   Scope of the composition of matter for which protection is 30 decreases its activity, causes little or no inverse agonistic or
   sought in the claims.                                                antagonistic activity at other, related or unrelated, receptors.
      "Constitutive activity” is defined as the elevated basal In particular, in one embodiment, a compound has surpris
   activity of a receptor that is independent of the presence of an ingly been found not to interact strongly with other serotonin
   agonist. Constitutive activity of a receptor may be measured receptors (5-HT1A, 1B, 1D, 1E, 1F, 2B, 2C, 4A, 6, and 7) at
   using a number of different methods, including cellular (e.g., 35 concentrations where the signaling of the 5-HT2A receptor is
   membrane) preparations (see, e.g., Barr &. Manning, J. Biol.         strongly or completely inhibited. In one embodiment, the
   Chem. 272:32979-87 (1997)), purified reconstituted recep compound is also selective with respect to other monoamine
   tors with, or without the associated G-protein in phospholipid binding receptors, such as the dopaminergic, histaminergic,
   vesicles (Cerione et al., Biochemistry 23:4519-25 (1984)), adrenergic and muscarinic receptors. Compounds that are
   and functional cellular assays (U.S. Patent Application Ser. 40 highly selective for 5-HT2A receptors may have a beneficial
   No. 60/103,317) or any other method known in the art.                effect in the treatment of psychosis, Schizophrenia or similar
      'Agonist’ is defined as a compound that increases the basal neuropsychiatric           disorders, while avoiding adverse effects
                                                                        associated with drugs hitherto Suggested for this purpose.
   activity of a receptor when it contacts the receptor.
      An “antagonist' is defined as a compound that competes or Some       2C
                                                                                  embodiments described herein relate to serotonin2A
                                                                               receptor   inverse agonists, including compositions and
   with an agonist or inverse agonist for binding to a receptor, 45 methods for treating         certain side-effects caused or exacer
   thereby blocking the action of an agonist or inverse agonist on bated by dopaminergenic             agent-associated therapies com
   the receptor. However, an antagonist (also known as a “neu monly used in treating neurodegenerative diseases. For
   tral' antagonist) has no effect on constitutive receptor activ example, the compounds disclosed herein have utility in
   ity.                                                                 reducing dyskinesia and psychosis associated with dopamin
      An “inverse agonist’ is defined as a compound that 50 ergenic therapies used in treating Parkinson's disease, a neu
   decreases the basal activity of a receptor (i.e., signaling medi rodegenerative disease. According to one embodiment, the
   ated by the receptor). Such compounds are also known as compound N-(1-methylpiperidin-4-yl)-N-(4-flourophenyl
   negative antagonists. An inverse agonist is a ligand for a methyl)-N'-(4-(2-methylpropyloxy)phenylmethyl)carbam
   receptor that causes the receptor to adopt an inactive state ide having the structure of formula (I) is provided:
   relative to a basal state occurring in the absence of any ligand. 55                                                                   (I)
   Thus, while an antagonist can inhibit the activity of an ago                                CH3
   nist, an inverse agonist is a ligand that can alter the confor
   mation of the receptor in the absence of an agonist. The                                    N
   concept of an inverse agonist has been explored by Bond etal.
   in Nature 374:272 (1995). More specifically, Bond et al. have 60
   proposed that unliganded f-adrenoceptor exists in an equi               F                                                   -
   librium between an inactive conformation and a spontane
   ously active conformation. Agonists are proposed to stabilize
   the receptor in an active conformation. Conversely, inverse
   agonists are believed to stabilize an inactive receptor confor 65                                r
   mation. Thus, while an antagonist manifests its activity by
   virtue of inhibiting an agonist, an inverse agonist can addi
                                                                 JSUF0019



                                                               Appx093
              Case: 24-1401                   Document: 9                Page: 86            Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 16 of 30 PageID #: 4848


                                                       US 7,601,740 B2
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      One embodiment relates to a composition comprising the           by the medicament or alternatively the compounds may be
   compound of formula (I) and a pharmaceutically acceptable           given in combination with other compounds which also
   carrier. The composition may also contain other compounds           reduce dyskinesia.
   Such as compounds for treating dyskinesia, dystonia, or psy            In some embodiments, the compounds described herein
   chosis.                                                             can be formulated into compositions for administration to
      According to one embodiment, the tartrate salt of the com patients in need thereof. Appropriate compositions can take a
   pound, N-(1-methylpiperidin-4-yl)-N-(4-flourophenylm number of differentforms depending on how the composition
   ethyl)-N'-(4-(2-methylpropyloxy)phenylmethyl) carbamide is to be used. For example, the composition may be in the
   is a potent, selective, orally bioavailable 5-HT2A receptor form of a powder, tablet, capsule, liquid, ointment, cream,
   inverse agonist. One embodiment includes the hydrochloride 10 gel, hydrogel, aerosol. Spray, micelle, liposome or any other
   salt of N-(1-methylpiperidin-4-yl)-N4-flourophenylmethyl)- pharmaceutically acceptable form. One of ordinary skill in
   N'-(4-(2-methylpropyloxy)phenylmethyl) carbamide. The the art would readily appreciate that an appropriate vehicle
   compound of formula (I) also possesses lesser potency as a for use with the disclosed compounds of the invention should
   5-HT2C receptor inverse agonistand lacks intrinsic activity at be one that is well tolerated by a recipient of the composition.
   the remaining monoaminergic receptor Subtypes. Perhaps 15 The vehicle should also readily enable the delivery of the
   most notably, the compound of formula (I) lacks activity at compounds to appropriate target receptors. For example, one
   dopamine receptor Subtypes. (See U.S. patent application Ser. of ordinary skill in the art would know to consult Pharma
   No. 09/800,096, which is hereby incorporated by reference in ceutical Dosage Forms and Drug Delivery Systems, by Ansel,
   its entirety). Extensive behavioral pharmacological profiling et al., Lippincott Williams & Wilkins Publishers; 7th ed.
   of the compound of formula (I), including pre-clinical models (1999) or a similar text for guidance regarding such formu
   of antipsychotic and anti-dyskinetic drug actions, Support the lations.
   therapeutic use of the compound in Parkinson's Disease and             The composition of the invention may be used in a number
   related human neurodegenerative diseases.                           of ways. For instance, systemic administration may be
      Parkinson's Disease (PD) is a common and progressive required in which case the disclosed compounds can be for
   neurodegenerative disease. Current estimates suggest that 25 mulated into a composition that can be ingested orally in the
   nearly 900,000 individuals in the United States have PD and form of a tablet, capsule or liquid. Alternatively the compo
   that the prevalence is increasing as the US population ages.        sition may be administered by injection into the blood stream.
   Dopamine receptor agonists are used to alleviate the Symp           Injections may be intravenous (bolus or infusion) or Subcu
   toms of PD, such as motoric dysfunction. Unfortunately, the taneous (bolus or infusion). The disclosed compounds can
   protracted use of these dopaminergenic agents causes, over 30 also be administered centrally by means of intracerebral,
   time, neuropsychiatric (psychosis) and troublesome motor intracerebroventricular, or intrathecal delivery.
   (dyskinesia)side effects in 30 to 80% of patients, respectively.       The compound may also be used with a time delayed
      Antipsychotics and dopamine receptor antagonists can be release device. Such devices may, for example, be inserted
   effective in ameliorating these adverse effects. Unfortunately, under the skin and the compound may be released over weeks
   many of these compounds significantly worsen motor func 35 or months. Such a device may be particularly useful for
   tion in PD patients secondary to their hypo-dopaminergic patients with long term dyskinesia Such as patients on con
   state. Biochemical and pharmacological data Support the tinuous L-dopatherapy for the treatment of PD. The devices
   hypothesis that potentiation of serotonergic neurotransmis may be particularly advantageous when a compound is used
   sion may be pathophysiologically related to the development which would normally require frequent administration (e.g.,
   of dyskinesias and psychosis in these patients. While not 40 frequent injection).
   being bound by this theory, the compounds disclosed herein             It will be readily appreciated that the amount of a com
   were selected to exploit the relationship of serotonergic activ pound required is determined by biological activity and bio
   ity and the negative side-effects associated with dopaminer availability which in turn depends on the mode of adminis
   genic therapy.                                                      tration, the physicochemical properties of the compound
      L-dopa is a typical dopaminergic compound used to treat 45 employed and whether the compound is being used as a
   PD. L-dopa has been shown to increase central serotonin monotherapy or in a combined therapy. The frequency of
   release, turnover, and metabolite concentrations in rodent          administration will also be influenced by the above men
   brain. Direct acting dopamine receptor agonists like per tioned factors and particularly the half-life of the compound
   golide possess, in additional to their dopamine receptor ago within the subject being treated.
   nist properties, potent agonist activity at serotonin 2A 50 One of ordinary skill in the art would appreciate that spe
   (5-HT2A) and 2C (5-HT2C) receptors as demonstrated by cific formulations of compositions and precise therapeutic
   various in vitro pharmacological assays.                            regimes (such as daily doses of the compounds and the fre
      In one embodiment, the compounds disclosed herein can quency of administration) can be determined using known
   be used to treat many side-effects that arise from dopaminer procedures. Such procedures conventionally employed by the
   genic therapy. For example, the disclosed compounds are also 55 pharmaceutical industry include in vivo experimentation and
   useful for treatment of dyskinesia or psychosis caused or clinical trials.
   exacerbated as a side-effect of other therapeutic agents such          Generally, a daily dose of between 0.01 lug/kg of body
   as L-dopa. In one embodiment, the compounds are preferably weight and 1.0 g/kg of body weight of a serotonin 2A/2C
   used for the treatment of dyskinesia or psychosis associated receptor inverse agonist can be used with the methods dis
   with L-dopa treatment.                                           60 closed herein. In one embodiment, the daily dose is between
      The compounds may be used to treat existing dyskinesia or 0.01 mg/kg of body weight and 100 mg/kg of body weight, or
   psychosis or may be used prophylactic fashion when for any milligram or half-milligram quantity in this disclosed
   example, it is considered necessary to initiate L-dopatherapy range, e.g., 1.5, 2, 2.5, etc.
   and it is feared that dyskinesia or psychosis may develop.             Daily doses may be given as a single administration (e.g. a
      The compounds may be used to treat dyskinesia or psycho 65 daily tablet for oral consumption or as a single daily injec
   sis as a monotherapy or as an adjunct to medicaments to tion). Alternatively the compound used may require admin
   prevent or treat dyskinesia or psychosis side-effects caused istration twice or more times during a day, depending on the
                                                              JSUF0020



                                                            Appx094
              Case: 24-1401                  Document: 9               Page: 87            Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 17 of 30 PageID #: 4849


                                                      US 7,601,740 B2
                               11                                                                 12
   kinetics of the drug associated with the individual patient.     tonin receptors are members of a large human gene family of
   Alternatively a slow release device may be used to provide       membrane-spanning proteins that function as transducers of
   optimal doses to a patient without the need to administer        intercellular communication. They exist on the Surface of
   repeated doses.                                                  various cell types, including neurons and platelets, where,
   Biochemical Evidence
                                                                    upon  their activation by either their endogenous ligand sero
                                                                    tonin or exogenously administered drugs, they change their
      The cornerstone of current pharmacological intervention conformational structure and Subsequently interact with
   in PD remains L-dopabased therapies. L-dopa readily crosses downstream mediators of cellular signaling. Many of these
   the blood brain barrier, is taken up by neurons and undergoes receptors, including the 5-HT2A subclass, are G-protein
   rapid enzymatic conversion to dopamine, via L-aromatic acid 10 coupled receptors (GPCRs) that signal by activating guanine
   decarboxylase (LAAD) activity in dopaminergic neurons.           nucleotide binding proteins (G-proteins), resulting in the gen
   The increased availability and release of dopamine from these eration, or inhibition of second messenger molecules Such as
   neurons clearly leads to increased dopaminergic transmis cyclic AMP. inositol phosphates, and diacylglycerol. These
   Sion, and clinical efficacy in reversing the motoric effects of second messengers then modulate the function of a variety of
   the hypo-dopaminergic state observed in PD. However, 15 intracellular enzymes, including kinases and ion channels,
   L-dopa lacks specificity for dopaminergic systems, and which ultimately affect cellular excitability and function.
   LAAD is widely expressed in brain. Early biochemical obser          At least 15 genetically distinct 5-HT receptor subtypes
   Vations in rat brain noted that L-dopa Substantially reduced have been identified and assigned to one of seven families
   central serotonergic stores, and increased the concentration of (5-HT1-7). Each subtype displays a unique distribution, pref
   the principle serotonin metabolite of 5-hydroxyindoleacetic erence for various ligands, and functional correlate(s). Sero
   acid (5-HIAA) (1). Histochemical approaches have demon tonin may be an important component in various types of
   strated that L-dopa accumulates in serotonergic neurons, and pathological conditions such as certain psychiatric disorders
   neurotransmitter release experiments have demonstrated that (depression, aggressiveness, panic attacks, obsessive com
   L-dopa markedly increased the release of both dopamine and pulsive disorders, psychosis, Schizophrenia, Suicidal ten
   serotonin, that release of serotonin is dependent upon LAAD 25 dency), certain neurodegenerative disorders (Alzheimer-type
   activity, and that it is not eliminated by the selective destruc dementia, Parkinsonism, Huntington's chorea), anorexia,
   tion of dopaminergic neurons (2.3). These observations Sug bulimia, disorders associated with alcoholism, cerebral vas
   gest that the administration of L-dopa to PD patients results in cular accidents, and migraine (Meltzer, Neuropsychophar
   marked increases in the release of central serotonin, potenti macology, 21:106S-115S (1999); Barnes & Sharp, Neurop
   ating serotonergic neurotransmission. Finally, post-mortem 30 harmacology, 38:1083-1152 (1999); Glennon, Neurosci.
   biochemical analysis of PD patients that developed psycho Biobehavioral Rev., 14:35 (1990)). Recent evidence strongly
   sis, when compared to a matched group that did not develop implicates the 5-HT2 receptor subtype in the etiology of such
   neuropsychiatric disturbances, found that the patients with medical conditions as hypertension, thrombosis, migraine,
   psychosis had significant elevations in serotonin and 5-HIAA vasospasm, ischemia, depression, anxiety, psychosis, Schizo
   levels in multiple cortical and Sub-cortical structures, most 35 phrenia, sleep disorders and appetite disorders.
   notably various mesencephalic nuclei including the red              Schizophrenia is a particularly devastating neuropsychiat
   nucleus (4).                                                     ric disorder that affects approximately 1% of the human
      Serotonin or 5-hydroxytryptamine (5-HT) plays a signifi population. It has been estimated that the total financial cost
   cant role in the functioning of the mammalian body. In the for the diagnosis, treatment, and lost Societal productivity of
   central nervous system, 5-HT is an important neurotransmit 40 individuals affected by this disease exceeds 2% of the gross
   ter and neuromodulator that is implicated in Such diverse national product (GNP) of the United States. Current treat
   behaviors and responses as sleeping, eating, locomotion, per ment primarily involves pharmacotherapy with a class of
   ceiving pain, learning and memory, sexual behavior, control drugs known as antipsychotics. Antipsychotics are effective
   ling body temperature and blood pressure. In the spinal col in ameliorating positive symptoms (e.g., hallucinations and
   umn, serotonin plays an important role in the control systems 45 delusions), yet they frequently do not improve negative
   of the afferent peripheral nociceptors (Moulignier, Rev. Neu symptoms (e.g., social and emotional withdrawal, apathy, and
   rol. 150:3-15, (1994)). Peripheral functions in the cardiovas poverty of speech).
   cular, hematological, and gastrointestinal systems have also        Currently, nine major classes of antipsychotics are pre
   been ascribed to 5-HT. 5-HT has been found to mediate a          scribed to treat psychotic symptoms. Use of these compounds
   variety of contractile, secretory, and electrophysiologic 50 is limited, however, by their side effect profiles. Nearly all of
   effects including vascular and nonvascular Smooth muscle the “typical or older generation compounds have significant
   contraction, and platelet aggregation. (Fuller, Biology of adverse effects on human motor function. These “extrapyra
   Serotonergic Transmission, 1982: Botillin, Serotonin In Men      midal' side effects, so termed due to their effects on modu
   tal Abnormalities 1:316 (1978); Barchas, et al., Serotonin and latory human motor systems, can be both acute (e.g., dystonic
   Behavior, (1973)). The 5-HT2A receptor subtype (also 55 reactions, a potentially life threatening but rare neuroleptic
   referred to as subclass) is widely yet discretely expressed in malignant syndrome) and chronic (e.g., akathisias, tremors,
   the human brain, including many cortical, limbic, and fore and tardive dyskinesia). Drug development efforts have,
   brain regions postulated to be involved in the modulation of therefore, focused on newer "atypical agents free of these
   higher cognitive and affective functions. This receptor Sub adverse effects.
   type is also expressed on mature platelets where it mediates, 60 Antipsychotic drugs have been shown to interact with a
   in part, platelet aggregation, one of the initial steps in the large number of central monoaminergic neurotransmitter
   process of vascular thrombosis.                                  receptors, including dopaminergic, serotonergic, adrenergic,
      Given the broad distribution of serotonin within the body, muscarinic, and histaminergic receptors. It is likely that the
   it is understandable that tremendous interest in drugs that therapeutic and adverse effects of these drugs are mediated by
   affect serotonergic systems exists (Gershon, etat, The Periph 65 distinct receptor Subtypes. The high degree of genetic and
   eral Actions of 5-Hydroxytryptamine, 246 (1989); Saxena, et pharmacological homology between these receptor Subtypes
   at, J. Cardiovascular Pharmacol. 15: Supp. 7 (1990)). Sero has hampered the development of Subtype-selective com
                                                            JSUF0021



                                                          Appx095
               Case: 24-1401                   Document: 9                 Page: 88             Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 18 of 30 PageID #: 4850


                                                         US 7,601,740 B2
                                  13                                                                    14
   pounds, as well as the determination of the normal physi               The compound of formula (I) is active at monoamine
   ologic or pathophysiologic role of any particular receptor receptors, specifically serotonin receptors. In one embodi
   Subtype. Thus there is a need to develop drugs that are selec ment, the compound acts as inverse agonist at the 5-HT2A
   tive for individual receptor classes and Subclasses amongst receptor. Thus, experiments performed on cells transiently
   monoaminergic neurotransmitter receptors.                           expressing the human phenotype of said receptor have shown
      The prevailing theory for the mechanism of action of antip       that the compound of formula (I) attenuates the signaling of
   sychotic drugs involves antagonism of dopamine D2 recep Such receptors in the absence of additional ligands acting
   tors. Unfortunately, it is likely that antagonism of dopamine upon the receptor. The compound has thus been found to
   D2 receptors also mediates the extrapyramidal side effects. possess          intrinsic activity at this receptor and is able to attenu
                                                                       ate the basal, non-agonist-stimulated, constitutive signaling
   Antagonism of 5-HT2A is an alternate molecular mechanism 10 responses           that the 5-HT2A receptor displays. The observa
   for drugs with antipsychotic efficacy, possibly through
   antagonism of heightened or exaggerated signal transduction tion that the compound of formula (I) is an inverse agonist
   through serotonergic systems. 5-HT2A antagonists are there also indicates that the compound has the ability to antagonize
   fore good candidates for treating psychosis without extrapy 15 the      activation of 5-HT2A receptors that is mediated by endog
                                                                       enous agonists or exogenous synthetic agonist ligands.
   ramidal side effects.
                                                                          In one embodiment, the compound of formula (I) shows a
      Traditionally, these receptors have been assumed to existin relatively
   a quiescent state unless activated by the binding of an agonist type           high degree of selectivity towards the 5-HT2A sub
   (a drug that activates a receptor). It is now appreciated that serotonin  of serotonin receptors relative to other subtypes of the
   many, if not most, of the GPCR monoamine receptors, includ                     (5-HT) family of receptors as well as to other recep
   ing serotonin receptors, can exist in a partially activated State tors,   most particularly the monoaminergic G-protein coupled
   in the absence of their endogenous agonists. This increased receptors. Such as dopamine receptors.
   basal activity (constitutive activity) can be inhibited by com         The compound of formula (I) may therefore be useful for
   pounds called inverse agonists. Both agonists and inverse treating or alleviating symptoms of disease conditions asso
   agonists possess intrinsic activity at a receptor, in that they 25 ciated with impaired function, in particular elevated levels of
   alone can activate or inactivate these molecules, respectively. activity, of especially 5-HT2A receptors, whether this
   In contrast, classic or neutral antagonists compete against impaired function is associated with improper levels of recep
   agonists and inverse agonists for access to the receptor, but do tor stimulation or phenotypical aberrations.
   not possess the intrinsic ability to inhibit elevated basal or         Others have previously hypothesized that certain neurop
   constitutive receptor-responses.                                 30
                                                                       sychological diseases might be caused by altered levels of
      We have elucidated an important aspect of 5-HT2A recep constitutive activity of monoamine receptors. Such constitu
   tor function by applying the Receptor Selection and Ampli tive           activity might be modified via contacting the relevant
                                                                       receptor with a synthetic inverse agonist. By directly testing a
   fication Technology (U.S. Pat. No. 5,707,798, 1998; Chem.
   Abstr. 128:111548 (1998) and citations therein), to the study large        number of centrally acting medicinal compounds with
   of the 5-HT2 subclass of serotonin receptors. R-SAT is a 35 known           clinical activity in neuropsychiatric disease, we deter
   phenotypic assay of receptor function that involves the het mined that compounds with antipsychotic efficacy all shared
   erologous expression of receptors in mammalian fibroblasts. a common molecular property. Nearly all of these compounds
   Using this technology we were able to demonstrate that native that are used by psychiatrists to treat psychosis were found to
   5-HT2A receptors possess significant constitutive, or ago be potent 5-HT2A inverse agonists. This correlation is com
   nist-independent, receptor activity (U.S. patent application 40 pelling evidence that 5-HT2A receptor inverse agonism is a
   Ser. No. 60/103,317, herein incorporated by reference). Fur molecular mechanism of antipsychotic efficacy in humans.
   thermore, by directly testing a large number of centrally act          Detailed pharmacological characterization of a large num
   ing medicinal compounds with known clinical activity in ber of antipsychotic compounds in our laboratory revealed
   neuropsychiatric disease, we determined that compounds that they possess broad activity at multiple related receptor
   with antipsychotic efficacy all shared a common molecular 45 Subtypes. Most of these compounds display either agonist,
   property. Nearly all of these compounds, which are used by competitive antagonist, or inverse agonist activity at multiple
   psychiatrists to treat psychosis, were found to be potent monoaminergic receptor Subtypes including serotoninergic,
   5-HT2A inverse agonists. This unique clinico-pharmacologic dopaminergic, adrenergic, muscarinic and histaminergic
   correlation at a single receptor Subtype is compelling evi receptors. This broad activity is likely responsible for the
   dence that 5-HT2A receptor inverse agonism is a molecular 50 sedating, hypotensive, and motor side effects of these com
   mechanism of antipsychotic efficacy in humans.                      pounds. In one embodiment, the compound of formula (I)
      Detailed pharmacological characterization of a large num possesses efficacy as, for example, a novel antipsychotic, but
   ber of antipsychotic compounds revealed that they possess will           have fewer or less severe side effects than existing com
   broad activity at multiple related receptor subtypes. Most of pounds.
   these compounds display agonist, competitive antagonist, or 55 In one embodiment a method is provided to inhibit activity
   inverse agonist activity at multiple monoaminergic receptor of a monoamine receptor. This method comprises contacting
   Subtypes, including serotoninergic, dopaminergic, adrener a monoamine receptor or a system containing the monamine
   gic, muscarinic and histaminergic receptors. This broad activ receptor, with an effective amount of the compound of for
   ity is likely responsible for the sedating, hypotensive, and mula (I). According to one embodiment, the monamine
   motor side effects of these compounds. It would therefore be 60 receptor is a serotonin receptor. In one embodiment, the com
   of great advantage to develop compounds that are selective pound is selective for the 5-HT2A receptor subclass. In
   inverse agonists of the 5-HT2A receptor, but which have little another embodiment, the compound has little or substantially
   or no activity on other monamine receptor Subtypes, espe no activity to other types of receptors, including other sero
   cially dopamine D2 receptors. Such compounds may be use tonergic receptors and most particularly, monoaminergic
   ful in the treatment of human disease (e.g., as anti-psychot 65 G-protein coupled receptors, such as dopaminergic receptors.
   ics), and may avoid the adverse side effects associated with           The system containing the monoamine receptor may, for
   non-selective receptor interactions.                                example, be a Subject Such as a mammal, non-human primate
                                                                JSUF0022



                                                              Appx096
               Case: 24-1401                   Document: 9                Page: 89             Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 19 of 30 PageID #: 4851


                                                         US 7,601,740 B2
                                   15                                                                   16
   or a human. The receptor may be located in the central or class of Such receptors, comprising administration of an
   peripheral nervous system, blood cells or platelets.                 effective amount of a selective inverse agonist of formula (I)
      The system may also be an in vivo or in vitro experimental to a host in need of such treatment. Also provided are kits for
   model. Such as a cell culture model system that expresses a performing the same.
   monamine receptor, a cell-free extract thereofthat contains a           In one embodiment, the receptor is the 5-HT2A subclass.
   monoamine receptor, or a purified receptor. Non-limiting In one embodiment, the disease condition is associated with
   examples of Such systems are tissue culture cells expressing dysfunction of the serotonin receptor. In another embodi
   the receptor or extracts or lysates thereof. Cells that may be ment, the disease condition is associated with activation of the
   used in the present method include any cells capable of medi serotonin receptor, for instance, inappropriately elevated or
   ating signal transduction via monoamine receptors, espe 10 constitutive activation, elevated serotonergic tone, as well as
   cially the 5-HT2A receptor, either via endogenous expression disease conditions associated with secondary cellular func
   of this receptor (e.g., certain types of neuronal cells lines, for tions impaired by Such pathologies.
   example, natively express the 5-HT2A receptor), or following            Examples of diseases for which Such treatment using the
   transfection of cells with plasmids containing the receptor compound of formula (I) is useful include, but are not limited
   gene. Such cells are typically mammalian cells (or other 15 to, neuropsychiatric diseases such as Schizophrenia and
   eukaryotic cells, such as insect cells or Xenopus oocytes), related idiopathic psychoses, anxiety, sleep disorders, appe
   because cells of lower organisms generally lack the appropri tite disorders, affective disorders such as major depression,
   ate signal transduction pathways for the present purpose. bipolar disorder, and depression with psychotic features, and
   Examples of suitable cells include: the mouse fibroblast cell Tourette's Syndrome, drug-induced psychoses, psychoses
   line NIH 3T3 (ATCC CRL 1658), which responds to trans secondary to neurodegenerative disorders such as Alzhe
   fected 5-HT2A receptors by stimulating growth: RAT 1 cells imer's or Huntington's Disease. It is anticipated that the
   (Pace et al., Proc. Natl. Acad. Sci. USA 88:7031-35 (1991)); compound of formula (I), a particularly selective inverseago
   and pituitary cells (Vallar et al., Nature 330:556-58 (1987). nist of 5-HT2A that shows little or no activity on dopamin
   Other useful mammalian cells for the present method include ergic receptors, may be especially useful for treating schizo
   HEK 293 cells, CHO cells, and COS cells.                          25 phrenia. Treatment using the compound of formula (I) may
      One embodiment provides methods of inhibiting activity also be useful in treating migraine, vasospasm, hypertension,
   of a native, mutated or modified monoamine receptor. Also various thrombotic conditions including myocardial infarc
   provided are kits for performing the same. In one embodi tion, thrombotic or ischemic stroke, idiopathic and throm
   ment, the activity of the receptor is a signaling activity. In botic thrombocytopenic purpura, and peripheral vascular dis
   another embodiment, the activity of the receptor is the con 30 CaSC.
   stitutive basal activity of the receptor.                               In a further embodiment the present invention provides
      In one embodiment, the activity of the receptor is a methods for treating or alleviating a disease condition asso
   response, such as a signaling response, to an endogenous ciated with improper function, dysfunction, or stimulation of
   agonist, Such as 5-HT, or an exogenous agonistic agent, Such native, as well as mutated or otherwise modified, forms of
   as a drug or other synthetic ligand. The compound of formula 35 central or peripheral monoamine receptors, such methods
   (I) may act by either inversely agonizing or antagonizing the comprising administration of an effective amount of a com
   receptor.                                                            pound of formula (I) to a host in need of such treatment. In one
      In one embodiment, the compound of formula (I) is an embodiment, the monamine receptor is serotonin receptor in
   inverse agonist selective for the 5-HT2A receptor and the the peripheral nervous system, blood or platelets. In some
   compound has little or substantially no activity toward other 40 embodiments, the serotonin receptor is a 5-HT2A subclass
   serotonergic or other monoaminergic receptors, such as receptor. In additional embodiments, the disease condition is
   dopaminergic receptors.                                              associated with increased activity or activation of a serotonin
      In a further embodiment, a method is provided for inhibit receptor. Also provided are kits for performing the same.
   ing an activation of a monoamine receptor comprising con                Some embodiments also pertain to the field of predictive
   tacting the monoamine receptor, or a system containing the 45 medicine in which pharmacogenomics is used for prognostic
   monoamine receptor, with the compound of formula (I). The (predictive) purposes. Pharmacogenomics deals with clini
   activation of the receptor may be due to an exogenous or cally significanthereditary variations in the response to drugs
   endogenous agonist agent, or may be the constitutive activa due to altered drug disposition and abnormal action in
   tion associated with a native, mutated or modified receptor. affected persons. See e.g., Eichelbaum, Clin Exp Pharmacol.
   The receptor may be purified or present in an in vitro or in 50 Physiol., 23:983-985 (1996), and Linder, Clin. Chem.
   Vivo system. The receptor may also be present in the central or 43:254-66 (1997). In general, two types of pharmacogenetic
   peripheral nervous system, blood cells or platelets of a non conditions can be differentiated: genetic conditions transmit
   human or human Subject. Also provided are kits for perform ted as a single factor altering the way drugs act on the body
   ing the same.                                                        (altered drug action), and genetic conditions transmitted as
      In one embodiment, the compound of formula (I) is selec 55 single factors altering the way the body acts on drugs (altered
   tive for 5-HT class serotonin receptors, such as the 5-HT2A drug metabolism). These pharmacogenetic conditions can
   Subclass of serotonin receptors. In another embodiment, the occur as naturally occurring polymorphisms.
   compound has little or Substantially no anti-dopaminergic               One pharmacogenomics approach to identifying genes that
   activity.                                                            predict drug response, known as “a genome-wide associa
      One embodiment provides methods of treating a disease 60 tion, relies primarily on a high-resolution map of the human
   condition associated with a monoamine receptor comprising genome consisting of already known gene-related markers
   administering to a mammal in need of Such treatment an (e.g., a “bi-allelic' gene marker map that consists of 60,000
   effective amount of the compound of formula (1). One                 100,000 polymorphic or variable sites on the human genome,
   embodiment provides methods for treating or alleviating dis each of which has two variants). Such a high-resolution
   ease conditions associated with improper function or stimu 65 genetic map can be compared to a map of the genome of each
   lation of native, as well as mutated or otherwise modified,          of a statistically significant number of patients taking part in
   forms of central serotonin receptors, particularly the 5-HT a Phase II/III drug trial to identify markers associated with a
                                                               JSUF0023



                                                             Appx097
               Case: 24-1401                  Document: 9                Page: 90             Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 20 of 30 PageID #: 4852


                                                        US 7,601,740 B2
                                  17                                                                 18
   particular observed drug response or side effect. Alterna the compound is detected, the presence of the polymorphism
   tively, Such a high-resolution map can be generated from a indicating that the Subject is Suitable for treatment. Also pro
   combination of Some ten-million known single nucleotide vided are kits for performing the same.
   polymorphisms (SNPs) in the human genome. As used                     The compound of formula (I) preferably shows selective
   herein, a “SNP is a common alteration that occurs in a single inverse agonist activity towards the 5-HT2A receptor. Such
   nucleotide base in a stretch of DNA. For example, a SNP may activity is defined by an ability of the ligand to attenuate or
   occur once per every 1,000 bases of DNA. A SNP may be abolish the constitutive signaling activity of this receptor.
   involved in a disease process; however, the vast majority may Selectivity in the present context is understood as a property
   not be disease-associated. Given a genetic map based on the of a compound of the invention whereby an amount of com
   occurrence of such SNPs, individuals can be grouped into 10 pound that effectively inversely agonizes the 5-HT2A recep
   genetic categories depending on a particular pattern of SNPs torand thereby decreases its activity causes little or no inverse
   in their individual genome. In Such a manner, treatment regi agonistic orantagonistic activity at other, related or unrelated,
   mens can be tailored to groups of genetically similar indi receptors. In particular, the compound of formula (I) has
   viduals, taking into account traits that may be common Surprisingly been found not to interact strongly with other
   among Such genetically similar individuals.                     15 serotonin receptors (5-HT1A, 1B, 1D, 1E, 1 F.2B, 2C, 4A, 6,
      Alternatively, a method termed the “candidate gene and 7) at concentrations where the signaling of the 5-HT2A
   approach can be utilized to identify genes that predict drug receptor is strongly or completely inhibited. In one embodi
   response. According to this method, if a gene that encodes a ment, the compound is also selective with respect to other
   drugs target is known (e.g., a protein or a receptor of the monoamine-binding receptors, such as the dopaminergic,
   present invention), all common variants of that gene can be histaminergic, adrenergic and muscarinic receptors.
   fairly easily identified in the population and it can be deter        One embodiment of the present invention relates to a
   mined if having one version of the gene versus another is method of alleviating or treating a disease condition in which
   associated with a particular drug response.                        modification of monoamine receptor activity, in particular
      Alternatively, a method termed the "gene expression pro         5-HT2A serotonergic receptor activity, has a beneficial effect
   filing, can be utilized to identify genes that predict drug 25 by administering a therapeutically effective amount of the
   response. For example, the gene expression of an animal compound of formula (I) to a Subject in need of Such treat
   dosed with a drug (e.g., a molecule or modulator of the ment. Such diseases or conditions may, for instance arise
   present invention) can give an indication whether gene path from inappropriate stimulation or activation of serotonergic
   ways related to toxicity have been turned on.                      receptors. It is anticipated that by using a compound that is
       Information generated from more than one of the above 30 selective for a particular serotonin receptor Subtype, in par
   pharmacogenomics approaches can be used to determine ticular 5-HT2A, the problems with adverse side effects
   appropriate dosage and treatment regimens for prophylactic observed with the known antipsychotic drugs, such as
   or therapeutic treatment of an individual. This knowledge, extrapyramidal effects, may be avoided Substantially.
   when applied to dosing or drug selection, can avoid adverse           The term “therapeutically effective amount” as used herein
   reactions or therapeutic failure and thus enhance therapeutic 35 means an amount of an active compound or pharmaceutical
   or prophylactic efficiency when treating a Subject with a agent that elicits the biological or medicinal response in a
   molecule or modulator of the invention, such as a modulator        tissue, system, animal or human that is being sought by a
   identified by one of the exemplary Screening assays described researcher, Veterinarian, medical doctor or other clinician,
   herein. As we have described previously, this approach can which includes alleviation, amelioration, or lessening of the
   also be used to identify novel candidate receptor or other 40 symptoms of the disease being treated, or prevents or slows
   genes Suitable for further pharmacological characterization in the progress of the disease or increase of the symptoms.
   vitro and in vivo.                                                    In one embodiment, the compound of formula (I) may be
      Accordingly, one embodiment provides methods and kits administered in a single daily dose, or the total daily dosage
   for identifying a genetic polymorphism predisposing a Sub may be administered individed doses, for example, two, three
   ject to being responsive to the compound of formula (I). The 45 or four times daily. Furthermore, the compound of formula (I)
   method comprises administering to a subject an effective may be administered in intranasal form via topical use of
   amount of the compound; identifying a responsive subject Suitable intranasal vehicles, via transdermal routes, using
   having an ameliorated disease condition associated with a those forms of transdermal skin patches well known to per
   monamine receptor, and identifying a genetic polymorphism Sons skilled in the art, by implantable pumps; or by any other
   in the responsive Subject, wherein the genetic polymorphism 50 suitable means of administration. To be administered in the
   predisposes a Subject to being responsive to the compound. It form of a transdermal delivery system, for example, the dos
   is anticipated that this method may be useful both for predict age administration will, of course, be continuous rather than
   ing which individuals are responsive to therapeutic effects of intermittent throughout the dosage regimen.
   the compound and also for predicting those likely to experi           The dosage regimen utilizing the compound of formula (I)
   ence adverse side effect responses. This approach may be 55 is selected in accordance with a variety of factors including
   useful for identifying, for example, polymorphisms in a sero type, species, age, weight, sex and medical condition of the
   tonin receptor that lead to constitutive activation and are thus patient; the severity of the condition to be treated; the route of
   amenable to inverse agonist therapy. In addition, this method administration; the renal and hepatic function of the patient;
   may be useful for identifying polymorphisms that lead to and the particular compound employed. A physician or vet
   altered drug metabolism whereby toxic byproducts are gen 60 erinarian of ordinary skill can readily determine and prescribe
   erated in the body. Such a mechanism has been implicated in the effective amount of the drug required to prevent, counter
   the rare, but potentially life threatening side effects of the or arrest the progress of the disease or disorder that is being
   atypical antipsychotic, clozapine.                                 treated.
       In a related embodiment, a method for identifying a subject       For oral administration, compositions containing the com
   suitable for treatment with the compound of formula (I) is 65 pound of formula (I) are preferably provided in the form of
   provided. According to the method, the presence of a poly tablets containing 0.01, 0.05, 0.1, 0.5, 1.0, 2.5, 5.0, 10.0, 15.0,
   morphism that predisposes the Subject to being responsive to 25.0 or 50.0 mg of the active ingredient for the symptomatic
                                                              JSUF0024



                                                            Appx098
              Case: 24-1401                  Document: 9                Page: 91             Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 21 of 30 PageID #: 4853


                                                       US 7,601,740 B2
                                 19                                                                 20
   adjustment of the dosage to the patient to be treated. In one sions), negative symptoms (loss of normal behavior including
   embodiment, a unit dose contains from about 0.001 mg to tiredness, loss of concentration and lack of energy and moti
   about 50 mg of the active ingredient. In another embodiment Vation, and cognitive function in psychotic patients when
   a unit dose contains from about 1 mg to about 10 mg of active used alone or in combination with other antipsychotic drugs.
   ingredient.                                                       These agents also reduce the side-effects associated with the
      The compound of formula (I) may be used alone at appro use of existing antipsychotic drugs and reduce the dose of
   priate dosages defined by routine testing in order to obtain exisiting agent that is required to achieve antipsychotic effi
   optimal pharmacological effect on a monoaminergic recep cacy. Specifically, the compound of formula (I) and related
   tor, in particular the 5-HT2A serotonergic receptor subtype, compounds alone or in combination with existing antipsy
   while minimizing any potential toxic or otherwise unwanted 10 chotic drugs can be used to control the behavioral and neu
   effects. In addition, co-administration or sequential adminis ropsychiatric manifestations present in all of these disease
   tration of other agents that improve the effect of the com states. In some embodiments, pharmaceutical compositions
   pound may, in Some cases, be desirable.                           comprised of a combination of the compound of formula (I)
      In one embodiment, the compound of formula (I) may be and existing antipsychotic agents are used.
   combined with an additional therapeutic agent. Additional 15 Neuropsychiatric disorders associated with psychosis
   therapeutic agents may include: levodopa (SINEMETTM, affect a large proportion of the human population. Psychosis
   SINEMET-CRTM, bromocriptine (PARLODELTM), per appears as a dominating symptom in diverse disorders,
   golide (PERMAXTM), ephenedrine sulfate (EPHE including Schizophrenia, Schizoaffective states, mania, psy
   DRINETM), pemoline CYLERTTM), mazindol (SAN chotic depression among others. Current treatment options
   OREXTM), d.1-O-methylphenethylamine (ADDERALLTM), primarily involve pharmacotherapy with a class of drugs
   methylphenydate            (RITALINTM),            pramipexole known as antipsychotics. Antipsychotics are effective iname
   (MIRAPEXTM), modafinil (PROVIGILTM), ropinirole liorating positive symptomotology of these disorders, yet
   (REQUIPTM), an anti-dyskinesia agent, an anti-dystonia, an they frequently do not improve and may worsen negative and
   anti-myoclonus, an anti-tremor agent, or an anti-psychotic cognitive symptoms. Signitificant treatment limiting side
   agent. In some embodiments, the anti-dyskinesia agent is 25 effects are common with the use of antipsychotic drugs.
   selected from baclofen (LioresalTM), botulinum toxin                 Drugs that possess antipsychotic properties have been in
   (BotoxTM), clonazepam (KlonopinTM), or diazepam (Va.- clinical use since the early 1950s. Antipsychotic drugs are
   liumTM). In some embodiments, the anti-dystonia, anti-myo widely prescribed to treat psychotic symptoms irrespective of
   clonus, or anti-tremor agents are selected from baclofen (LI their etiology. Clinical use of these compounds is limited,
   ORESALTM), botulinum toxin (BOTOXTM), clonazepam 30 however, by their side effect profiles. Nearly all of the “typi
   (KLONOPINTM), or diazepam (VALIUMTM). In some cal' or first generation compounds have significant adverse
   embodiments, the anti-psychotic agent is selected from chlo effects on human motor function. These “extrapyramidal'
   rpromazine (THORAZINETM), haloperodol (HALDOLTM),                 side effects, so termed due to their effects on human motor
   molindone (MOBANTM), thioridazine (MELLARILTM), a 35 systems, can be both acute and chronic in nature. Acute
   phenothiazine, a butyrophenome, diphenulbutylpiperinde effects include dystonic reactions, and a potentially life
   (pimozide), thioxanthines (fluphenthixol), substituted benza threatening but rare symptom constellation; neuroleptic
   mides (Sulpiride), sertindole, amisulpride, risperidone, cloza malignant syndrome. Chronic side effects include akathisias,
   pine, olanzapine, Ziprasidone, aripiprazole, or their active tremors, and tardive dyskinesia. Due in large part to these
   metabolites (N-desmethylclozapine, N-desmethylolanzap disabling side effects, antipsychotic drug development has
   ine, 9-OH-risperdone)).                                        40 been focused on newer "atypical agents (clozapine, olanza
      The pharmacological properties and the selectivity of the pine, quetiapine, risperidal, arapiprazole) that appear to have
   compound of formula (I) for specific serotonergic receptor reduced liability for inducing adverse motoric effects. These
   subtypes may be demonstrated by a number of different assay newer "atypical antipsychotic drugs, however, suffer from
   methods using recombinant receptor Subtypes, preferably of other limiting side-effects, including induction of cardiovas
   the human receptors if these are available, e.g. conventional 45 cular abnormalities, extreme sedation, morbid obesity, type II
   second messenger or binding assays. A particularly conve diabetes, blood dyscrasias and pancreatitis among others.
   nient functional assay system is the receptor selection and          While the precise molecular mechanisms mediating antip
   amplification assay disclosed in U.S. Pat. No. 5,707,798,         sychotic drug action remain to be elucidated, antipsychotic
   which describes a method of screening for bioactive com 50 drugs have been shown, by both in vitro and in vivo methods,
   pounds by utilizing the ability of cells transfected with recep to interact with a large number of central monoaminergic
   tor DNA, e.g., coding for the different serotonergic Subtypes, neurotransmitter receptors, including dopaminergic, seroton
   to amplify in the presence of a ligand of the receptor. Cell ergic, adrenergic, muscarinic, and histaminergic receptors. It
   amplification is detected as increased levels of a marker also is likely that the therapeutic and adverse effects of these drugs
   expressed by the cells.                                           are separable and are mediated by distinct receptor Subtypes.
                                                                  55    Currently, it is thought that antipsychotic drugs reduce the
   Treatment of Neuropsychiatric Disorders                           positive symptoms in these disorders by blocking dopamine
      In one embodiment, the compound of formula (I) and D2 receptors. This is based on the observation that these all
   related serotonin 2A and/or 2C receptor inverse agonists antipsychotic drugs have reasonable affinity for this receptor
   alone or in combination with other antipsychotic drugs, par in vitro, and that a correlation exists between their potency to
   ticularly those with dopamine antagonist properties, are used 60 block D2 receptors and their ability to reduce the psotive
   to treat a variety of human neuropsychiatric diseases includ symptoms of these disorders. Unfortunately, it is likely that
   ing Schizophrenia, Schizoaffective disorders, mania and psy antagonism of dopamine D2 receptors also mediates the dis
   chotic depression. Specifically, the compound of formula (I) abling extrapyramidal side effects.
   and related serotonin 2A/2C receptor inverse agonists can            The only other consistent receptor interaction that these
   improve psychotic symptoms (feelings of being controlled by 65 drugs as a class display is inverse agonism of 5-HT2A recep
   outside forces, hearing, seeing, Smelling or feeling things tors, suggesting that inverse agonism of these receptors is an
   which are not there, hallucinations and unusual beliefs, delu     alternate molecular mechanism that confers antipsychotic
                                                             JSUF0025



                                                           Appx099
               Case: 24-1401                 Document: 9                Page: 92            Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 22 of 30 PageID #: 4854


                                                       US 7,601,740 B2
                                  21                                                                22
   efficacy. This theory is bolstered by a number of basic scien and neuroleptic maliginant syndrome. This compound also
   tific and clinical observations regarding serotonergic systems does not alter or worsens negative symptoms and cognitive
   and the 5-HT2A receptor in particular (U.S. Pat. No. 6,358, function in these patients.
   698 incorporated by reference).                                       In one embodiment, the compound of formula (I) can be
      However, nearly all known antipsychotic agents lack speci used        to treat many side-effects that arise from antipsychotic
   ficity in their mechanisms of action. In addition to possessing therapy.     For example, the compound of formula (I) may be
   activity at dopamine D2 receptors and 5-HT2A receptors,
   these drugs as a class have a multitude of pharmacologically useful        for treatment of motoric side-effects of other antipsy
   relevant interactions with critical neuronal proteins including chotic agents such as haloperidol. In one embodiment, the
   a host of cell Surface receptors, ion channels, and re-uptake 10 compound of formula (I) is used for the treatment of motoric
   transporters. This lack of drug target specificity likely con side-effects associated with haloperidol treatment.
   tributes to the multiplicity of adverse effects associated with       In one embodiment, the compound of formula (I) may be
   use of existing antipsychotic agents.                              used prophylactically when for example, it is considered nec
      These observations highlight the need to develop novel essary to initiate haloperidol therapy and it is feared that
   therapeutic regimens that are specifically designed to not only 15 motoric deficits may develop.
   demonstrate efficacy against these particular disabling Symp          In some embodiments, the compound of formula (I) may
   toms but to also possess tolerability in these specific patient be used to treat psychosis as a monotherapy or as an adjunct
   populations. This can be achieved by improving the selectiv to medicaments to prevent or treat antipsychotic drug side
   ity of the drug target interactions of new therapeutic agents. effects caused by the medicament. Alternatively, the com
   Specifically, the development of agents with novel mecha pound of formula (I) may be given in combination with other
   nisms of action that avoid the known pitfalls associated with compounds, which also reduce antipsychotic drug side-ef
   existing agents is desired. In addition, improved selectivity fects.
   avoids the known adverse effects associated with interactions
   with non-efficacy off-target receptor interaction. For example to Intreatone embodiment, the compound of formula (I) may used
                                                                               the negative symptoms of certain neuropsychiatric
   many antipsychotic drugs possess high affinity interactions 25
   with H1 receptors. H1 antagonism is associated with seda disease            including schizophrenia as a monotherapy or as an
   tion. Further, other antipsuchotic drugs have affinity interac adjunct to medicaments used to treat the positive symptom of
   tions with alpha receptors. Antagonism of alpha-1 receptors is these diseases.
   associated with orthostasis. Improvements in therapeutic effi         In some embodiments, the compound of formula (I) also
   cacy and safety also can be achieved by combining two or 30 may used to improve cognitive function in certain neuropsy
   more agents each with selective target interactions to achieve chiatric disease including schizophrenia as a monotherapy or
   additive or synergistic benefits. Specifically, by combining tom   as an adjunct to medicaments used to treat the positive symp
   one drug that specifically interacts with D2 receptors as an            of these diseases.
   antagonistand another drug like the compound of formula (I) Methods of Preparation
   that interacts with specifically with 5-HT2A/2C receptors as 35 The compound of formula (I) may be synthesized by meth
   antagonistorinverse agonist, the multitude of off-target inter
   actions of existing antipsychotic drugs can be avoided.            ods described below, or by modification of these methods.
      In one embodiment, serotonin 2A and/or 2C receptor Ways                of modifying the methodology include, among others,
                                                                      modification   in temperature, solvent, reagents, etc.
   inverse agonists are used to treat a variety of human neurop
   sychiatric diseases including schizophrenia, Schizoaffective 40 The first step of the synthesis, illustrated below, is con
   disorders, mania, behavioral disturbances associated with          ducted in the presence of acetic acid, NaBHCN, and metha
   dementia and psychotic depression. For example, the com nol to produce the compound of formula (II):
   pounds disclosed herein have utility in reducing the positive
   symptoms, improving negative symptoms and enhancing
   cognitive function in patients with certain neuropsychiatric 45                               NH2
   diseases.
      Antipsychotics and dopamine receptor antagonists can be        N                          NaBH3CN
   effective in ameliorating positive symptoms in Schizophrenia                                   HOAc
   and related diseases. Unfortunately, many of these com                    --
                                                                                                 MeOH
                                                                                                Her
   pounds significantly worsen motor function and increase 50
   negative symptoms or leave these and other symptoms
   untreated in these patients. Biochemical and pharmacological      O                F
   data Support the hypothesis that potentiation of serotonergic
   neurotransmission may be pathophysiologically important in                                                       N
   the development of these unwanted effects and conversely 55
   blockade of serotonergic neurotransmission may reduced the                                    F
   side-effects associated with antipsychotic drug therapy.
   While not being bound by this theory, the compound of for
   mula (I) was selected to exploit the relationship of serotoner                                                   NH
   gic activity and the limiting effects associated with antipsy 60
   chotic therapy.                                                                                          (II)
      Haloperidol is a typical antipsychotic with specificity as a
   D2 receptor antagonist. This compound commonly is used to
   treat the positive symptoms associated with acute exacerba       The compound of formula (IV) can be synthesized by
   tions of schizophrenia. Unfortunately, the use of this com 65 treatment of the compound of formula (III) with isobutyl
   pound is associated with a plethora of unwanted motoric side bromide and potassium carbonate in dimethyl formamide
   effects, including akathisia, parkinsonism, tardive dyskinesia (DMF) at about 80° C.:
                                                             JSUF0026



                                                           Appx100
               Case: 24-1401                   Document: 9                          Page: 93         Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 23 of 30 PageID #: 4855


                                                           US 7,601,740 B2
                                   23                                                                    24
                                                                              Finally, reaction of the compound of formula (II) with the
                                                                            compound of formula (VI) in methylene chloride produces
                                                                            the compound of formula (I):



                                                                                                N
                                                                       10
                               80° C.
                                                                                                                --
                                               O                            F


                                                                                                NH
                                                                       15

                                                                                        (II)
              (III)                             (IV)

     The compound of formula (IV) can be converted to the
   compound of formula (V) by reaction with potassium
   hydroide in methanol/water:

                                                                       25                                   NCO

                                                              O


                          1                                       OH   30
                                                                                                                     CHCl2
                                                                                                                     He




                                                                                               u?
                                   KOH
                               MeOH-HO

                                                                       35
          O                                            O


    1.     (IV)
                                               1.      (V)
                                                                       40
                                                                                                     (VI)




      The compound of formula (V) is heated to reflux with
   diphenylphosphonyl azide (DPPA) and a proton Sponge in
   tetrahydrofuran (THF) to produce the compound of formula
   (VI):                                                                                        N



                                                                       50
                                                                                F                                            -
                                                                                                            H
                      O


                          OH
                                                              NCO                               N
                                                                       55
                                   DPPA                                                                      (I)
                               Proton Sponge
                                 THF
                               He
                                reflux

                                                                       60




              (V)                                      (VI)            65
                                                                              The tartrate salt of the compound of formula (I) may be
                                                                            produced by mixing with L-(+)-Tartaric acid in ethanol:
                                                                    JSUF0027



                                                                  Appx101
                Case: 24-1401                     Document: 9                   Page: 94              Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 24 of 30 PageID #: 4856


                                                            US 7,601,740 B2
                                   25                                                                       26




   F                                                    -                   L-(+)-Tartaric acid
                                                                           He
                                                                                  EtOH




                                   (I)


                                                                                  HO          COOH

       F                                                   -
                                                                                  HO' YCOOH




                             EXAMPLES                                     nM, bromocriptine-0.43 nM, and serotonin-no response).
                                                                          FIG. 1B shows compound potency against the serotonin
      The examples below are non-limiting and are set forth to 30 5-HT2A receptor; (dopamine-no response, quinpirole-174
   illustrate some of the embodiments disclosed herein.                   nM. lisuride-0.028 nM, bromocriptine-2.7 nM, serotonin-33
                                                                          nM, and pergolide-0.22 nM).
                             Example 1                                       Because these drugs are administered in the clinic to
                                                                          achieve D receptor occupancy, these data argue that direct
                          Agonist Studies                              35
                                                                          acting dopamine agonists are also behaving as 5HT2A recep
                                                                          toragonists in vivo when administered in therapeutic doses to
      Parkinson's disease is typically managed using direct act PD patients.
   ing dopamine agonists. Examples of this class of compounds
   include pergolide, bromocriptine, pramipexole and ropin
   irole. These drugs are thought to be effective because of their 40                                    TABLE 1
   agonist activity at the dopamine D, D, and D receptors
   located in striatal and forebrain regions. This activity may             Serotonin Receptor Agonist Activity of Dopaminergic Agents Used in PD
   compensate for the progressive loss of forebrain dopaminer Drug                            Dopamine D2         Serotonin 2A      Serotonin 20
   gic innervation that characterizes the PD. However, these
   drugs are not specific for these dopaminergic receptors and 45 Dopamine                    8.40 +/- 0.32            NA                NA
   also possess potentagonist activity at other receptors, includ Serotonin                        NA             7.73 +f- 0.04     7.29 +f- 0.10
   ing 5HT2A and 5HT2C receptors. Using a physiologically Lisuride                           11.00 +/- 0.36      10.65+f- 0.10      7.61 +f- 0.13
   predictive in vitro functional assay, it is shown below that Pergolide Bromocriptine
                                                                                              9.45+f- 0.06
                                                                                              9.30+f- 0.31
                                                                                                                  8.05 +f- 0.22
                                                                                                                  8.75+f- 0.14
                                                                                                                                    6.66 +/- 0.08
                                                                                                                                    5.80+f- 0.05
   pergolide, lisuride, and bromocriptine display agonist poten Ropinirole                    8.19 +f- 0.58       6.85 +/- 0.77          NT
   cies at human 5HT2A receptors that are equivalent to those 50 Apomorphine
                                                                          Pramipexole         8.15+f- 0.38
                                                                                              6.24 +/- 0.11
                                                                                                                  5.93 +f- 0.74
                                                                                                                       NA
                                                                                                                                         NT
                                                                                                                                         NA
   observed at the human D, receptor. (FIGS. 1A and 1B, and
   Table 1).
      Using the R-SAT assay, the activity of common dopeam                   Data are derived from R-SAT assays. As shown, all com
   inergic compounds against dopamine and serotonin receptor pounds displayed full (>75%) relative agonist efficacies. Data
   types was studied. (See U.S. Pat. Nos. 5,912,132 and 5,955, 55 are reported as -Log(ECso) values +/- standard deviation of
   281, both of which are hereby incorporated by reference.) In three to eight separate determinations. The VGV isoform of
   FIG. 1, data were plotted as percentage agonist response as the 5HT2C receptor, and the short form of the D receptor
   determined for a reference full agonist (100%) versus drug were utilized for these studies. NA denotes no activity, NT
   concentration. The reference full agonist used for the D.              denotes not tested.
   receptor was quinpirole, while serotonin was used for the 60 The agonist activity of these anti-parkinsonian agents at
   5HT2A receptor. Compounds tested include dopamine (filled human 5HT2A/C receptors has particular implications for the
   squares), quinpirole (filled circles), lisuride (filled triangles),    generation and treatment of human hallucinations and psy
   bromocriptine (filled diamonds), serotonin (open squares),             chosis. That certain natural and synthetic chemical com
   and pergolide (filled inverted triangles). Potencies of repre pounds can induce hallucinatory states in humans has led to
   sentative dose response curves using dopamine D receptors 65 detailed investigations of the mechanisms of action of these
   were determined and are shown in FIG. 1A: (pergolide-0.21              hallucinogenic or psychotomimetic drugs. These efforts have
   nM, dopamine-8.0 nM, lisuride-0.023 nM, quinpirole-3.3                 implicated a number of molecular activities of these classes of
                                                                   JSUF0028



                                                                 Appx102
               Case: 24-1401                   Document: 9                Page: 95             Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 25 of 30 PageID #: 4857


                                                         US 7,601,740 B2
                                  27                                                                    28
   drugs as being relevant to their ability to induce hallucina (but clearly not absent) liability to induced motoric side
   tions, particularly visual hallucinations, in normal healthy effects, suggested that perhaps these agents could be used in
   individuals. Hallucinogens fall into two distinct chemical PD patients to control dyskinesias and hallucinosis. Unfortu
   classes, the phenylethanolamines, and the Substituted nately, the majority of these agents are not tolerated in PD
   tryptamines, both of which are structurally related to seroto- 5 patients secondary to worsening of motor function (10). Of
   nin. Many in vitro studies, utilizing radioligand binding tech the atypical agents, only one, clozapine, has shown efficacy in
   niques, as well as functional pharmacological assays, have treating these adverse treatment-induced side effects in PD
   repeatedly demonstrated that these drugs are potent 5HT2A patients without untoward motoric liabilities. As such, an
   and 5HT2C receptoragonists (5). More recent in vivo studies,           improved understanding of the in vitro molecular profile of
   in which normal volunteers are administered the hallucino 10 clozapine can provide critical insights into the design of novel
   gen MDMA (Ecstasy) and then evaluated for clinical agents for these difficult to treat indications.
   response, as well as anatomical measures of brain activation              The demonstration that clozapine is tolerated in PD
   utilizing functional neuro-imaging technologies, have dem patients comes from studies on treatment-induced psychosis.
   onstrated that the psychometric and pharmacological activi Two well-designed placebo controlled, double blind clinical
   ties of hallucinogens can be blocked by anti-psychotic drugs 15 trials have shown that clozapine is efficacious in psychotic PD
   as well as the compound ketanserin (6.7). These drugs share patients, and does not worsen parkinsonism, at doses in the
   a common molecular property, 5HT2A receptor inverse ago 25-35 mg/day range (11,12). Similarly, two open label studies
     1S.                                                                  of clozapine in L-dopa and apomorphine induced dyskinesias
                                                                          also demonstrate efficacy and tolerability of low doses of
                              Example 2                                2O clozapine, on the order of 50-100 mgs/day in these patients
                                                                          (13.14). The dosages used in these PD patients are much
                       Inverse Agonist Studies                            lower than the typical 600-900 mg/day range of doses used in
                                                                          treatment refractory Schizophrenia. Commensurate with this
      Once treatment-induced motoric and neuropsychiatric lower dosing, plasma levels of clozapine in PD patients with
   symptoms develop in PD patients, few viable therapeutic 25 psychosis ranged from 4.5 to 16.1 ng/ml (15). This is dra
   options exist to manage these disturbances. Treatment strat matically lower than the 2250 ng/ml average serum levels
   egies differ for these two classes of symptoms, but one uni that are associated with therapeutic response in refractory
   formly clinically efficacious, yet poorly tolerated approach,          Schizophrenic patients.
   involves the use of antipsychotic agents. Antipsychotics are              Not Surprisingly, the administration of low dose clozapine,
   known to possess high affinity for the dopamine D. Subclass 30 and the commensurate plasma levels obtained at these doses,
   of dopamine receptors and neutral antagonism of these recep are well below those necessary for D receptor occupancy,
   tors underlie the therapeutic efficacy of these drugs in human providing a mechanistic understanding of why these dosages
   psychosis. In addition to dopamine D receptor antagonism, are tolerated with respect to motoric liability in these patients.
   these agents possess a wide range of additional potent and (Positron emission tomography (PET) studies in schizo
   pharmacologically relevant activities at many of the other 35 phrenic patients have defined steady state plasma concentra
   monoaminergic receptor Subtypes including serotonin, adr tions of clozapine that are required to generate high occu
   energic, muscarinic and histaminergic receptors. Of these pancy of striatal dopamine D receptors). These data also
   additional molecular actions, 5HT2A receptor interactions argue that efficacy in dyskinesia and psychosis is mediated by
   have been the Subject of significant study. That antipsychotics one or more of the non-D receptor targets of this drug. Since
   have high affinity for multiple receptor Subtypes, including 40 rank orders of receptor potencies, as determined by in vitro
   serotonin2 receptors, was demonstrated by the application of pharmacological assays, has repeatedly been shown to be a
   radioligand binding techniques (8). The methodologies used reliable predictor of in vivo receptor action, the receptor sites
   to document this cannot define the nature of the interaction           for which clozapine display a higher potency than D recep
   between an anti-psychotic antipsychotic and a given receptor. tors would be predicted to potentially mediate its clinical
   For example, the methods are unable to distinguish as to 45 efficacy in this indication. Detailed functional profiling of
   whether a drug possesses positive (agonist) or negative (in clozapine against over 30 of the known monoaminergic
   verse agonist) intrinsic activity, or if it lacks intrinsic activity receptor subtypes has identified only five sites with higher
   and functions as a neutral antagonist. Recently, this class of affinity than dopamine D receptors, histamine H, muscar
   drugs was profiled using a functional assay that can discrimi inic m1 and m4, and serotonin 2A, 2B, and 6 receptors. Table
   nate the mechanistic nature of a drug-target interaction (9). 50 2 reports the absolute and relative potencies of clozapine at
      This approach revealed a number of novel aspects of antip           Some of these monoamine receptor targets as determined by
   sychotic drug action (See U.S. Pat. No. 6,358,698, which is the physiologically predictive in vitro R-SAT assay. These
   hereby incorporated by reference in its entirety). It confirmed data Suggest that at the clinical dosing and serum levels of
   that these drugs as a class possess potent neutral antagonistic clozapine observed in PD, two receptor sites are preferen
   activity at the D receptor. Importantly, it also revealed that 55 tially occupied, the histamine H and 5HT2A receptors.
   nearly all antipsychotic drugs, with the exception of the Sub             Conversely, plasma levels achieved with 50 mgs/day of
   stituted benzamides, possess potent negative intrinsic activity clozapine result in full occupancy of cortical 5HT2A recep
   (inverse agonism) at the 5HT2A receptor. These efforts have tors, and extrapolation to the plasma levels observed in PD
   identified inverse agonist activity at the 5HT2A receptor as patients treated for psychosis suggest near complete occu
   being a critical molecular component of anti-psychotic drug 60 pancy of 5HT2A receptors at these dosages as well (16).
   action, and Suggest that compounds that are selective 5HT2A Whereas central occupancy of 5HT2A receptors, coupled
   receptor inverse agonists may have antipsychotic efficacy, with negative intrinsic activity, may mediate efficacy in these
   even in the absence of D, receptor activity.                           states, central occupancy of histamine H receptors is known
      None of the older typical antipsychotics, exemplified by to cause sedation, an effect that was observed in the majority
   haloperidol, can be administered to PD patients because of 65 of PD patients treated with low dose clozapine. Taken
   severe worsening in their motor states. The more recent devel together these data Suggest that clozapine is acting primarily
   opment of newer atypical agents, namely those with reduced as a 5HT2A receptor inverse agonist in this clinical setting.
                                                               JSUF0029



                                                             Appx103
                   Case: 24-1401                        Document: 9                    Page: 96            Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 26 of 30 PageID #: 4858


                                                                    US 7,601,740 B2
                                          29                                                                      30
                                                                                     tion of observable dyskinetic movements scored as a percent
                                     TABLE 2                                         age of those present in placebo injected animals (FIG. 3).
              Antagonist and Inverse Agonist Potencies of Clozapine at                                        Example 5
                              Monoamine Receptors
              D2             SHT2A         5HT2B 5HT2C                   H                  5HT2A/C Serotonin Antagonist Treatment of
                                                                                                        Parkinson's Disease
   Clo-       72 +f-        6.4 +/- 1.0    20 +/- 9 250 +f-     0.40 +/- 0.07
   Zapine     56                                      60
   Ratio to                     11             3.6     O.3           18O The present example demonstrates that blockage of
   D2                                                                 5HT2A/C receptors with the compound of formula (I) in
                                                                                10
                                                                      parkinsonian patients reduces levodopa-associated dyskine
                                                                      sias and motor response fluctuations. Additionally, the com
      Data are derived from (9) and are reported as Ki values for pound of formula (I) is shown to be safe and tolerated at
   the D2 receptor determined as a competitive antagonist, and effective doses and potentiates the beneficial effects of
   ECso values for the remaining receptors determined as levodopa on parkinsonian symptoms.
   inverse agonists, in nanomolar units +/- standard deviation 15 The compound of formula (I) is administered orally in a
   of three to eight separate determinations.                         group of 21 parkinsonian patients in a double blind, placebo
   Behavioral Pharmacological Evidence                                controlled study lasting approximately 5 weeks. An unbal
      The tartrate salt of the compound, N-(1-methylpiperidin anced          parallel-group dose escalation design is used involving
                                                                      an initial placebo run-in, followed by a randomized (active)
   4-yl)-N-(4-flourophenylmethyl)-N'-(4-(2-methylpropyloxy)
   phenylmethyl)carbamide (compound of formula (I)), is a phase              of the compound of formula (I) or placebo. The com
                                                                      pound of formula (I) is administered once daily for four
   potent, selective, orally bioavailable 5HT2A receptor inverse weeks,       with the dose escalating once each week. Assessments
   agonist. The compound of formula (I) also possesses lesser are made           on the first day of each dose escalation.
   potency as a 5-HT2C receptor inverse agonist and lacks
   intrinsic activity at the remaining monoaminergic receptor 25 theThe       study is conducted on an outpatient basis. Studies of
                                                                          compound of formula (I) effect on the motor response to
   subtypes. Perhaps most notably, the compound of formula (I)
   lacks activity at dopamine receptor Subtypes. (See U.S. patent levodopa        are conducted in accordance with the standard
                                                                      Experimental Therapeutics Branch (ETB) paradigm, which
   application Ser. No. 09/800,096, which is hereby incorpo makes
   rated by reference in its entirety). Extensive behavioral phar order touse      of a steady state infusion of dopaminomimetics in
   macological profiling of this agent, including pre-clinical to permitmaximize           the reliability of data acquisition as well as
   models of antipsychotic and anti-dyskinetic drug actions Sup 30 half-time. determination of the anti-parkinsonian efficacy
   port the therapeutic use of the compound of formula (I) in            Patients who participate in the study have particular char
   Parkinson’s Disease and related human neurodegenerative acteristics.            The patients are between 30 and 80 years of age,
   diseases.
                                                                      inclusively. The patients had been diagnosed with idiopathic
                              Example 3                            35 Parkinson's disease based on the presence of a characteristic
                                                                      clinical history and neurological findings. The patients dis
                           Animal Studies
                                                                      played relatively advanced disease symptoms with levodopa
                                                                      associated motor response complications, including peak
                                                                      dose dyskinesias and wearing-off fluctuations.
      To determine potential in Vivo antipsychotic activity, we          The sample size is calculated for the primary endpoint: the
   studied the compound of formula (I) in an animal model that 40 Unified Parkinson's Disease Rating Scale (UPDRS) part III
   predicts Such efficacy in humans. The compound of formula motor examination. A sample size of 17 provides 80% power
   (I) attenuates hyperactivity induced by the non-competitive to detect predicted differences, a 40% reduction, with a stan
   N-methyl-d-aspartate (NMDA) antagonist MK-801 (dizo dardized effect size of 1, using a two-tailed t-test at the 0.05
   cilpine) with a minimum effective dose of 1 mg/kg, s.c. (FIG.      significance. This assumes an anti-dyskinetic effect of the
   2A), and 10 mg/kg p.o. (FIG. 2B). The compound of formula 45 compound of formula (I) to be compared to that of amanta
   (I) also reduced spontaneous locomotion at 3 mg/kg and dine (as observed in previous ETB studies), and a linear
   higher s.c. doses (FIG. 2A), and at oral doses between 10 and dose-response of the compound of formula (I). In this phase 2
   100 mg/kg (FIG. 2B). In FIG. 2A and 2B, asterisks indicate study we will accept a two-sided alpha at a 0.05 significance
   statistical significance (p<0.05) compared to respective level. Four patients will be added for the placebo group,
   vehicle control. Inhibition of MK-801 is a property shared by 50 totaling 21 subjects enrolled in the study.
   most atypical antipsychotic agents, and after i.p. administra         Patients enter the levodopa infusion optimal rate determi
   tion, the compound of formula (I) attenuated MK-801 hyper nation (dose finding) portion of the study as soon as all pro
   activity at 1 mg/kg, in a manner similar to the atypical antip hibited medication has been withdrawn for at least four
   sychotic clozapine.                                                weeks. If the patient has had an intravenous dosing rate for
                              Example 4                            55 levodopa optimized within the past three months, these doses
                                                                      may be used for the study.
                       Primate Animal Studies
                                                                         Intravenous infusion of levodopa is conducted in an in
                                                                      patient ward. On the night prior to all infusions, Subjects
                                                                      usual anti-parkinsonian medications are withheld (levodopa
      To determine the potential in vivo anti-dyskinetic activity, 60 by 12 AM, dopamine agonists by 6 PM). During the first and
   we studied the compound of formula (I) in an animal model second days of optimal rate determination, two baseline
   that predicts such efficacy in humans. The use of 1-methyl UPDRS ratings are performed prior to levodopa infusion.
   4-phenyl-1,2,3,6-tetrahydropyrilidine (MPTP) to induce par Initially, the “optimal' rate of levodopa infusion is carefully
   kinsonism in monkeys, coupled with prolonged administra titrated for each individual to determine the minimum dose
   tion of L-dopa induces severe dyskinesias. The compound of needed to achieve a stable “on” state characterized by an
   formula (I), when administered s.c., to dyskinetic primates 65 “optimal' reduction in parkinsonian signs and mild but rat
   was found to significantly diminish L-dopa induced dyskine able dyskinesias (comparable to patients usual “on” state).
   sias in a dose dependent manner as determined by the reduc         Dyskinesia severity is similar to that experienced with each
                                                                             JSUF0030



                                                                             Appx104
              Case: 24-1401                  Document: 9               Page: 97            Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 27 of 30 PageID #: 4859


                                                      US 7,601,740 B2
                                  31                                                               32
   patient's usual therapeutic regimen. Levodopa will be admin agonist at 5HT2A receptors. The compound of formula (I)
   istered by means of an indwelling intravenous catheter. The exhibited high potency (pC50 of 9.1) and high efficacy
   initial infusion rate of levodopa will not exceed 80 mg/hr.       (98%) at 5HT2A receptors.
   Subsequent infusion rates may be gradually increased until
   the optimal rate is found, up to a maximum of 2 mg/kg/hour.                                 Example 7
       Levodopa infusions will ordinarily last up to 8 hours, but                    Anti-Psychotic Activity Study
   may be continued uninterrupted for several days or be
   repeated on other days to obtain reliable assessment of motor        To determine potential in vivo antipsychotic activity, we
   function. The peripheral decarboxylase inhibitor carbidopa 10 studied the compound of formula (I) in an animal model that
   (50 mg, given every 3 hours) is administered orally starting at predicts such efficacy againist positive symptoms in humans
   least one hour prior to intravenous administration of levodopa (FIG. 4). In FIG. 4, ACP refers to the compound of formula
   and continuing until levodopa effects have worn off. After the (I). The compound of formula (I) did not reduce hyperactivity
   initial “optimal' rate finding for levodopa infusion, all sub induced by 3.0 mg/kg I.P. of the indirect dopamine agonist
   sequent infusions are given at the predetermined “optimal 15 d-amphetamine when administered alone at doses of 10.0
   rate'. As an intravenous levodopa formulation is not commer mg/kg         P.O. and below to mice. As expected, haloperidol
                                                                     dose-dependently    reduced amphetamine hyperactivity with a
   cially available in this country, is administered under ETB       minimally significant effect seen at 0.1 mg/kg, s.c. When a
   IND 22,663.                                                       10.0 mg/kg P.O. dose of the compound of formula (I) was
       Patients are dosed according to Table 3:                      administered in combination with various s.c. doses of halo
                                                                     peridol, the minimally significant dose of haloperidol was
                              TABLE 3                                decreased to 0.03 mg/kg. With this combination, amphet
                                                                     amine hyperactivity is completely reversed. Thus, an inactive
     Patient                                                         dose of the compound of formula (I), when combined with an
     group Week 1 Week 2        Week 3      Week 4      Week 5       inactive dose of haloperidol produces a complete reversal of
                                                                  25 amphetamine hyperactivity. This suggests that the antipsy
        I    Placebo Placebo    Placebo     Placebo     Placebo      chotic activity of haloperidol may be significantly enhanced
        II Placebo 30 mg        70 mg       150 mg      300 mg       when it is combined with the compound of formula (I).
                     Compound Compound Compound Com                  Equally important, when the compound of formula (I) is
                     (I)        (I)         (I)         pound (I)    combined   with haloperdiol, the dose of haloperidol can be
                                                                  30 lowered without a loss of efficacy. This would be expected to
                                                                     improve the safety margin for the clinical use of haloperidol
                                                                     in neuropsychiatric diseases.
       Patients proceed through this dose escalation scheme until
   week 5 or until maximum tolerated dose is attained.               Literature Cited
      Throughout the study, patients are evaluated weekly for 35 The following references are incorporated herein by refer
   drug safety and tolerability during their inpatient admission ence in their entireties.
   and two weeks after treatment for an outpatient follow-up            1. Everett, G., M., and Borcherding, J. W. (1970) L-dopa:
   visit. During each inpatient admission, patients remain under effect      on concentration of dopamine, norepinephrine and
   close medical monitoring by staff physicians and nurses. If, at serotonin in brains of mice. Nature, 168: 849-850.
   any time during the treatment period, the staff physician 40 induced 2. Butcher, L., Engel, J., and Fuxe, K. (1970) L-dopa
   determines that a patient does not tolerate any given dose, the eral        changes in central monoamine neurons after periph
                                                                          decarboxylase inhibition. J. Pharm. Pharmac., 22: 313
   patient will be considered to have attained maximum toler 316.
   ated dose and will not receive any additional doses of the
   compound of formula (I). Patients are encouraged to contact J. 3.       NG. K.Y., Chase, T., N., Colbum, R., W., and Kopin, I.,
                                                                        (1970) L-dopa induced release of cerebral monoamines.
   study staff between study days to report any adverse experi 45 Science, 170: 76-77.
   CCCS.                                                                Birkmayer, W., Danielczyk, W., Neumayer, E., and Ried
      Patients are observed in the hospital and will not be dis erer, P. (1974) Nucleus Ruber and L-dopa Pstchosis: Bio
   charged until free of all significant adverse effects, if any. chemical Post mortem findings. Journal of Neural Transmis
   Safety assessments, which are performed on study days, 50 Sion, 35:93-116.
   include adverse experiences, monitoring vital signs, standard        5. Sadzot, B., Baraban, J., M., Glennon, R., A., Lyon, R.,
   safety monitoring, and cardiac monitoring.                        A., Leonhardt, S., Jan, C., R., and Tietler, M. (1989) Hallu
      Subjects in Patient Group II show a reducing in levodopa cinogenic         drug interactions at human brain 5-HT2 receptors;
                                                                     implications for treating LSD-induced hallucinogenesis. Psy
   associated dyskinesias and motor response fluctuations. The chopharmacology, 98(4): 495-499.
   subjects in Patient Group II tolerate the compound of formula 55 6. Liechti, M., E., Geyer, M., A., Hell, D., and Vollen
   (I) at all doses administered. The compound of formula (I) wieder, F. X. (2001) Effects of MDMA(ecstasy) on prepulse
   therapy also potentiates the benefical effects of levodopa on inhibition and habituation of startle in humans after pretreat
   parkinsonian symptoms.                                            ment with citalopram, haloperidol, or ketanserin. Neuropsy
                                                                     chopharmacology, 24(3): 240-252.
                             Example 6                            60    7. Gamma, A., Buck, A., Berthold, T., Liechti, M., E., and
                                                                     Vollenweider, F. X. (2000) 3.4-methylenedioxymetham
                            R-SAT Assay                              phetamine (MDMA) modulates cortical and limbic brain
                                                                     activity as measured by H(2)(15)0-PET in healthy humans.
                                                                     Neuropsychopharmacology, 23(4): 388-395
      The functional receptor assay Receptor Selection and 65 8. Leysen, J. E., Niemegeers, C.J., Tollenaraere, J., P., and
   Amplification Technology (R-SAT) was used to investigate Laduron, P., M. (1978) Serotonergic component of neurolep
   the activity of the compound of formula (I) as an inverse tic receptors. Nature (Lond) 272: 168-171.
                                                            JSUF0031



                                                           Appx105
                Case: 24-1401                  Document: 9                   Page: 98        Filed: 03/29/2024

Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 28 of 30 PageID #: 4860


                                                        US 7,601,740 B2
                                 33                                                               34
       9. Weiner, D., M., Burstein, E., S., Nash, N., Croston, G.,  tremor agent selected from the group consisting of baclofen,
   E. Currier, E., A., Vanover, K., E., Harvey, S., C., Donohue, botulinum toxin, clonazepam, and diazepam.
   E. Hansen, H., C., Andersson, C., M., Spalding, T., A., Gib         7. The composition of claim 2, wherein the additional
   son, D., F., Krebs-Thomson, K., Powell, S., B., Geyer, M.A., therapeutic agent is an anti-psychotic agent with dopaminer
   Hacksell, U., and Brann, M., R. (2001) 5-hydroxytryptamine 5 gic receptor antagonism.
   2A receptor inverse agonists as antipsychotics. J Pharmacol         8. The composition of claim 2, wherein the additional
   Exp Then, 299(1): 268-76.                                        therapeutic agent is an anti-psychotic agent selected from the
      10. Friedman, J., H., and Factor, S., A. (2000) Atypical group consisting of chlorpromazine, haloperodol, molin
   antipsychotics in the treatment of drug-induced psychosis in done, thiordazine, a phenothiazine, a butyrophenone, diphe
   Parkinson's disease. Mov. Disord, 15(2): 201-211.             10 nylbutylpiperidine          (pimozide),         thioxanthines
      11. The Parkinson Study Group (1999) Low-dose clozap (fluphenthixol), substituted benzamides (sulpiride), sertin
   ine for the treatment of drug-induced psychosis in Parkin dole,        amisulpride, Ziprasidone, aripiprazole, clozapine, olan
   son's disease. New Eng. J. Med., 340(10): 757-763.
      12. The French Clozapine Study Group (1999) Clozapine Zapine,          riserpidone, N-desmethylclozapine, N-desmethy
                                                                    lolanzapine, and 9-OH-respirdone.
   in drug-induced psychosis in Parkinson's disease. Lancet, 15
   353: 2O41-2042.                                                    9. The composition of claim 1, wherein the compound of
      13. Bennett, J., P. Landow, E., R., and Shuh, L., A. (1993) formula (I) is the free base.
   Suppression of dyskinesias in advanced Parkinson's Disease.         10. The composition of claim 1, wherein the salt is a hydro
   II Increasing daily clozapine doses Suppress dyskinesias and chloride salt.
   improve parkinsonism symptoms. Neurology, 43: 1551                  11. The composition of claim 1, wherein the salt is a tartrate
   1555.                                                                  salt.
       14. Durif. F., Vidailhet, M., Assal, F., Roche, C., Bonnet,      12. The composition of claim 1, wherein the composition is
   A., M., and Agid, Y. (1997) Low-dose clozapine improves in a single unit dosage form.
   dyskinesias in Parkinson's disease. Neurology, 48: 658-662.          13. The composition of claim 12, wherein the composition
      15. Meltzer, H. Y., Kennedy, J., Dai, J., Parsa, M., and is in a single unit dosage form Suitable for oral administration
   Riley, D. (1995) Plasma clozapine levels and the treatment of 25 to a human.
   L-DOPA-induced psychosis in Parkinson's disease. A high              14. The composition of claim 12, wherein the dosage form
   potency effect of clozapine. Neuropsychopharmacology,             is solid.
   12(1): 39-45.                                                        15. The composition of claim 13, wherein the composition
      16. Nordstrom, A., L., Farde, L., and Halldin, C. (1993)
   High 5-HT2 receptor occupancy in clozapine treated patients 30 is in16.the  form of a tablet or a capsule.
                                                                            The composition of claim 15, wherein the composition
   as demonstrated by PET. Psychopharmacology, 110(3): 365 is in the           form of a tablet.
   367.
      17. Bibbiani, F. Oh, F. D., and Chase, T., C. (2001) Sero         17.  The composition of claim 12, wherein the amount of
   tonin 5-HT1A agonist improves motor complications in the compound of Formula (I), or a salt thereof, is from about
   rodent and primate parkinsonian models. Neurology, 57:            0.001 mg to about 50 mg.
   1829-1834.                                                     35    18. The composition of claim 12, wherein the amount of
      What is claimed is:                                            the compound of Formula (I), or a salt thereof, is from about
      1. A composition comprising a compound of Formula (I):         1 mg to about 10 mg.
                                                              (I)
                                                                        19. The composition of claim 12, wherein the amount of
                                                                     the compound of Formula (I), or a salt thereof, is about 10 mg.
                        CH3                                       40    20. The composition of claim 12, wherein the amount of
                        N
                                                                     the compound of Formula (I), or a salt thereof, is about 25 mg.
                                                                        21. The composition of claim 12, wherein the amount of
                                                                     the compound of Formula (I), or a salt thereof, is about 50 mg.
   F                                                 -               45
                                                                        22. A compound having the structure of Formula (I):
                                                                                                                                  (I)
                                H
                        N       N                                                          CH
                            r
                            O
      or a pharmaceutically acceptable salt thereof, and a phar 50
         maceutically acceptable carrier.
      2. The composition of claim 1, further comprising an addi
   tional therapeutic agent.
      3. The composition of claim 2, wherein the additional
   therapeutic agent is selected from the group consisting of 55
   levodopa bromocriptine, pergolide, ephenedrine Sulfate,
   pemoline, mazindol, d.1-O-methylphenethylamine, meth
   ylphenidate, pramipexole, modafinil, and ropinirole.
      4. The composition of claim 2, wherein the additional formula
                                                                            to or               O
                                                                       or a pharmaceutically acceptable salt thereof.
                                                                       23. A compound of claim 22, wherein the compound of
                                                                              (I) is in solid form.
                                                                       24. A compound of claim 22, wherein the compound of
   therapeutic agent is an anti-dyskinesia agent.                60
      5. The composition of claim 4, wherein the additional formula           (I) is the free base.
                                                                       25. A compound of claim 22, wherein the salt is a hydro
   therapeutic agent is an anti-dyskinesia agent selected from chloride       salt.
   the group consisting of baclofen, botulinum toxin, clon             26. A compound of claim 22, wherein the salt is a tartrate
   azepam, and diazepam.                                            salt.
      6. The composition of claim 2, wherein the additional 65
   therapeutic agent is an anti-dystonia, anti-myoclonus, oranti
                                                               JSUF0032



                                                             Appx106
                   Case: 24-1401                Document: 9             Page: 99            Filed: 03/29/2024

   Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 29 of 30 PageID #: 4861

                           UNITED STATES PATENT AND TRADEMARK OFFICE
                                 CERTIFICATE OF CORRECTION
PATENT NO.              7,601,740 B2                                                                                 Page 1 of 1
APPLICATION NO. : 10/759.561
DATED                  : October 13, 2009
INVENTOR(S)            : Weiner et al.
It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         On the Title Page,
         Item * Notice:        Subject to any disclaimer, the term of this patent is extended or adjusted
         under 35 USC 154(b) by (899) days
         Delete the phrase by 899 days and insert -- by 1,259 days -




                                                                                      Signed and Sealed this
                                                                           Twenty-seventh Day of April, 2010



                                                                                                 David J. Kappos
                                                                             Director of the United States Patent and Trademark Office

                                                              JSUF0033



                                                            Appx107
                  Case: 24-1401                Document: 9             Page: 100             Filed: 03/29/2024

   Case 1:20-cv-00985-GBW Document 258-2 Filed 04/28/23 Page 30 of 30 PageID #: 4862

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,601,740 B2                                                                                       Page 1 of 1
APPLICATIONNO.              : 10/759.561
DATED                       : October 13, 2009
INVENTOR(S)                 : Weiner et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         On the Title Page:
         The first or Sole Notice should read --

         Subject to any disclaimer, the term of this patent is extended or adjusted under 35 U.S.C. 154(b)
         by 1.249 days.




                                                                                    Signed and Sealed this
                                                                              Twenty-fifth Day of August, 2015

                                                                          74-4-04- 2% 4            Michelle K. Lee
                                                                               Director of the United States Patent and Trademark Office


                                                              JSUF0034



                                                            Appx108
              Case: 24-1401        Document: 9         Page: 101       Filed: 03/29/2024



FORM 19. Certificate of Compliance with Type-Volume Limitations                             Form 19
                                                                                           July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 24-1401

  Short Case Caption: Acadia Pharmaceuticals Inc. v. Aurobindo Pharma Ltd.

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